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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT

PSAGOT MUTUAL FUNDS, LTD., and
PSAGOT PROVIDENT FUNDS &
PENSION LTD.,
                                             No.
                               Plaintiffs,

      v.                                     COMPLAINT
TEVA PHARMACEUTICAL INDUSTRIES
LTD., TEVA PHARMACEUTICALS USA,
INC., EREZ VIGODMAN, EYAL DESHEH,
ALLAN       OBERMAN,     SIGURDUR
OLAFSSON, DEBORAH GRIFFIN, YAACOV
                                             JURY TRIAL DEMANDED
ALTMAN,      YITZHAK   PETERBURG,
DIPANKAR BHATTACHARJEE, MICHAEL
MCCLELLAN, KÅRE SCHULTZ, and
MAUREEN CAVANAUGH,
                              Defendants




                                             July 29, 2019
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                             GLOSSARY OF TERMS

        Term                                      Definition
                     Defendants Teva Pharmaceutical Industries Ltd.; Teva Pharmaceuticals
                     Usa, Inc.; Erez Vigodman; Eyal Desheh; Allan Oberman; Sigurdur
                     Olafsson; Deborah Griffin; Yaacov Altman; Yitzhak Peterburg;
Defendants           Dipankar Bhattacharjee; Michael Mcclellan; Kåre Schultz; and
                     Maureen Cavanaugh. References to the Defendants include only those
                     individuals then employed by Teva at the referenced time.
Actavis              Allergan Generics, acquired by Teva on or around August 2, 2016
ADS                  Teva’s American Depository Shares
ADS Final            The final prospectus supplement filed pursuant to Rule 424(b)(5) with
Prospectus           the SEC on December 3, 2015 at 5:19 p.m. ET
                     The public offering of ADS completed on or about December 3,
ADS Offering
                     2015 and January 6, 2016
                     The ADS/Preferred Registration Statement, along with the base and
                     preliminary prospectuses and related prospectus supplements
ADS/Preferred        constituting part of the ADS/Preferred Registration Statement
Offering Materials   including the ADS Final Prospectus and Preferred Final
                     Prospectus, and the documents incorporated by reference therein
ADS/Preferred
                     The ADS Offering and the Preferred Offering
Offerings
ADS/Preferred
                     The shelf registration statement on Form F-3 Teva filed with the
Registration
                     SEC on November 30, 2015.
Statement
                     The shelf registration statement on Form F-3 Teva filed with the SEC
ADS/Preferred and    on November 30, 2015 (for the ADS/Preferred Offering), and the
Notes Registration   Post-Effective Amendment No. 1 to its shelf registration statement on
Statements           the Form F-3 Teva filed with the SEC on July 13, 2016 (for the Notes
                     Offering).
                     Abbreviated New Drug Application, an application submitted by a
ANDA                 generic drug manufacturer to the U.S. Food and Drug Administration
                     seeking approval for a drug the FDA has already approved
API                  Active Pharmaceutical Ingredient use to make pharmaceutical products
Board                Teva’s Board of Directors
                     Maureen Cavanaugh, Teva USA’s Senior VP and Chief Operating
Cavanaugh
                     Officer, North America Generics during the Relevant Period.
CAO                  Chief Accounting Officer
Cephalon             Cephalon, Inc.
CEO                  Chief Executive Officer
CFO                  Chief Financial Officer




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                   The federal securities class action against Teva and certain of its current
                   and former officers, styled: Ontario Teachers' Pension Plan Board, et
The Class Action
                   al v. Teva Pharmaceutical Industries Ltd. et al, No. 3:17-cv-00558 (D.
                   Conn.)
COO                Chief Operating Officer
Relevant Period    February 6, 2014 through May 30, 2019, inclusive
COGS               Cost of Goods Sold
                   Defendant Eyal Desheh, Teva’s CFO from July 2008 to June 30, 2017,
Desheh             except from October 30, 2013 to February 11, 2014, when he served as
                   Teva’s Interim President and CEO
DOJ                U.S. Department of Justice
                   Former Employees of Teva who are referenced herein and identified as
FE                 FE-
                   Kevin Galownia, Teva’s VP of Pricing Operations since January
                   2018, and formerly Teva’s Senior Director, Marketing from January
Galownia           2010 to March 2014, and its Senior Director, Marketing Operations
                   from September 2014 to December 2017
GAO                U.S. Government Accountability Office
                   GAO audit report titled, “Generic Drugs Under Medicare” and
GAO Report
                   publically released on September 12, 2016
                   The September 9, 2016 investor day conference Teva hosted to discuss
Generics Day       its generics business
                   In re Generic Pharmaceutical Pricing Antitrust Litigation, Case
Generics MDL       No. 2:16-md-02724 (E.D. Pa.)
Glazer             Jeffrey Glazer, former CEO of Heritage Pharmaceuticals
                   Defendant Deborah Griffin, Teva’s SVP and CAO (Principal
                   Accounting Officer) who also served as the Authorized U.S.
Griffin            Representative of Teva during the Relevant Period. She was also VP
                   and CFO of Teva USA during the Relevant Period.
Heritage           Heritage Pharmaceuticals Inc.
                   The amount of profit Teva generated solely as a result of its price
Inflated Profits   increases

                   The Latest Best Estimate, a document produced quarterly with the
                   involvement of Oberman (and later Olafsson), Griffin, and Cavanaugh,
LBE                one that tracked whether financial forecasts were being met, and which
                   was delivered to Teva’s Israeli executives, including Vigodman and
                   Desheh
Levin              Jeremy M. Levin, Teva’s CEO from May 9, 2012 to October 30, 2014
Malek              Jason Malek, Former President of Heritage
MD&A               The Management Discussion & Analysis section of SEC Form 20-F




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                     National Average Drug Acquisition Cost, the non-manufacturer
                     specific average market-wide price paid by pharmacies for a
NADAC                specific drug, collected via a monthly survey of pharmacists, and
                     provided to the public by the U.S. Department of Health and Human
                     Services’ Centers for Medicare & Medicaid Services
                     National Drug Code, a unique three-segment product identifier for
NDC Code             drugs required by the Food, Drug, and Cosmetic Act (21 U.S.C. §
                     360)).
                     Collectively certain U.S.-dollar-denominated senior notes issued by
                     Teva in a public offering on or about July 21, 2016, namely:
                     (a) 1.400% Senior Notes due July 20, 2018 (“2018 Notes”);
                     (b) 1.700% Senior Notes due July 19, 2019 (“2019 Notes”);
Notes
                     (c) 2.200% Senior Notes due July 21, 2021 (“2021 Notes”);
                     (d) 2.800% Senior Notes due July 21, 2023 (“2023 Notes”);
                     (e) 3.150% Senior Notes due Oct. 1, 2026 (“2026 Notes”); and
                     (f) 4.100% Senior Notes due Oct. 1, 2046 (“2046 Notes”)
Notes Final          The prospectus supplement filed pursuant to Rule 424(b)(5) with
Prospectus           the SEC on July 19, 2016
Notes Offering       The public offering of the Notes completed on or about July 21, 2016
                     The Notes Registration Statement, along with the base and preliminary
Notes Offering       prospectus and related prospectus supplements constituting part of
Materials            Notes Registration Statement, including the Notes Final Prospectus,
                     and the documents incorporated by inference therein
Notes Registration   The Post-Effective Amendment No. 1 to the shelf registration
Statement            statement on Form F-3 Teva filed with the SEC on July 13, 2016
NYSE                 New York Stock Exchange
                     Defendant Allan Oberman, President and CEO of Teva Americas
Oberman              Generics from November 5, 2012 to December 31, 2014
Offerings            The ADS/Preferred Offerings and the Notes Offering
                     The ADS/Preferred Offering Materials and the Notes
Offering Materials   Offering Materials
                     Defendants Erez Vigodman, Eyal Desheh, Allan Oberman, Sigurdur
                     Olafsson, Deborah Griffin, and Maureen Cavanaugh. References to
Officer Defendants   the Officer Defendants include only those individuals then
                     employed by Teva at the referenced time.
                     Defendant Sigurdur (“Siggi”) Olafsson, President and CEO of
Olafsson             Teva’s Global Generic Medicines Group from July 1, 2014 to
                     December 5, 2016
                     The internal enterprise resource planning software system on which
Oracle ERP System
                     Teva digitally stores drug-by-drug pricing, sales, and revenue data
                     Teva’s ordinary shares of ILS 0.10 par value per share; September
Ordinary Shares
                     30, 2018 and December 31, 2017: authorized 2,495 million shares;
                     issued Patel,
                     Nisha  1,125 Teva’s
                                   millionformer
                                           shares Director
                                                  and 1,124ofmillion shares,
                                                              Strategic      respectively
                                                                        Customer   Marketing
Patel                from April 2013 to August 2014 and its Director of National
                     Accounts from September 2014 to December 2016


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Preferred Final       The final prospectus supplement filed pursuant to Rule 424(b)(5) with
Prospectus            the SEC on December 3, 2015 at 5:26 p.m. ET
                      The public offering of Preferred Shares completed on or
Preferred Offering
                      about December 3, 2015 and January 6, 2016
                      7.00% mandatory convertible preferred shares issued to the public on
Preferred Shares
                      or about December 3, 2015 and January 6, 2016
                      Teva’s new and undisclosed corporate strategy, adopted in 2013, to
Price-Hike Strategy   systematically and broadly implement price increases across its
                      generic drug portfolio
                      A group of Teva employees, led by Galownia in the United States,
Pricing Group         whose day-to-day responsibilities included analysis of the pricing
                      for Teva’s generic drugs
PSLRA                 Private Securities Litigation Reform Act of 1995
R&D                   Research and Development
                      Request for Proposal, a blind-bidding process intended to solicit a
RFP                   “best and final” offer where each firm that submits a response without
                      knowing what competing firms are bidding
S&M                   Sales and Marketing
SEC                   Securities and Exchange Commission
Sherman Act           Sherman Antitrust Act
                      The Attorneys General of 47 States, the District of Columbia, and
                      Puerto Rico who filed a Consolidated Amended Complaint against
State AGs             Teva and others on June 18, 2018, in the Generics MDL, and the
                      Complaint against Teva and others filed on May 10, 2019 in the
                      District of Connecticut (C.A. No. 3:19-cv-710)
Teva or the
Company               Defendant Teva Pharmaceutical Industries Ltd.

Teva USA              Defendant Teva Pharmaceuticals USA, Inc.
TASE                  The Tel Aviv Stock Exchange
Teva Securities       ADS, Preferred Shares, Notes, and Ordinary Shares, collectively
                      Defendant Erez Vigodman, Teva’s President and CEO from February
Vigodman              11, 2014 to February 6, 2017 and one of its directors of the Board from
                      June 22, 2009 to February 6, 2017
                      Wholesale Acquisition Cost, the list price of a generic manufacturer’s
WAC                   drug to a wholesaler or a direct purchaser without discounts
YOY                   Year-Over-Year




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       Plaintiffs Psagot Mutual Funds, Ltd. (“Psagot Mutual Funds”), Psagot Provident Funds &

Pension Ltd. (“Psagot Provident” and together with Psagot Mutual Funds, “Psagot” or

“Plaintiffs”), alleges in this securities action claims under Sections 10(b) and 20(a) of the Exchange

Act of 1934 (the “34 Act”), the Israel Securities Law, 1968, the Pennsylvania Securities Act of

1972 (the “PSA”), and fraud and negligent misrepresentation under the law of Pennsylvania,

against Teva and certain of its current and former employees and officers.1

       Plaintiffs allege the following based upon personal knowledge as to those allegations

concerning Plaintiffs and, as to all other matters, upon investigation of counsel, including, among

other things: (i) review and analysis of public filings made by Teva with the United States

Securities and Exchange Commission (“SEC”); (ii) review and analysis of press releases and other

publications disseminated by Defendants; (iii) review and analysis of news articles and conference

call transcripts; (iv) review and analysis of other court filings related to Teva, including the

amended complaint for violation of the federal securities laws in Ontario Teachers' Pension Plan

Board, et al v. Teva Pharmaceutical Industries Ltd. et al, No. 3:17-cv-00558 (D. Conn.) (the

“Class Action”), and pleadings in In re Generic Pharmaceuticals Pricing Antitrust Litig., MDL

No. 2724, Civil Action No. 2:16-md-02724 (E.D. Pa.); (v) review and analysis of other publicly

available information concerning Teva; and (vi) analysis of pricing in the generic drug markets in

which Teva operated. The investigation of facts pertaining to this case is ongoing. Plaintiffs believe

that additional evidence will support the allegations herein after a reasonable opportunity for

discovery.




1
       Capitalized terms not otherwise defined herein have the meaning ascribed in the Glossary
of Terms attached hereto.


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 I.    SUMMARY OF THE ACTION

       1.      This action arises from misrepresentations and omissions that Defendants made to

Plaintiffs concerning, inter alia, Teva’s generic drug business—viz., its drug pricing strategy,

goodwill valuation, and legal compliance—and, its illegal marketing and distribution of opioid

narcotics during the Relevant Period (February 6, 2014 to May 30, 2019, both dates inclusive).

These misrepresentations and omissions caused the market, including Plaintiffs, to purchase

Teva’s securities at artificially inflated prices. By May30, 2019, the market came to learn that

Teva had participated in one of the largest illegal cartels ever in the history of the United States,

destroying billions of dollars in investor wealth. Moreover, investors learned that Teva had played

a key role in the opioid epidemic scourging the nation, which, together with the Company’s

liability arising from its illegal sales of generic pharmaceuticals, could result in over $4 billion in

damages and criminal liability.

       2.      Since its formation as a local drug wholesaler in Jerusalem in 1901, Teva has grown

to become the world’s largest generic drug manufacturer. Teva currently produces 120 billion

generic tablets and capsules per year in 87 pharmaceutical and API facilities around the world. As

the Company readily acknowledges on its website “[t]he scale and breadth of [its] generics

portfolio has an unprecedented impact on global healthcare.”

       3.      Generic drugs by definition only enter the market after a patent monopoly has

expired, which removes significant pricing power from manufacturers and, over time, results in

declining prices. Nevertheless, Teva was able to increase the prices of certain generic drugs by as

much as 100% or more during the Relevant Period.

       4.      In early 2013, Teva implemented a pricing strategy for its generic drug portfolio

whereby in concert with its competitors it methodically raised prices throughout its generic drug

portfolio (the “Price-Hike Strategy”). Throughout the Relevant Period, Teva’s senior officers


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personally oversaw at least 76 price increases for its generic drugs, which they monitored along

with the daily, weekly, and quarterly profits generated along with each price increase. Over the

Relevant Period, the financial impact of the strategy was staggering, totaling over $2.3 billion in

profits attributable solely to the price increases (the “Inflated Profit”).

        5.      While Defendants loudly touted Teva’s robust revenue growth, they went to great

lengths to conceal the true driver of Teva’s growth—the illegal Price-Hike Strategy. For example,

on February 11, 2016, the Company reported that its generic drug business generated a $500

million increase in profits over the year prior. On the earnings call held that same day with

investors, Teva’s President and CEO Olafsson explicitly rejected the notion that Teva’s astonishing

earnings growth was attributable to its pricing strategy: “So how did we do this? Not by pricing but

by portfolio mix, new products, and efficiency measures. . . . [W]e and the generic industry

overall don’t see price inflation of generics as it sometimes is portrayed in the media.”2 In truth,

Teva’s Price-Hike Strategy was responsible for $155 million, or 31%, of the Company’s year-

over-year growth, and, overall, generated approximately $848 million in Inflated Profits for 2015.

        6.      During the Relevant Period, the Price-Hike Strategy contributed as much as $236

million in Inflated Profits per quarter between the third quarter of 2013 and second quarter of 2017.

        7.      Defendants’ implementation of the Price-Hike Strategy and their failure to disclose

the primary contributor to Teva’s renewed success concealed a significant risk from the market.

Namely, Defendants’ omitted that Teva’s generic drug pricing strategy was inherently risky and

unsustainable for a variety of reasons, including that two-thirds of the increases were done in

tandem with other drug manufacturers. Wholesale purchasers of generic drugs routinely set pricing

through competitive RFP bidding. Consequently, every time Teva raised its prices it created an



2
        Emphasis added throughout unless otherwise noted.


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unmitigated risk that another competitor (one who was not a participant in its cartel) could

underbid Teva, thus that Teva would lose its entire market share. Even more concerning, Teva’s

reliance upon illegal price gouging or collusion created a risk of public outcry and civil and

criminal liability. Accordingly, Plaintiffs and other investors were led to value their Teva

securities based upon the Inflated Profits which were unsustainable and likely to disappear—which

they did.

       8.      Defendants’ motive was to inflate Teva’s share price in order to effect a large

acquisition that Teva otherwise could not afford. As Teva’s CFO Desheh predicted in January

2014, within 12 to 24 months, Teva’s “stock price will go up and we’ll be able to use our share as

a currency . . . to fund transactions” that could transform Teva into an even larger, more dominant

force in generics. Newly-hired CEO Vigodman reportedly also wished to undertake a significant

acquisition as he took the helm in February 2014, at the start of the Relevant Period.

       9.      Just as Desheh predicted, within 18 months, Teva’s ADS price shot up along with

the increasing profits. Indeed, Teva’s share price hit an all-time high of $72 on July 27, 2015, the

day Teva announced it was acquiring Actavis for $40 billion. Of course, Teva did not have the

cash; the price tag equaled roughly 20 years of Teva’s recent average profits. As Defendants

intended all along, they would use Teva’s securities as “currency” and raise $27 billion from

investors.

       10.     At the same time as Teva was greatly expanding its generic business through its

acquisition of Actavis, the generic drug industry had fallen under increased scrutiny from the

public, triggering Congressional hearings, calls for drug pricing legislation, and prosecutorial

investigations. Even as investors began to grow wary of the confluence of the above factors, Teva

and its executives assured them there would not be a material impact on the Company. For




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example, CFO Desheh commented that “there’s a lot of noise around pricing issues. Some of it’s

coming from politicians. . . . Our exposure to all these things is very minimal.”

       11.     As 2016 began, other pharmaceutical companies reported disappointing earnings,

which they attributed to increased pressure to reduce prices. This pricing pressure was a byproduct

of heightened government scrutiny and public outcry. When asked whether Teva faced the same

risks, Olafsson falsely claimed that Teva was not exposed: “Teva has not seen any fundamental

change or worsening in the pricing environment.” Vigodman claimed “[w]hat we see is a 4% to

5% erosion [in pricing] . . . That’s not something which is different from what we said during

2015.” In reality, the denied pricing pressure was eating into Teva’s Inflated Profits; in the first

quarter of 2016, Inflated Profits were 45% lower than they had been a year earlier.

       12.     On June 21, 2016, Teva received a subpoena from the Antitrust Division of the DOJ

seeking documents and other information relating to the marketing and pricing of certain of Teva’s

generic products and communications with competitors. Then on July 12, 2016, the Connecticut

Attorney General, on behalf of the State AGs, also served Teva with a subpoena concerning its

pricing for generic drugs. The receipt of subpoenas created significant obstacles to Teva’s ability

to raise prices under the strategy; Teva did not make any price hikes after that point. Though Teva

had previously set a date in the fall of 2016 for a $20 billion debt offering, on July 13, 2016—the

day after service of the Connecticut Attorney subpoena—Defendants announced that the debt

offering was being immediately accelerated, filing the Notes Registration Statement the same day.

Despite dozens of pages disclosing other investigations and legal matters, the filings were silent

as to the DOJ’s and State AGs’ subpoena. Teva raised cash in the debt offering, and closed the

deal on August 2, 2016. The next day, with Inflated Profits further declining since 2015, Teva

reported disappointing earnings and disclosed receipt of the subpoenas. Though the truth was




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beginning to surface, Defendants continued to deny that price increases ever occurred. On

September 8, 2016, Olafsson stated that “people that say that . . . there’s a big generic price

inflation, are simply wrong.”

       13.     Reality, however, overtook the Defendants. In November 2016, Bloomberg

reported that Teva was a target of the DOJ and State AGs’ investigations and looming charges.

The end of the Price-Hike Strategy brought further declines in profits. Olafsson, an architect of the

strategy and the driving force of the Actavis transaction, was fired on December 5, 2016. A week

later, the State AGs sued Teva for violations of the Sherman Act. In short order, CEO Vigodman

was terminated in February 2017, and CFO Desheh was also out by May 2017. On August 3, 2017,

the very first investor call after their terminations, Teva announced that it was required to take a

$6.1 billion write-down of its entire generics business because its fundamental value had been

“permanently impaired.”

       14.     Without the Price-Hike Strategy driving Inflated Profits, Teva’s ability to service

its over $30 billion in debt also raised fears; the credit-rating agencies immediately downgraded

the Company’s debt to just above “junk.” And after 30 years of maintaining or increasing its

dividend, the new Board and management of Teva were forced to cut the dividend by 75%. In

reality, without the Price-Hike Strategy, Teva was a fundamentally weaker company than investors

were led to believe. The share price plummeted in reaction to this news.

       15.     Defendants carried out this securities fraud through four interrelated categories of

misstatements and omissions, alleged particularly below. First, Defendants explicitly attributed

Teva’s financial performance to legitimate and benign business strategies, including cost cutting

and product selection. Having attributed the source of Teva’s revenues, Defendants were required

to disclose the reality that Teva’s performance was driven by the undisclosed Price-Hike Strategy.




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Second, under Item 5 of Form 20-F, Defendants were obligated to disclose that the Price-Hike

Strategy was impacting Teva’s profits, first as they dramatically increased, and later as they

subsequently evaporated. Third, Defendants repeatedly stated that Teva was excelling in a highly

competitive environment. That was far from the truth, as Teva was only able to sustain the Inflated

Profits because of a lack of competition. Whether illegal or not, this was a precarious reality, which

could be—and ultimately was—undercut. Finally, in connection with the Note Offering,

Defendants were required to disclose the receipt of the State AGs’ and DOJ subpoenas. They did

not.

       16.     Additionally, Defendants colluded with other manufacturers to fix prices for a

subset of at least 16 drugs, which exhibited both parallel price increases with Teva’s competitors

and other indicia of collusion. These allegations are corroborated by the facts identified through

the State AGs’ allegations that Teva engaged in a vast industry-wide price-fixing conspiracy.

Additionally, the allegations herein, on information and belief, identify the Teva employee who

the State AGs allege was central in the price-fixing; this employee, however, was not in a position

to agree to or approve any pricing changes. Instead, Defendants Griffin, Chief Accounting Officer

of Teva and CFO of Teva USA, and Cavanaugh, COO of Teva USA, made those decisions,

approving all the price increases alleged herein.

       17.     Teva’s years-long lies and misconduct was further revealed on December 9, 2018,

when Joseph Nielsen, an assistant attorney general and antitrust investigator in Connecticut who

has been leading the State AGs’ investigation, announced that the scope of this investigation was

far larger than initially reported. Specifically, Mr. Nielsen revealed that the investigation had

expended to at least 16 companies and 300 drugs, and had exposed “the largest cartel in the history

of the United States.”




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        18.      On May 10, 2019, the public learned even more about Teva’s illegal pricing

practices, when more than 40 states, led by the Connecticut AG, filed a second suit against Teva

and its purported competitors, bringing additional claims for conspiring to fix the price of at least

112 different generic drugs, some by well over 1,000%. Critically, the State AGs stated in their

latest complaint that their investigation is still ongoing and they “will likely bring additional

actions” based on drugs not identified in the current complaint.

        19.      Separate and apart from the Company’s participation in the largest cartel in U.S.

history, Teva contributed to the opioid epidemic in the country by illegally pushing the deadly

narcotics onto any willing medical practice without regard for FDA regulations.

        20.      Opioids are a class of drugs that include the illegal drug heroin, synthetic opioids

such as fentanyl, and pain relievers available legally by prescription, such as oxycodone

(OxyContin®), hydrocodone (Vicodin®), codeine, morphine, and many others.

        21.      Notwithstanding Defendants’ repeated acknowledgements that opioids are for

limited uses, such as “opioid tolerant cancer patients with breakthrough cancer pain”, Teva pushed

its sales representatives to increase sales of its opioid products by promoting off-label uses (i.e.,

non FDA-approved). Consequently, Teva helped fuel an opioid epidemic in the United States

which kills over 115 people each day, and has led to the 2017 presidential declaration that the

opioid crisis has become a public health emergency.

        22.      Over the course of the Relevant Period, the extent of Teva’s illegal opioid sales

came to light, which, to date, has resulted in approximately 1,500 complaints filed against Teva

and/or its affiliates.

        23.      Most recently, on May 26, 2019, on the eve of one of the first cases to go to trial,

Teva paid $85 million to settle claims brought by the State of Oklahoma. Shortly thereafter, the




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market was forced to reconsider the potential liabilities Teva faced as a result of the opioid

litigation and price-fixing litigation, with one analyst estimating damages of approximately $4.1

billion.

II.        JURISDICTION AND VENUE

           24.   The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C. §§78j(b) and 78t(a), and the rules and regulations promulgated thereunder,

including SEC Rule 10b-5, 17 C.F.R. §240.10b-5; Sections 1-402(c) and 1-501(c) of the PSA, 70

Pa. Stat. §§1-402(c) & 1-501(c); and the Israel Securities Law, 1968.

           25.   This Court has jurisdiction over the subject matter of this action pursuant to Section

27 of the 34 Act (15 U.S.C. § 78aa). In addition, because this is a civil action arising under the

laws of the United States, this Court has jurisdiction pursuant to 28 U.S.C. § 1331. This Court has

supplemental jurisdiction over the subject matter of the claims brought under the Israel Securities

Law, 1968, Sections 1-402(c) and 1-501(c) of the PSA, 70 Pa. Stat. §§1-402(c) & 1-501(c),

pursuant to 28 U.S.C. §1367(c); and the law of Pennsylvania

           26.   Venue is proper in this District pursuant to Section 27 of the 34 Act (15 U.S.C. §

78aa). In addition, venue is proper pursuant to 28 U.S.C. § 1391. Moreover, the Class Action is

pending in this District, and courts throughout the United States have found that this District is the

most appropriate forum for related actions. See Galmi v. Teva Pharm. Indus. Ltd., No. 16-cv-08259

ECF No. 74 (April 3, 2017 C.D. Cal.); Phoenix Ins. Co. Ltd. v. Teva Pharm. Indus. Ltd., No.

18-cv-3305, ECF No. 38 (Feb. 22, 2019 E.D. Pa.); Grodko v. Teva Pharm. Indus. Ltd., et al.,

No. 17-cv-3743, ECF No. 37 (E.D. Pa. April 10, 2018); Baker v. Teva Pharm. Indus. Ltd., et al.,

No. 17-cv-3902, ECF No. 17 (E.D. Pa. Apr. 10, 2018); Clal Insurance Company Ltd. et al., v. Teva

Pharmaceutical Industries Ltd. et al., No. 2:19-cv-00530 ECF No. 26 (E.D. Pa. April 4, 2019);




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Mivtachim The Workers Social Insurance Fund Ltd. et al., v. Teva Pharmaceutical Industries Ltd.

et al., No. 2:19-cv-00674 ECF No. 23 (E.D. Pa. April 4, 2019).

       27.      In connection with the acts alleged herein, Defendants directly or indirectly used

the means and instrumentalities of interstate commerce, including the United States mails,

interstate telecommunications, and the facilities of the New York Stock Exchange (“NYSE”).

III.   PARTIES

       A.      Plaintiffs

       28.     Psagot Provident and Psagot Mutual Funds are affiliates of the Psagot Investment

House. The Psagot Investment House is an Israeli investment firm and the country’s largest

pension fund manager, with capital of over $40 billion. Psagot purchased and/or sold Teva

securities on the NYSE and TASE during the Relevant Period and was damaged upon the

revelation of the alleged corrective disclosures.

       B.      Defendants

       29.     Defendant Teva Pharmaceutical Industries Ltd., the world’s largest generic drug

manufacturer, is incorporated in Israel with its executive offices at 5 Basel Street, P.O. Box 3190,

Petach Tikva, 4951033, Israel. Teva ADS trade on the NYSE under the symbol “TEVA.” Teva

Preferred Shares and Notes are traded in the U.S. Teva’s ordinary shares trade on the TASE under

the symbol “TEVA.”

       30.     Teva has two reporting segments to its business, specialty medicines and generic

medicines. During the Relevant Period, Teva’s generics segment contributed approximately one

half of the Company’s revenues. Teva’s U.S. generics business is the most important part of its

generics segment, comprising approximately 50% of overall generics revenues.

       31.     Defendant Teva Pharmaceuticals USA, Inc. is defendant Teva’s wholly-owned

subsidiary and has its principal offices at 1090 Horsham Road, North Wales, Pennsylvania, 19454.


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As detailed in the sworn declaration of Austin D. Kim (“Kim”), Teva USA’s Vice President and

Deputy General Counsel, Corporate/M&A, submitted by Teva in support of its motion to transfer

two related securities fraud actions to this District, Teva’s “principal United States subsidiary is

Teva USA.” Galmi, ECF No. 37-2 ¶3 (the “Kim Declaration”). Moreover, Teva’s “sales,

marketing, and finance executives with responsibility for U.S. generics pricing are based in

Pennsylvania.” Id., ¶4.     In addition, Teva’s investor relations department and individuals

responsible for drafting and preparing Teva’s public filings with the SEC are based at Teva USA’s

Pennsylvanian offices. Id. Throughout the Relevant Period, Teva listed Teva USA as its agent of

service on its numerous Registration Statements filed with the SEC. Also, Teva, in its press

releases, directed investors to “Teva Investor Relations at 1090 Horsham Road, North Wales PA,

19454 or by phone at (215) 591-8912” in order to receive copies of its Annual Reports and

complete audited financial statements. Lastly, “[d]ocuments relating to the subject matter of this

lawsuit—e.g., materials related to Teva USA, drug pricing, and U.S. competitors—are located in

Pennsylvania, or, if not there, in Israel.” Kim Declaration, ¶7.

       32.     Defendant Erez Vigodman served as Teva’s President and CEO from February 11,

2014 to February 6, 2017 and as a Teva Director from June 22, 2009 to February 6, 2017.

Vigodman signed and certified certain of Teva’s alleged false and misleading reports on Forms

20-F and Forms 6-K filed with the SEC during the Relevant Period, as well as the ADS/Preferred

and Notes Registration Statements. Vigodman also made false and misleading statements on

numerous conference calls with investors and analysts, as alleged specifically herein. During his

tenure at Teva, Vigodman possessed the power and authority to, and in fact did approve and control

the contents of the Company’s SEC filings alleged herein to be false and misleading.




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       33.     Defendant Eyal Desheh served as Teva’s Chief Financial Officer CFO from July

2008 to June 30, 2017, except from October 30, 2013 to February 11, 2014, during which time he

served as Teva’s Interim CEO and Interim President. Desheh signed and certified certain of Teva’s

false and misleading reports on Forms 20-F and 6-K filed with the SEC during the Relevant Period,

as well as the ADS/Preferred and Notes Registration Statements filed with the SEC. Desheh also

made false and misleading statements on numerous conference calls with investors and analysts,

as alleged specifically herein.

       34.     Defendant Yaacov Altman (“Altman”) served as Teva’s Acting CFO from October

31, 2013 to February 11, 2014. Altman signed and certified certain of Teva’s reports on Forms 20-

F and 6-K filed with the SEC during the Relevant Period, as set forth herein. Altman made false

and misleading statements and omitted to disclose the truth during the course of numerous

conferences with investors and analysts, alleged specifically herein.

       35.     Defendant Allan Oberman served as President and CEO of Teva Americas Generics

from November 5, 2012 to December 31, 2014. Oberman made false and misleading statements

as alleged herein. During his tenure at Teva, Oberman possessed the power and authority to, and

in fact did approve and control the contents of the Company’s SEC filings alleged herein to be

false and misleading.

       36.     Defendant Sigurdur Olafsson served as President and CEO of Teva’s Global

Generic Medicines Group from July 1, 2014 to December 5, 2016. Olafsson made false and

misleading statements on numerous conference calls with investors and analysts, as alleged herein.

During his tenure at Teva, Olafsson possessed the power and authority, and in fact did approve

and control the contents of the Company’s SEC filings alleged herein to be false and misleading.




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       37.     Defendant Yitzhak Peterburg (“Peterburg”) served as Teva’s Interim President and

CEO from February 6, 2017 to October 31, 2017. Prior to that date, he was Chairman of Teva’s

Board from January 1, 2015. He also served as a Teva director from June 2009 to July 2010 and

after a brief departure he rejoined Teva’s Board from 2012 until February 6, 2017. Peterburg

signed and certified certain of Teva’s reports on Forms 20-F and 6-K filed with the SEC during

the Relevant Period, as set forth herein. Peterburg made false and misleading statements and

omitted to disclose the truth during the course of numerous conferences with investors and

analysts, alleged specifically herein.

       38.     Defendant Deborah Griffin (“Griffin”) serves as Teva’s SVP and Chief Accounting

Officer (Principal Accounting Officer), and served as the Authorized U.S. Representative of Teva

during the Relevant Period. She was also VP and CFO of Teva USA during the Relevant Period.

Griffin worked at Teva USA’s North Wales offices. Griffin signed the ADS/Preferred and Notes

Registration Statements and was an Authorized U.S. Representative for Teva. While at Teva,

Griffin possessed the power and authority, and in fact did approve and control the contents of the

Company’s SEC filings alleged herein to be false and misleading, as they pertained to Teva USA’s

financial reporting.

       39.     Defendant Dipankar Bhattacharjee (“Bhattacharjee”) served as the President and

CEO of Teva’s Global Generic Medicines Group from December 5, 2016 to December 31, 2017.

He previously served as President and CEO of Teva’s Generics Europe from 2013 and 2016 and

as CEO of Teva UK Ltd. and later as Senior Vice President (“SVP”) of Teva’s Western Europe

from 2009 to 2013. Bhattacharjee made false and misleading statements and omitted to disclose

the truth during the course of numerous conferences with investors and analysts, alleged

specifically herein.




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       40.     Defendant Maureen Cavanaugh (“Cavanaugh”) during the Relevant Period served

as Teva USA’s SVP and Chief Operating Officer, North America Generics. Cavanaugh worked at

Teva USA’s North Wales offices. During her tenure at Teva, Cavanaugh possessed the power and

authority to, and in fact did approve and control the contents of the Company’s SEC filings alleged

herein to be false and misleading, as they pertained to Teva USA’s financial reporting. Between

January 2011 and August 2017, Cavanaugh communicated via phone calls and text messages at

least 612 times with her counterparts at Teva competitors.

       41.     Defendant Kåre Schultz (“Schultz”) has served as Teva's President and CEO since

November 1, 2017. Schultz signed and certified certain of Teva’s reports on Forms 20-F, 6-K, 8-

K, and 10-K filed with the SEC during the Relevant Period, as set forth herein. Schultz made false

and misleading statements as alleged herein. Since his appointment as Teva President and CEO,

Schultz possessed the power and authority to, and in fact did approve and control the contents of

the Company’s SEC filings alleged herein to be false and misleading.

       42.     Defendant Michael McClellan (“McClellan”) has served as EVP and CFO of Teva

since November 2017. Prior to becoming CFO, he was Teva’s SVP and Interim CFO from July

2017 to November 2017, and SVP and CFO of the Global Specialty Medicines division July 2015

to July 2017. McClellan signed and certified certain of Teva’s reports on Forms 20-F and 6-K filed

with the SEC during the Relevant Period, as set forth herein. McClellan made false and misleading

statements and omitted to disclose the truth during the course of numerous conferences with

investors and analysts, alleged specifically herein.

       43.     Defendants Vigodman, Desheh, Oberman, Olafsson, Griffin, Altman, Peterburg,

Bhattacharjee, McClellan, Schultz, and Cavanaugh are referred to herein collectively as the




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“Officer Defendants.” Teva and the Officer Defendants are referred to herein collectively as the

“Defendants.”

IV.    SUBSTANTIVE SECURITIES FRAUD ALLEGATIONS

       44.      The allegations detailed below are based on Plaintiffs’ counsel’s investigation,

which included, inter alia, a review of Defendants’ public statements, news articles, and analyst

reports; analysis of pricing in the generic drug markets in which Teva operated; and review of

court filings related to Teva, including the amended complaint for violation of the federal securities

laws in the Class Action and the Generics MDL.

       45.      In particular, Plaintiffs rely on the numerous interviews of former Teva employees

cited in the Class Action amended complaint, which are identified herein by job description and

responsibility, and duration of employment. Such individuals are referred to herein as the “Former

Employees” or “FEs”. Allegations attributed to a particular Former Employee are designated as

such by reference to their “FE-__” designation or job description.

       A.       Pre-Relevant Period Allegations

                1.     ADS Price Suffers; Transaction Motivation Announced

       46.      Before the Relevant Period, Teva’s generics segment was struggling and Teva’s

share price had dropped from the $60s in 2010 into the $30s by 2013. Then-CEO Levin

acknowledged that the U.S. generics business had been “slowing fundamentally” for years and had

announced a strategy to focus on Teva’s other business segment, branded drugs. Abruptly, Levin

was fired on October 30, 2013, after just 18 months as CEO, and was immediately replaced by

CFO Defendant Desheh. As he stepped into the role of interim CEO, Desheh was enthusiastic

about Teva’s prospects, as was Chairman Peter Frost, who told analysts that his friends were

buying “hundreds of millions of dollars” of Teva shares.




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       47.     By the beginning of 2014, Desheh’s optimism became more strident as he

announced Teva’s motivation to make a major acquisition, predicting that within 12 to 24 months

Teva’s “stock price will go up and we’ll be able to use our share as a currency . . . to fund

transactions.” As Defendant Vigodman took the helm as new CEO in February 2014, analysts

reported that he also supported engaging in a significant acquisition.

       B.      Teva Adopted Undisclosed Price-Hike Strategy

       48.     Defendants actively concealed, however, that by early 2013 Teva had adopted a

non-public strategy to systematically increase prices across dozens of drugs in its generics drug

portfolio (the “Price-Hike Strategy”). Teva’s decisions to increase prices came from the top down.

Using an established review and approval procedure, price increases required the Chief

Accounting Officer of Teva and Teva USA CFO, Griffin, and Teva USA COO, Cavanaugh to

undertake and document a careful cost-benefit analysis to determine whether to make a price

increase; they would personally approve the increases. (FE-1, FE-2.) Griffin and Cavanaugh would

then decide when the increases would become effective, often implementing them in batches. (FE-

1, FE-2.)

       49.     Members of the Pricing Group, who would have to provide detailed reviews and

documentation of price reductions, were simply “told” via emails or in meetings to implement a

price increase with little or no justification. (FE-3.) While the directions often came from the head

of Teva USA’s Pricing Group, Kevin Galownia, he did not have the authority to make price-

increase decisions himself; those decisions came from above. (FE-3, FE-1, FE-2, FE-4.) Once

implemented, Teva notified its customers via a letter, and would circulate a copy to employees

whose work would be impacted by the increase (e.g., customer service employees who would need

to field consumer complaints following the hikes). (FE-2, FE-4.) The expected profits from the

price increases were then incorporated into the Company-wide Oracle database (FE-2, FE-1, FE-


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3), to which Oberman, Olafsson (who joined Teva in July 2014), Cavanaugh, and Griffin each had

access. (FE-1, FE-3.) Oracle generated daily or weekly “Scorecards” that Oberman (and later

Olafsson), Griffin, and Cavanaugh would receive that reported generic drug revenues, which

included the Inflated Profit, and tracked whether Teva was on schedule to meet forecasts. (FE-1,

FE-2, FE-3.)

        50.        The Scorecards tracked profits against financial budgets and a long-term “Work

Plan” which was prepared annually and contained forecasts for the coming three to five years. As

to the generics segment, Oberman (and later Olafsson), Cavanaugh, and Griffin were responsible

for assembling the Work Plan, and Oberman and Olafsson were responsible for presenting it to

Teva’s executive committee in Israel, which included Vigodman and Desheh. (FE-2, FE-1.)

During each quarter, a document called a Latest Best Estimate (“LBE”) was prepared, with the

involvement of Oberman (and later Olafsson), Cavanaugh, and Griffin, detailing whether forecasts

were met, or whether there was a “hole” between the forecasted profits and reality. (FE-1, FE-2.)

The LBE reports were sent to Teva’s executive committee in Israel (FE-1, FE-2).

        51.        Throughout the Relevant Period, Defendants told investors that Teva’s increased

profits came from ordinary business strategies, like cost cutting and new product launches. At

every opportunity, in Teva’s financial disclosures filed with the SEC and on conference calls, the

Defendants denied that Teva was engaged in price increases, let alone that those increases were

driving profits.

        52.        They concealed this because the Price-Hike Strategy was inherently risky,

unsustainable, and could subject Teva to government and law enforcement scrutiny, if not

prosecution. Specifically, the strategy was unsustainable and risky because the U.S. generic drug

market was designed to be extremely competitive; generic drugs are effectively a commodity, fully




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interchangeable and identical in every respect, except for price. Wholesale customers solicit

pricing though a “blind” RFP bidding process. Thus, even if Teva increased its prices, the resulting

profits could be short lived if other manufacturers undercut Teva’s price in order to secure more

market share. Moreover, generic drugs are an essential part of the lives of millions of Americans.

Dramatic increases in prices foreseeably would, and in fact did, garner public criticism and

Congressional action that further undercut the sustainability of the strategy. Additionally, many of

Teva’s price increases occurred in tandem with those of competitors. Whether illegal or not, such

pricing behavior is indicative of a lack of competition, if not collusion, and could, and again did,

become the subject of intense civil and criminal law enforcement investigations. Had Teva

disclosed that its core business strategy was to aggressively increase prices of generic drugs,

investors would have valued the Company very differently from one with a strategy driven by

fundamental growth and cost cutting, as the Defendants falsely proclaimed.

       53.     Teva’s Price-Hike Strategy was particularly well-suited for concealment. The

generics industry is highly opaque; neither Teva, nor any of its peers, disclosed to the investing

public any information concerning individual drug prices, changes or amounts of revenues per

drug, let alone the profits from any particular drug. As explained below, to determine that the

Price-Hike Strategy was actually the driver of Teva’s success, the Class Action plaintiffs and their

experts undertook an econometric analysis of thousands of data points from various non-public,

subscription-based data services, including multiple regression analyses, to identify and quantify

Teva’s very large price increases that greatly exceeded general pricing trends and inflation. The

analysis then isolated the amount of profit Teva generated solely as a result of the increases. This

analysis yielded the Inflated Profits measure alleged herein.




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       C.      Teva Began to Implement the Price-Hike Strategy

       54.     On July 3, 2013 and August 9, 2013, the Defendants began to implement the Price-

Hike Strategy by raising the prices of 18 drugs. Fifteen of the increases were implemented together

with Teva’s competitors who also implemented price increases on the same drugs. The increases

were as high as 812% of the original price. See Appendix A.

       55.     In just the last two quarters of 2013, these price increases generated as much as

$250 million in Inflated Profits. The profit from the increases fell directly to Teva’s bottom line

because they required no additional R&D or S&M expenses. These 2013 price-hiked drugs would

contribute as much as $875 million in Inflated Profits to Teva’s bottom line by the end of the

Relevant Period.

       56.     From the Scorecards, LBE reports, and Work Plan, executives closely tracked the

impact of the Inflated Profits. This reporting structure ensured that “everyone would have known”

if there were significant price increases that generated large profits. (FE-2.)

       D.      2014 - Relevant Period Begins; Fraudulent Attribution of Profits; ADS Price
               Jumps; Law Enforcement Scrutiny

       57.     Entering 2014, price increases by generic drug companies had caused public

concern. For example, on January 8, 2014, the National Community Pharmacists Association,

based on a proprietary survey of its members, wrote to Congress stating that “[o]ver the last six

months . . . many of our members across the U.S. [] have seen huge upswings in generic drug

prices,” and requested an investigation. As the fact of large price increases on certain drugs trickled

out to the public, the Defendants made increasingly misleading statements to cover their tracks

and falsely disassociate themselves from price increases by attributing profit to other sources.

       58.     The Relevant Period begins on February 6, 2014, the date Teva announced its fourth

quarter 2013 and full year 2013 financial results in a press release. Those results improved as



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compared to performance prior to the Price-Hike Strategy. The financial disclosures, however,

made no mention of the fact that this newfound success was driven by Inflated Profits.

       59.     Specifically, Teva’s financial disclosures touted a 14% increase in U.S. generics

revenue for the fourth quarter, attributing it to “higher sales” volume, reduced expenses, and

“exclusive launches” of new generic drugs. While the attributed reasons for improvement may

have had some minor influence on the profits, all of the YOY improvement was driven by the

Inflated Profit from price increases. The omission of this fact when listing the causes for the YOY

profit growth was misleading. This pattern would repeat throughout the Relevant Period.

       60.     During the February 6, 2014 earnings call, Desheh announced that Teva would

increase its quarterly dividend by 5%, that the “U.S. generic business is highly profitable,” and

that “[w]e had a pretty good even excellent second half [of 2013] in the United States [generic]

business.” Oberman, CEO of U.S. generics followed and explained that “at the gross profit levels

that [Desheh] was talking about, [the U.S. generics business] is a very valuable business to Teva,

and we see it continuing to be on a go-forward basis.” This presented a stark contrast from Levin’s

assessment just months earlier that the generics business was “slowing fundamentally.”

       61.     The improved financial results were well received by investors and analysts. On

February 6, 2014, a BMO Capital Markets analyst wrote that generic sales “came in above ... our

expectations and consensus”; “we think 4Q results are a high-quality beat with revenue and EPS

coupled with an improvement in margins year over year. . . . Teva shares should be bolstered by

today’s positive earnings announcement.”




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       62.     The encouraging news triggered the beginning of a long and steep increase in

Teva’s ADS price that would last throughout 2014 and 2015.3 By early March 2014, the ADS had

risen from the $30s to trade at $48. The increased price of the ADS was critical to achieving the

Defendants’ stated motivation to use the ADS as “currency” to make a major acquisition. Desheh,

on a March 4 investor conference call, explained that with “the stock price under $40 . . . we can’t

use [Teva Securities as] currency,” but that, with “change[s] over the past few months,” Teva was

extracting “itself [from] . . . a corner that was difficult to come out of,” bringing Teva closer to a

large acquisition.

       63.     What investors and analysts did not, and could not, know was that Desheh,

Oberman, and the Company’s SEC filings had concealed the Price-Hike Strategy, and that, in the

fourth quarter of 2013, the 18 price increases made pursuant to the strategy generated the entirety

of Teva’s YOY gain in U.S. generics revenue.

       64.     First Quarter 2014 Results; Analysts Take Note: By the beginning of April 2014,

Teva’s ADS price had increased to $54.06, or 19%, since the Relevant Period began. As a National


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       Figure 1:




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Alliance Securities analyst concluded, Teva’s ADS had “the Best YTD” 2014 performance relative

to its peers, a stark contrast to how Teva had “dramatically underperformed in 2013.”

       65.     The series of positive financial disclosures, fueled by undisclosed Inflated Profit

from the concealed Price-Hike Strategy, continued. On May 1, 2014, Teva reported surprisingly

positive results driven by its generics segment, which reported a YOY increase of $117 million

from Q1 2013 profits. The Defendants falsely explained that lower expenses, a changed

composition of revenues, and “new product launches” were the cause of the increase in profits. In

reality, the Price-Hike Strategy had generated $120 million that quarter.

       66.     The 2014 Work Plan, which was being reviewed by the executive committee in

August 2013, would have included the expected profits from the July and August 2013 price

increases. Cavanaugh, Griffin, and Oberman were each provided on a daily or weekly basis with

Scorecards that tracked whether Teva’s actual results met or exceeded the Work Plan forecasts.

Vigodman and Desheh similarly were provided documents reflecting the impact of the Inflated

Profits as they compared actual revenues versus the Work Plan through the LBE reports

disseminated throughout the quarter.

       67.     Analysts reacted positively to Teva’s surprising and rapid turnaround. Cowen and

Company analysts wrote, “The bottom line is that this story is reversing (for the positive) much

faster than previously anticipated, and the belief that ‘growth’ could reemerge is very real.” J.P.

Morgan predicted an “upside to near/longer term EPS” because of Teva “taking several steps to

regain its generic leadership including . . . focusing more heavily on portfolio selection and

management.” Jefferies analysts noted that Vigodman “Impresses in His Wall Street Debut” due

to his determination to reestablish “Teva’s dominance in its core generic business.”




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          68.   Second Quarter 2014 Results, Further Price Increases, and Law Enforcement

Scrutiny: In April 2014, Teva increased the prices of another 12 generic drugs pursuant to the

Price-Hike Strategy; eight of the increases were carried out together with Teva’s competitors.

Following the established process for implementing price increases, Cavanaugh and Griffin would

have approved these price increases, and would have tracked the Inflated Profits generated through

the Scorecards. By the end of the second quarter, these new price hikes alone would generate as

much as $50 million in Inflated Profit; and as much as $395 million by the end of the Relevant

Period.

          69.   On July 1, 2014, Olafsson was hired from Actavis as President and CEO of Teva’s

Global Generic Medicines Group.

          70.   By the summer of 2014, public attention to generic pricing had increased. On July

8, 2014, The New York Times published an article titled, “Rapid Price Increases for Some Generic

Drugs Catch Users by Surprise,” highlighting that the price of digoxin, a decades-old drug that

Teva did not produce, had nearly doubled since late 2013. Within days, and as a result of this

article, the Connecticut Attorney General (“AG”) began a non-public investigation into the

companies that manufactured digoxin. The Connecticut AG issued subpoenas to Teva’s

competitors Impax (on July 14, 2014), and Lannett Company, Inc. (“Lannett”) (on July 15, 2014);

each company disclosed its subpoena in an SEC filing the very next day.

          71.   In this context, on July 31, 2014, Teva announced its Q2 2014 financial results,

once again boasting an excellent outcome from its generics division. Profitability of the generic

segment increased by $156 million from 2013, again attributed to legitimate business strategies.

During the earnings call, Desheh stressed that Teva’s “improvement in sales this quarter was

driven by the growth of our global generic business, primarily in the U.S.”




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       72.     Analysts echoed Defendants’ explanations. Jefferies analysts observed: “we

continue to see signs of recovery for Teva’s US generic business, which posted a strong 10% Y/Y

gain,” “Solid Q2.” Piper Jaffray increased its price target for Teva from $48 to $55 because of

“meaningful growth drivers for . . . [the] generics businesses,” and the “[s]teady performance for

U.S. generics.”

       73.     In truth, the Price-Hike Strategy had generated as much as $160 million in Inflated

Profit, accounting for all of the YOY increase in profit reported for Teva’s global generics division.

       E.      Third and Fourth Quarter 2014 – Direct Questions; Explicit Denials of Price
               Hikes

       74.     Teva continued to report increasingly positive results driven by its U.S. generics

business, even as scrutiny of certain price increases in the industry continued. The State AGs

served Par Pharmaceuticals with a subpoena on August 6, 2014, which Par disclosed on August

11, 2014. Then, on October 2, 2014, Congress sent letters to Teva and 16 of its peers. One such

letter, addressed personally to Vigodman, sought information on “the underlying causes of recent

increases in the price of [Teva’s] drugs.” Vigodman never responded. Any truthful answer would

have required him to reveal the Price-Hike Strategy.

       75.     Griffin and Cavanaugh implemented another 20 price increases on July 1 and

August 28, 2014, pursuant to the Price-Hike Strategy (Appendix A), 12 of which Teva made

together with other manufacturers. The increases would have been recorded in the Oracle database,

and reflected in the daily Scorecards and LBE reports. These 12 price increases would generate as

much as $50 million in Inflated Profit.

       76.     Significantly, the expected Inflated Profits from the July and August 2014 price

hikes, along with all the earlier increases, would have made their way into the Oracle database and




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been reflected in the report to the Officer Defendants. The price hikes implemented through August

2014 generated as much as $193 million in Inflated Profits in the third quarter of 2014.

       77.     Third Quarter 2014 Results: On October 30, 2014, Teva released positive third

quarter results, driven by an increase in generic segments profits of $160 million, or 40%, as

compared to the third quarter of 2013. As was routine by this point, the Defendants fraudulently

attributed this increase to a reduction in expenses.

       78.     With Congressional hearings looming, on the October 30, Q3 2014 earnings call, a

UBS analyst asked Vigodman: “could you talk about Generics a little bit in the U.S.? . . . whether

there were price increases in some of your base business and whether that impacted” profit.

Vigodman fraudulently explained that the market was functioning normally and that prices were

decreasing:

       When there’s an opportunity, when there is a shortage in the market, we obviously
       look for pricing like any other business. But overall, as I’ve said many times before,
       the base business itself is slowly eroding, the overall of the base business.

       79.     Increases in prices due to shortages is a normal market dynamic. Thus, Vigodman’s

statement misled investors as to the fact that Teva had, by this time, implemented the strategy by

effectuating price increases on 46 drugs since July 2013 (some more than once), while not one of

these 46 drugs were subject to shortages or other reported market anomalies. In total, the systematic

Price-Hike Strategy had yielded as much as $193 million in Inflated Profits in the third quarter of

2014. The profits from all of these price increases would have been reflected in the Work Plan and

LBEs that Vigodman and Desheh received.

       80.     Unaware of the true facts, analysts reacted positively to Teva’s financial results,

and Teva’s ADS price continued to climb. A Cowen and Company analyst noted, Teva’s

“Operations Are Improving, Cash Flows Are Accelerating.” Piper Jaffray wrote, “Importantly,




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operating profit . . . for the generics segment during the quarter was up 40% versus the same

period a year ago.” Morgan Stanley increased its price target for Teva from $57 to $61, stating,

“We are encouraged by progress that Teva is making on global generics under Siggi Olafsson.”

       81.     By November 2014, the DOJ initiated its own investigation into generic drug

pricing and impaneled a grand jury in Philadelphia, Pennsylvania. The grand jury began issuing

subpoenas to generic drug makers, the first on November 3, 2014 to Lannett and Impax relating to

a drug Teva did not make. The companies disclosed these subpoenas days later in SEC filings, on

November 6 and 7, respectively.

       82.     On November 20, 2014, the Senate Subcommittee on Primary Health and Aging held

a hearing to explore “if there was a rational economic reason as to why patients saw [] huge price

increases [in generic drugs] or whether it was simply a question of greed of companies who were

able to raise prices to whatever level they wanted.” Teva was invited, but refused to testify.

       83.     It was against this backdrop that, on December 11, 2014, the Company held a

guidance call with analysts. On the call, a Morgan Stanley analyst honed in on the issue of risky

price increases, asking: for “generic manufacturers, I’m assuming that wholesalers have been

seeing extraordinary price increases in recent years and has been buying inventory ahead of

tremendous price increases. . . . Are you able to control it?”

       84.     In response, Olafsson flatly denied that prices had increased at all: “So first let me

correct. I have to disagree that they have experienced tremendous price increase.” Olafsson

dismissed the matter further: “There has been a lot of press about price increases on individual

molecules and this has been a hot political issue selecting a few products.”

       85.     These statements were flatly belied by the facts, to which Olafsson had direct

access. Teva by then had implemented 50 price increases on 46 drugs, each from 50% to as much




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as 1,500%; each increase was part of a concealed internal strategy and implemented pursuant to

Teva’s established internal practices.

       86.     Year-End 2014 Results: On February 5, 2015, Teva filed its fourth quarter and full

year 2014 financial results with the SEC, once again announcing positive results driven by the

generics segment. Fourth quarter 2014 profit for the generic segment increased $47 million, or 9%,

as compared to Q4 2013. For the full year 2014, profit from the generic segment increased $480

million from 2013.

       87.     Though the Defendants attributed success to cost savings and other benign factors,

in Q4 2014 alone, Teva made as much as $219 million in Inflated Profits, or four times the fourth

quarter increase in profits the Defendants boasted; Teva made Inflated Profits of nearly $700

million for the full year 2014, or 144% of the reported YOY increase in generic profit for the whole

Company. All of these results would have been reflected internally in the Work Plan, the

Scorecards, and the LBE reports distributed to the Defendants.

       88.     The following table reflects Teva’s overall Inflated Profits for 2014:




       89.     Without mention of the Price-Hike Strategy, Desheh bragged about the profits from

Teva’s generic division. On the February 5, 2015 earnings call, he claimed “the most notable

contribution” to Teva’s growth and profits “was generated by our Generic business, improving

profitability by more than 500 basis points,” contributing “nearly $500 million” and comprising

31% of the Company’s total profit. Unaware that the profits came from the Price-Hike Strategy,

analysts focused on this success. Piper Jaffray wrote that “profitability of the generics business [is]

continuing to improve.” Barclays focused on the trajectory of generics’ success: “profitability for



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generics improved to 21.9% from 16.8% in 2013. . . . The company anticipates another 400 basis

point improvement in 2015 . . . a key priority.”

       90.      Notably, and consistent with the Officer Defendants having misled investors by

attributing Teva’s improved profits to sources other than the Price-Hike Strategy, throughout 2014

the Officer Defendants had also claimed that some portion of Teva’s increasing profitability in

generics was attributable to a purported $2 billion “cost-cutting” program that had first been

adopted in late 2012. However, only a fraction of that cost-cutting program actually fell to Teva’s

bottom line as profit. As Defendants eventually disclosed on a December 2014 investor call, by

then Teva had generated only $150 million in cumulative profit from the program since its

inception. After that call, the Defendants stopped emphasizing cost cutting and mentioned it only

rarely again.

       F.       The First Half of 2015 – Teva ADS Price Soars to Become “Currency” for
                “Transformational” Actavis Acquisition

       91.      Teva implemented at least another 14 price increases in January 2015 (Appendix

A), nine of which were increased together with other manufacturers. Each of these was again

subject to the same rigorous internal review and approval process that included the Officer

Defendants. The Inflated Profits were captured in the daily and weekly Scorecards and intra-

quarter LBE reports that Griffin, Cavanaugh, and Olafsson circulated to Vigodman and Desheh to

track whether forecasts were being met. By the end of the first quarter of 2015, the 14 price

increases undertaken in that quarter would generate as much as $48 million in Inflated Profit; the

Price-Hike Strategy overall would generate as much as $228 million in the quarter.

       92.      The Inflated Profits boosted the ADS price to nearly $60, and the Defendants’

motivation to use the ADS as “currency” for a “transformational” transaction was coalescing into

reality. As J.P. Morgan noted on February 5, 2015: “We believe that Teva is looking at assets of



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all sizes, and will not rule out transformational M&A if the opportunity presents itself.” On March

10, Susquehanna took note that “TEVA is increasingly focusing attention on its financial capacity

and appetite for M&A.” By April 16, Barclays reported on Teva’s “willingness” to perform a

“‘transformational’ acquisition in the generics space.” That day, Leerink wrote that Teva had an

“urgency to diversify via M&A.”

          93.   Though not disclosed at the time, by late 2014 the Defendants had actually

approached Allergan, although Allergan was not ready to make a deal then. Vigodman would later

admit, on July 27, 2015, that Actavis “was basically the highest priority” for an acquisition. Indeed,

Olafsson told employees assembled at an August 2014 meeting soon after arriving at Teva (from

Actavis), that he had never joined a company that did not eventually acquire his previous employer.

(FE-1.)

          94.   First Quarter 2015 Results: On April 30, 2015, Defendants again announced

excellent results stemming from Teva’s generic segment, pointing to a profit increase of $296

million, or 59%, compared to the first quarter of 2014. The Defendants again misleadingly

attributed this increase in profits to a reduction in expenses, as well as a new product launch and

higher profitability in Europe. The Defendants concealed that as much as $228 million in Inflated

Profits accounted for 77% of the reported generic profit increase.

          95.   On the earnings call, Olafsson announced a “1,000 basis points improvement over

a two years period” in “operating profit in the generic segment.” He attributed this to “a significant

improvement in our cost of goods . . . portfolio offering . . . [including] when we have more of the

launches . . . [and] the cost infrastructure.”

          96.   In the absence of the truthful and complete reasons for Teva’s improved profit,

analysts credited the Defendants’ false statements. J.P. Morgan noted, “Teva continues to make




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progress on generics profitability . . . we remain encouraged by the recovery in Teva’s generic

business.” Cowen and Company noted that Teva’s “outperformance was a result of better than

expected U.S. generic sales.” Buoyed by the fraud, Teva’s ADS closed at $60.42 that day, an

increase of 33% since the start of Relevant Period.

       97.     As the weeks passed, the Defendants continued to laud the vast success in Teva’s

generic segment in a series of statements:


               •      On May 13, 2015, at a Bank of America Conference, Desheh
                      declared that Teva’s improved generic business was “nothing short
                      of a revolution,” explaining that “[i]n 2013 our gross margin of
                      generic business was 41.3%. And it’s 46% in Q1 2015. Our operating
                      margin was 16.7%. It is 27%, this is full 10 percentage points,” i.e.,
                      a $1 billion improvement.


               •      During a June 10, 2015 Goldman Sachs Global Healthcare
                      Conference, Vigodman explained: “we started 2014 with a clear
                      message, clear focus, getting the house in order first, solidifying the
                      foundation of Teva. You see the profound change in the generic
                      business. These are things that are not confined to numbers, but
                      maybe numbers tell the story: 16.7% operating profit, 2013;
                      21.9% operating profit, 2014.” He fraudulently attributed all of this
                      success to “cost reduction” and “[f]ull transformation of our
                      operational network.”


       98.     $40 Billion Acquisition of Actavis Announced: As Olafsson had foretold on July

27, 2015, with Teva’s ADS price reaching an all-time high of $72, Teva would announce the

transformational acquisition it had been seeking: it had entered into a definitive agreement to

acquire Allergan’s worldwide generics business, Actavis, for $40.5 billion in cash and equity.

       99.     In announcing the deal, Vigodman explained that the rapid and surprising

turnaround in Teva’s generics segment since the start of the Relevant Period was the

“precondition” for making the deal. Of course, he concealed that the true “precondition”

underlying that turnaround was Teva’s implementation of the Price-Hike Strategy.



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       G.      The Second Half of 2015 – Motivation Shifts; Paying for Actavis

       100.    Following the announcement of the Actavis deal, the Defendants needed to raise

over $30 billion in cash to pay for it. Teva did not have the money, and the price tag would amount

to roughly 20 years of Teva’s recent annual earnings. To pay for the deal, Teva would give

Allergan $7 billion in ADS, and raise cash from investors through a $7 billion secondary public

offering of ADS and an initial public offering of Preferred Shares in early December 2015, and

$15 billion from an offering of bonds set for 2017.

       101.    On July 30, 2015, following the announcement of the Actavis deal, Teva issued

more glowing Q2 2015 results driven by generics; specifically, an increase in generics profit of

$193 million, or 36%, compared to Q2 2014, attributed primarily, and misleadingly, to reduced

expenses and new product launches. That day, Desheh boasted about “the impressive improvement

in the profitability of our Generic business ... up from around 20%, 21% a year ago to between

39.5% to 30% in the first half of 2015,” and specifically the “strong focus on U.S. Generics

business.” The Defendants concealed that the Price-Hike Strategy contributed as much as $236

million in Inflated Profits in the second quarter alone. Without the Price-Hike Strategy, generic

profit would have declined.

       102.    Third Quarter 2015 Results: In July 2015, Teva implemented another seven price

increases, four of which were executed together with other manufacturers’ price increases,

following Cavanaugh’s and Griffin’s review and approval and as would be reflected in the

Scorecards, LBEs, and Work Plan circulated to the Defendants. By the end of the quarter, these

seven price increases, together with earlier hikes, would generate as much as $218 million in

Inflated Profits. Furthermore, given the timing of the increases, the expected profits would be

incorporated into the 2016 Work Plan that Olafsson, Cavanaugh, and Griffin would be finalizing

for presentation to Vigodman and Desheh later in the summer, following the routine schedule.


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        103.   Following these increases, on October 29, 2015, the Defendants issued Teva’s third

quarter 2015 results, reporting an increase of $20 million in generics profits compared to the third

quarter of 2014, again misleadingly attributing this increase mainly to lower expenses. In reality,

the Price-Hike Strategy contributed as much as $218 million, ten times the reported improvement

in profit.

        104.   On the earnings call, Vigodman was exuberant about the “huge opportunities in the

United States” for generics. Likewise, Olafsson emphasized that “the Generic business in third

quarter continued to drive growth,” and that “[w]e really have been improving the profitability

over time,” pointing to increased margins of “16.8% in 2013, 22.1% in 2014, and year-to-date

number is about 28.9%.”

        105.   Analysts, unaware of the truth, continue to adopt the Defendants’ misleading

narrative. Piper Jaffray wrote, “Margins for the generics business continue to improve. . . . Though

top-line growth for the generics segment has been anemic, margins have continued to expand.”

Jefferies’ analysts highlighted that, “Generic Drug Margins Continue to Improve,” noting that “on

the live Q3 presentation, management highlighted the significant improvement in profitability

from its core generics business.”

        106.   Increased Public Scrutiny on Pricing: By the fall of 2015, however, Congressional

initiatives, law enforcement actions, and public anger toward perceived abuses in drug pricing had

taken hold. Legislation was introduced in Congress that would penalize generic manufacturers for

increasing prices at a rate higher than inflation. The State AGs and DOJ were continuing their

investigations. Furthermore, Allergan had received a DOJ subpoena concerning generic pricing on

June 25, 2015, which it disclosed in an SEC filing on August 6, 2015.




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       107.    Given this landscape, during the Q3 2015 earnings call held on October 29, 2015,

analysts posed direct questions to the Defendants aimed at getting a clear answer as to whether

Teva was exposed to regulatory scrutiny. The Defendants met these specific questions with equally

specific denials.

       108.    On the call, after a series of questions on the sustainability of Teva’s generics

success, Vigodman reaffirmed the false premise that Teva had generated its profits solely from

sustainable, ordinary business practices, and not price:


                    We’re very . . . responsible in everything that portends to prices
                    on the Generics side.... And I would even put it another way, all
                    the improvement you see in our – in margins is not driven by
                    price. It is driven by quantities and by mix and by efficiency
                    measures. Not by price, 2014, 2015, and that’s a very important
                    message.
 Then, when a Barclays analyst asked for management’s thoughts on the proposed legislation’s

 “potential limit to generic drug price increases,” Olafsson denied that Teva was exposed:

                    In terms of the proposed legislation on pricing control on generics,
                    ... we have told you that overall on our whole portfolio, we have
                    a decline in price. The talk about the inflation in generics when
                    you have a big portfolio is really not there.

 The only price increases he acknowledged were those “due to some abnormalities in the market,”

 like supply shortages.

       109.    Misled, analysts took explicit note. That day, UBS repeated the Defendants’

fraudulent denials: “[Management] highlighted that the [generic business] improvement was not

driven by price, but by volume, mix, and efficiency.” The truth was that the fraudulent denials

concealed the Price-Hike Strategy, and that Teva had by that point made 71 price increases, none

of which were caused by market abnormalities like shortages. Moreover, a huge portion, if not all,

of the margin improvement Vigodman touted was driven by as much as $1.6 billion in Inflated



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Profit reported since the start of the Relevant Period, including, over $690 million in 2014, and

over $680 million in the first three quarter of 2015. All of this information was reflected in the

Scorecards, LBEs, Work Plan and other reports regularly sent to Olafsson and Vigodman.

       110.    Importantly, by this time, the Defendants’ misstatements, which were necessary to

maintain the ADS price in order to raise the cash for the Actavis deal, were concealing an ever

increasing risk. Public, regulatory, and law enforcement scrutiny of the industry had begun to

undermine Teva’s ability to execute and sustain the Price-Hike Strategy. Teva was finding it

increasingly difficult to increase prices. In 2014, Teva made 32 increases. In 2015, Teva made a

total of only 21 hikes; 14 in January, and seven in July, the final round of significant price increases

implemented in a systematic fashion prior to the close of the Relevant Period. By the end of 2015,

Inflated Profits had diminished quarter over quarter for the first time since Q1 2014.

       111.    With this context, and with the offering of $7 billion in ADS and Preferred Shares

weeks away, Teva attended a November 19, 2015, Jefferies conference. The moderator pressed

Desheh about “everyone’s favorite topic the last 2 months . . . pricing, is it an issue? . . . where

do you go on pricing?” Desheh acknowledged the swirl of concern over pricing and legislative

actions, but claimed that “Teva was not associated with any of that,” and specifically, with respect

to legislative initiatives to cap price increases, Teva’s exposure “is as a small as anybody can

have.” The opposite was true.

       112.    Teva’s False and Misleading Registration Documents for Its Secondary ADS and

Preferred Share Offerings: On November 30, 2015, Teva filed a Registration Statement with the

SEC, regarding Teva’s Secondary ADS and Preferred Share Offerings, and on December 3 filed

two prospectus supplements and issued the Secondary ADS and Preferred Shares. The Offering

Documents included numerous false misleading statements attributing Teva’s profits to sources




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other than the Price-Hike Strategy. The ADS/Preferred Offerings raised approximately $7.2

billion.

           H.     First Half of 2016 – Price-Hike Strategy Screeches to a Halt; Pricing
                  Pressure Denied; Subpoenas Concealed; $20 Billion Debt Offering and Close
                  of Actavis Deal

           113.   As 2015 came to a close, the effects of industry-wide pressure on generics pricing

spurred by the investigations and scrutiny on pricing practices came to the fore as a number of

industry participants reported a new trend of downward pricing pressure. On, January 11, 2016,

McKesson, one of Teva’s major wholesaler customers, announced that it “now expect[ed] that

operating profit from generic pharmaceutical pricing trends will be significantly weaker” through

the second half of its fiscal year, ending on March 31, 2016.

           114.   The same day, J.P. Morgan held a healthcare conference. With McKesson’s

announcement in mind, J.P. Morgan asked Olafsson to comment “on how you see generic pricing

as we look out not just this year but in the future and how Teva is able to navigate the current

environment?” Olafsson responded by fraudulently claiming that Teva was not involved in “big

price increases”:


                   There’s a lot of headlines of examples of big price increases in
                   generics. But when you are a company of the size of Teva and you
                   have the portfolio that we have today – as I said, 270 products for
                   the whole of the portfolio – there is a decline.

 He later fraudulently explained that, because Teva had not taken “big price increases,” its

 generics portfolio was not exposed to price deflation:

                   The generic pricing – we need to keep in mind there’s a lot of talk
                   about inflations in generic pricing. But what we see is there’s –
                   overall on our total portfolio of 270 products, there is a slight
                   decrease in pricing. . . . on 95% of our portfolio, we experience
                   price decline. And then on 5%, we might be flat or a slight increase
                   ...



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       115.    These false statements belied the truth. Teva had raised prices on 60 drugs, or 22%

of the portfolio Olafsson cited, generating by that point as much as $1.7 billion. This would have

been reflected on the daily Scorecards and intra-quarter LBE reports the Officer Defendants

received. More to the point, the drug prices that were driving Teva’s profits were massively

inflated, making Teva particularly vulnerable to the pricing pressure that other industry players

reported.

       116.    Fourth Quarter and Full Year 2015 Results: On February 11, 2016, Teva issued its

fourth quarter and full year 2015 financial results. The full year disclosures reported Teva’s profit

in generics in 2015 were up $500 million YOY, concealing over $848 million in Inflated Profit for

the year.

       117.    On the earnings call that day, Olafsson again touted a “$1 billion improvement in

operating profit over 24 months period,” pointing to generics profits going from “$1.68 billion

operating profit in 2013, or 17% of revenue, to $2.68 billion operating profit in 2015, or 28% of

revenue. He explained rhetorically: “So how did we do this? Not by pricing but by portfolio mix,

new products, and efficiency measures.”

       118.    Olafsson denied even the mere existence of price inflation, let alone having engaged

in 71 price hikes: “on pricing . . . . [W]e and the generic industry overall don’t see price inflation

of generics as it sometimes is portrayed in the media.”

       119.    In truth, the concealed Price-Hike Strategy had generated as much as $1.5 billion

in Inflated Profits over the 24 months period Olafsson cited.

       120.    But additional price hikes had become more difficult, if not impossible to

implement. Accordingly, Teva reported that fourth quarter 2015 profit in generics increased only

1% compared to the fourth quarter of 2014. Analysts, thus, grew more concerned as more firms




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reported pricing pressure in the fourth quarter. Guggenheim asked: “some of your competitors

have talked about pricing pressure in the generics business during the quarter. Curious if you saw

that, and if so what might be driving that.” Olafsson fraudulently responded:


                 let me start on the pricing. As I mentioned in the beginning, we
                 didn’t see anything change in fourth quarter. We saw
                 approximately 4% pricing pressure or price decline in the US
                 business over 2015 flat over the year.


       121.    Misled, Guggenheim expressed relief in its report, stating: “[u]nlike its generic

competitors, TEVA did not experience any increase in pricing pressure this quarter, which

highlights the strength of the company’s platform, in our view.” Jefferies’ analysts also believed

Olafsson’s false distinction between Teva and other companies reporting pricing pressure: “Mgt

noted that smaller generics players may have realized outsized gains from price increases on

individual drugs – and are thus now exposed to faster price erosion – and stressed that its portfolio

breadth and optimized supply chain/cost structure allow the co to maintain solid profitability.”

       122.    Based on these false statements, the Defendants had concealed from investors the

true reason for the flattening of the YOY profit growth from generics: Teva’s Price-Hike Strategy

had begun to falter. The 60 drugs on which Teva had increased price were facing renewed pricing

pressure. As such, the quarterly change in Inflated Profit had begun to decrease, rather than

increase by as much as $70 million since the second quarter of 2015, or by 30%. This trend would

continue throughout the Relevant Period.

       123.    The following table reflects Teva’s overall Inflated Profit for 2015:


  2015 ($ millions)               Q1            Q2            Q3           Q4          Full Year

  Inflated Profit               $228         $236          $218          $166          $848




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       124.    Pricing Concerns Increase, Defendants Go on the Offense: As investors became

increasingly concerned about the pricing environment, the Defendants continued to affirmatively

deny any vulnerability to pricing pressure. At a March 8, 2016 conference, a Cowen analyst asked

Olafsson to “discuss what you’re seeing” on “generic pricing.” Olafsson said that “[Teva] never

saw” price increases and that “inflation never really happened in the generics business.” He added,

“overall the pricing hasn’t changed that much,” and was “stable,” and there had been no “big

changes in the pricing environment” since 2015. In reality, Teva’s Inflated Profit had fallen 24%

in the fourth quarter 2015, from $218 million to $166 million, compared to the prior quarter.

       125.    First Quarter 2016 Results: As the public and law enforcement scrutiny intensified,

the Price-Hike Strategy faltered and Inflated Profits declined from pricing pressure. Teva was

unable to make significant additional price hikes, implementing only five during the entire course

of 2016, all on April 6 of that year, and all on drugs that Teva had hiked before and in markets

where Teva possessed a monopoly. See Appendix A.

       126.    Because of declining profits, the Defendants were under significant stress to finance

the Actavis acquisition. They needed to raise the $20 billion in additional cash required to close

the Actavis deal through a bond offering. On May 9, 2016, on the Q1 2016 earnings call, the

Defendants set a new date for the $20 billion offering, September 2017.

       127.    That day, Teva also announced its first quarter 2016 financial results, reporting

profit from generics $215 million less than in the first quarter of 2015. Defendants misleadingly

attributed the decline to higher expenses, lower sales, lower European profit, and fewer product

launches. As pricing pressure sapped the impact of the Price-Hike Strategy in Q1 2016, Teva

generated $104 million less in Inflated Profits compared to the first quarter of 2015, accounting for




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half of the generics division’s reported profit decline. The “hole” created by the drop in Inflated

Profit would have been reflected in the Scorecards, LBEs and Work Plan. (FE-1, FE-2.)

       128.    Similarly, even as additional generic drug manufacturers accurately reported poor

results due to pricing pressure, the Defendants continued to deny that pricing pressure had any

impact on Teva. On the May 9, 2016 earnings call, Olafsson noted “the number of companies

citing a tougher pricing environment or price deflation seems to have grown at an almost incredible

rate.” However, he again denied that Teva had exposure to price deflation, and blamed other

manufacturers’ woes on those firms’ business models:

                Throughout the ongoing debate this year about the level of generic
                price erosion in the United States, Teva has been very consistent
                and clear with investors. Teva has not seen any fundamental
                change or worsening in the pricing environment... What this
                boils down to is each individual company’s business model....
                Nothing has happened in the last two quarters that has changed
                the pricing environment.

 Olafsson instead blamed Teva’s decline in generic profits entirely on issues other than pricing,

 most prominently the lack of new product launches. He misleadingly asserted that Teva’s prior

 success had come from sustainable sources such as “portfolio optimization, strengthening our

 capabilities in R&D, and manufacturing of complex products . . . and sales force effectiveness.”

       129.    The empirical facts internal to Teva and available to Olafsson through the

Scorecards, LBE reports, Work Plans, and the Oracle database would have shown otherwise. Like

its competitors, price deflation was substantially damaging Teva’s profits. Since the fall of 2015,

Teva’s Inflated Profit plummeted from as much as $236 million in Q2 2015, to $218 million in Q3

2015, to a mere $124 million in the first quarter of 2016. See Figure 1.

       130.    Deceived analysts credited Olafsson’s false denials. J.P. Morgan wrote,

“Reassuring Generics Outlook Ahead of [Actavis] Deal Close . . . Teva does not see any major

changes in the price environment.” Jefferies wrote “Generic pharmaceutical bellwether TEVA


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has not witnessed a deterioration in the pricing environment, according to mgt. This directly

contrasts with what has been stated by a number of competitors over the past few months.”

       131.    With Teva’s debt offering scheduled to occur in the fall, and thus needing to keep

investors optimistic about Teva’s prospects, the Defendants continued their unrelenting flow of

fraudulent statements and denials that Teva was seeing any increase in pricing pressure:


       •       May 10, 2016 (Olafsson) “I know many of the competitors in the generic
               space ... are talking about a lot of pricing pressure, but it shouldn’t be.
               There is nothing that has happened over the last two quarters which has
               changed fundamental the market.”

       •       June 3, 2016 (Vigodman) “So we are very consistent. Our message was
               conveyed, and we will continue to convey. What we see is a 4% to 5%
               erosion. That’s what we see. That’s not something which is different from
               what we said during 2015. By the way, we continue saying it in 2016.”

       •       June 8, 2016 (Olafsson) “[R]eally, the environment hasn’t changed. When
               we signed that [Actavis] deal in July [2015], we talked about 4% price
               erosion in the US generic business. And we are still talking about the same
               number, what we see in the base business.”


       132.    The undisclosed truth was that the rapid deterioration of the Price-Hike Strategy

continued into the second quarter of 2016. Inflated Profits would decline 52% YOY.

       133.    Only days after Olafsson’s June 8 statements, undisclosed to shareholders, on June

21, 2016, Teva received a subpoena from the DOJ seeking information relating to generics pricing.

And on July 12, 2016, Teva received a subpoena from the Connecticut AG. Teva did not make

any further price increases for the duration of the Relevant Period.

       134.    Subpoenas Concealed; Notes Offering Is Accelerated: The day immediately after

receiving the subpoena from the Connecticut AG, on July 13, 2016, the Defendants announced that

Teva was accelerating its $20 billion debt offering from the September timeframe it had announced

just weeks earlier. Defendants filed the Registration Statement with the SEC that very day. To

support this surprise announcement, Olafsson, Vigodman, and Desheh gave bullish guidance to



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investors for the end of 2016 through 2019. Again, with industry reports of pricing pressure in

mind, a Citigroup analyst asked Olafsson on an investor call that day: “can you comment on the

generics pricing assumptions that you have baked into your forecast?” Olafsson responded: “we

are assuming and now forecasting for the guidance for the remainder of the year same pricing

assumption as we have had for the first half of the year,” because “we saw no change in the

pricing. We saw a stable environment . . . from first quarter into second quarter.”

       135.    But far from being “stable,” the pricing environment for Teva’s own generics

portfolio had been deteriorating. Inflated Profit was down $122 million, or 52%, for the second

quarter as compared to the same period in 2015. Teva was unable to offset this price deterioration

with additional price increases. The pricing assumption Teva “baked into” the guidance was

contemporaneously false and disprovable.

       136.    Moreover, Teva’s Price-Hike Strategy faced a brand new, and concealed,

challenge. The Defendants made no mention of this or the DOJ subpoenas until after the Notes

Offering was complete and the Actavis deal was closed.

       137.    Without the true facts, investors were falsely reassured that Teva had somehow

immunized itself from the downward industry trend. Piper Jaffray noted that “management stated

that it did not see further pricing pressure on the overall generics business,” which “may ease

recent worries regarding the near-term trajectory of the business.” Morgan Stanley wrote that

“pricing and LT Guidance [was] encouraging . . . [m]gmt sees US pricing environment as

unchanged.”

       138.    The $20 Billion Debt Offering: On July 18, 2016, Teva launched its $20 billion

bond offering to finance the Actavis transaction, approximately $15 billion of which were U.S.

dollar-denominated and sold directly to public investors. The offering was made pursuant to the




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Notes Offering Materials, which incorporated several of the false and misleading quarterly and

full year financial disclosures. Despite dozens of pages of disclosures about other investigations

and litigations, neither the Notes Offering Materials, nor the documents incorporated by reference

therein, disclosed the DOJ and Connecticut AG subpoenas.

       I.      Third Quarter of 2016 – Disclosure of Declining Performance and
               Subpoenas; Generics Day

       139.    Second Quarter 2016 Results: On August 4, 2016, Teva announced disappointing

second quarter 2016 results and disclosed for the first time the receipt of the DOJ and State AG

subpoenas. The financial disclosures reported $115 million less in generic profit in Q2 2016, than

in the second quarter of 2015, a decrease attributed mostly to increased expenses, the loss of

exclusivity on certain products, and lower sales on products for which Teva had not taken price

increases. This misleading attribution concealed that Teva earned as much as $122 million less in

Inflated Profits for Q2 2016 YOY. On the disclosure of the poor results and the subpoenas, the

price of Teva Securities declined.

       140.    The Defendants scrambled to mitigate the bad news, making a series of false

statements to reassure investors that Teva was still immune to the swelling pricing pressure. On

the earnings call, a Citigroup analyst again asked whether decreased U.S. generic revenues had

impacted Teva’s views on pricing stability. Likewise, Olafsson once again falsely claimed that

“the pricing is stable to the same degree as before . . . very stable from the first quarter.” This was

belied by facts that Olafsson was presented with on the daily Scorecards, and in the LBEs and

Work Plan, that he shared with the other Officer Defendants, which would have revealed

dramatically decreasing Inflated Profit.

       141.    When a J.P. Morgan analyst asked whether Teva might increase prices following

the Actavis acquisition, Olafsson fraudulently implied that Teva had never increased prices to



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drive profits, and that opportunities to do so were ephemeral and limited to times of shortage,

stating, “pricing comes with shortages in the market . . . if there’s some kind of dysfunction in the

market, there might be a small pricing opportunity that usually comes in and comes out.” The

concealed truth was that Teva had made 76 price increases on 60 drugs, and none had anything to

do with shortages. And now, with those inflated prices under pressure, the Inflated Profit was

declining.

        142.    The false statements mollified unaware analysts. J.P. Morgan wrote, “[Teva’s] US

generics business [was] modest[ly] below expectations but generic pricing environment remains

stable.” Morningstar analysts similarly wrote that Teva’s “Management also noted underlying

price erosion remains consistent in the mid-single digits at approximately 4%.”

        143.    The table below reflects the change in Teva’s profits as reported in the first half of

2016, as compared to the same period a year ago, as well as the change in Inflated Profits for the

same period:


                   2016 ($ millions)                     Q1           Q2         Half Year
                   Reported YOY Change in
                   Generic Profit                       -$215      -$115         -$330
                   (Unreported) YOY
                   Change in Inflated Profit            -$104      -$122         $-227


        144.    Teva’s Generics Day: On September 9, 2016, Teva held its “Generics Day” for

investors, during which the Defendants touted the supposed opportunities of the combined

Teva/Actavis business. Olafsson issued more misleading, categorical claims that Teva had never

inflated its prices for generics drugs: “[t]here is no inflation in the generic pricing”; “people that

say that . . . there’s a big generic price inflation, are simply wrong.” He falsely reiterated that price




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increases occurred only with market abnormalities like shortages: “When price increases are taken,

there’s some kind of abnormality in the business. There are shortages.”

       145.    Olafsson then falsely explained that Teva had a purported “secret sauce” that

immunized the Company from pricing pressure. In reality, Teva had no “secret sauce”; it was

suffering from pricing pressure on its drug portfolio which in reality had “big generic price

inflation” from years of large price hikes made pursuant to the Price-Hike Strategy. The pricing

pressure on that portfolio would have been reflected in the Scorecards, LBEs and Work Plan.

       J.      Fourth Quarter 2016 – Teva Reported as Target of Investigations; Poor
               Results; DOJ and State AG Charges; Executives Fired

       146.    Bloomberg Article; DOJ Charges & State AGs Loom: On November 3, 2016,

Bloomberg, the leading real-time news source for Wall Street and investors, published an article

titled, “U.S. Charges in Generic-Drug Probe to Be Filed by Year End,” revealing for the first time

that “according to people familiar with the matter,” “U.S. prosecutors are bearing down on generic

pharmaceutical companies in a sweeping criminal investigation into suspected price collusion” as

the “antitrust investigation by the Justice Department, begun about two years ago, now spans more

than a dozen companies and about two dozen drugs,” and “the first charges could emerge by the

end of the year.” Moreover, “Connecticut Attorney General George Jepsen . . . is seeking to lead

a group of states . . . seeking damages.” The article specifically mentioned Teva as one of the

companies.

       147.    Accordingly, Teva was now for the first time reported as a potential target of

criminal and civil liability. The price of Teva securities fell immediately upon release of this

article, with its ADS price plummeting 9%.

       148.    Poor Third Quarter Results; Continued Denials: On November 15, 2016, Teva

reported its third quarter 2016 results, its first post-Actavis financial report, disclosing



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disappointing numbers, particularly from Teva’s legacy generics business. With revenues from

Actavis removed, Teva’s U.S. generics revenues declined $277 million YOY from the third quarter

of 2015. Defendants fraudulently attributed the decline to causes such as divestments and lost sales

from certain drugs. In truth, as much as $121 million, or 44%, of the overall YOY decline, was

attributable to a YOY decline in Inflated Profit as the Price-Hike Strategy collapsed. This decline

would, again, have been reflected in the Scorecards, and the “hole” between forecasts and actual

revenues long ago captured in the LBEs, and circulated to Olafsson, Desheh, and Vigodman.

       149.    Olafsson, however, falsely insisted that “like previous quarters, there hasn’t been

any fundamental change in the US drug pricing.” Indeed, Olafsson doubled down when a Wells

Fargo analyst expressly asked whether the reported increase in price erosion to 7% was a “result of

having to tame previous price increases, or give back some of those?” Olafsson flatly, and

fraudulently, stated “No.” He instead claimed the number increased because of divested drugs, and

thus that it was an anomaly limited to the quarter. In reality, the increase in erosion was causing a

dramatic decline in Inflated Profit. Figure 1. A puzzled J.P. Morgan analyst pressed him, observing

that “anyone that look[s] at the industry as a whole, it feels like this [is] a broader issue than [a]

one-off market disruption.” Olafsson adamantly insisted “there hasn’t again been any fundamental

change” in pricing.

       150.    The false statements comforted analysts otherwise troubled by the poor U.S.

generic results. Deutsche Bank wrote: “management continue[d] to expect mid-single digit price

erosion in 4Q and over the longer term.”

       151.    Olafsson Is Fired: Less than three weeks later, on December 5, 2016, Teva

unexpectedly announced Olafsson’s “retirement.” His replacement, Bhattacharjee, immediately




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took over as CEO, Global Generic Medicines Group. In reality, Olafsson, only 48 years old, was

fired. He is now the CEO of Hikma Pharmaceuticals PLC, and a director of other companies.

       152.    Analysts readily saw through the implausible reason given for Olafsson’s

departure, concluding that he had been terminated due to the poor performance of Teva’s generics

division. In truth, the sudden change in performance was the materialization of the risks associated

with the Price-Hike Strategy; Inflated Profit suddenly dropped; law enforcement was now pursuing

Teva; a price-inflated generics portfolio was increasingly susceptible to pricing pressure; and Teva

could not plug the hole in its financial results with price increases.

       153.    DOJ Criminal Charges; State AGs Sue Teva: On December 14, 2016, the DOJ

announced it had charged (by information) Glazer and Malek, the former CEO and the former

President, respectively, of Heritage, a competitor of Teva’s, for their roles in conspiracies to fix

prices, rig bids, and allocate customers, including manipulating the market for Glyburide from 2013

through the end of 2015. The connection between Teva and these charges was clear; Teva

controlled over 75% of the market for Glyburide during the Relevant Period.

       154.    The next day, December 15, 2016, the Connecticut AG announced that he and 19

other State AGs had filed a federal lawsuit for antitrust violations against Teva USA and five other

major drug companies, alleging that Teva conspired on Glyburide (the “First State AGs’

Complaint”). The State AGs’ complaint cited emails, calls, and documents that evince explicit

collusion between Teva and Heritage’s principals, Malek and Glazer.

       155.    The First State AGs’ Complaint has since been amended to include 13 additional

drugs, seven of which implicate Teva, and 47 State AGs, and the AGs from the District of

Columbia and Puerto Rico. That complaint is based in part on the cooperation of Glazer and Malek,

who have settled with the State AGs in exchange for cooperation. The State AGs are now




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investigating conspiracies regarding upwards of 200 drugs, and will file additional complaints in

the future. Malek and Glazer have also pleaded guilty to Federal criminal charges, admitting that

they participated in “a conspiracy to suppress and eliminate competition by allocating customers

and fixing and maintaining prices for glyburide, from in or about April 2014 and continuing until

at least December 2015,” in violation of the Sherman Act.

       K.       First Quarter 2017 – Continued Decline of Generics Revenue

       156.     In view of Olafsson’s departure, on January 6, 2017, Teva provided 2017 guidance

a month early, announcing a significant reduction and surprising analysts. Vigodman attributed

the reduction to previously-unannounced poor performance, and an “EBITDA gap of $1.2 billion

emanating from our US generics business.” Teva’s legacy generics business “explain[ed] the

majority of the gap.” On this news, the price of Teva Securities plummeted.

       157.     Vigodman concealed that the EBITDA “gap” was actually attributable largely to

the collapse of Teva’s Price-Hike Strategy, and the resulting steep decline in Inflated Profit. In

2016, Teva had generated only as much as $420 million in Inflated Profit, compared to $848

million in 2015. In each quarter of 2016, Inflated Profit declined at least 45% YOY. In 2016, Teva

made only five modest (~25%) price increases, on drugs that had already been hiked.

       158.     The following chart reflects the YOY reduction in Inflated Profits on a quarterly

basis from 2015 to 2016:

      Inflated Profit
      ($ millions)          Q1            Q2          Q3           Q4           Full Year

         2015
                        $228           $236          $218         $166          $848
         2016
                        $124           $114          $97          $86           $421




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       159.    Vigodman, for his part, continued to fraudulently claim that Teva’s profitability

since 2014 was “accomplished with a strong emphasis on the cost of goods sold, product mix, and

the overall cost structure,” and “not by price.”

       160.    Vigodman Is Terminated: On February 6, 2017, Teva announced Vigodman’s

termination, effective immediately. Without a permanent replacement, Teva appointed Peterburg,

its Chairman of its Board since January 2015, as Interim President and CEO. Investors reacted

negatively on this news, and the price of Teva Securities dropped significantly. Once again, the

reality was that Vigodman was fired.

       161.    On February 13, 2017, Teva announced its full year 2016 and fourth quarter 2016

results. The Defendants disclosed that, without the Actavis revenue, Teva would have reported a

$233 million YOY decline in quarterly U.S. generics revenues, but concealed that as much as $80

million of that YOY decline resulted from the decline in Inflated Profit.

       162.    As to the full year 2016, without Actavis, Teva would have reported a YOY U.S.

generic revenue decline of $1.4 billion for the full year 2016, attributed to a loss of exclusivity,

lower sales of certain drugs, and the loss of revenues from divested product, when in fact as much

as $427 million of the yearly decline resulted from the decline in Inflated Profit.

       163.    Desheh Finally Out, $6.1 Billion Charge Announced Weeks Later: on June 8, 2017,

Teva announced the nomination of four new directors to its Board, in an attempt to assure investors

that the Company was attempting to redeem itself and regain lost credibility. By June 21, 2017,

Desheh was also out, leaving Teva for another job.

       L.      August 3-7, 2017 – Teva Announces Massive $6.1 Billion Charge for U.S.
               Generics Business

       164.    On August 3, 2017, with Desheh, Vigodman, and Olafsson – the principal architects

of Teva’s Price-Hike Strategy – finally gone, and with new Board members in place, Teva took a



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$6.1 billion charge against its U.S. generics business, a permanent reduction in the entire

business’s valuation and a dollar-for-dollar hit to the Company’s bottom line. In addition, after at

least thirty years of maintaining its shareholder dividend, Teva announced a 75% reduction in its

payout. In reporting a dismal loss of $5.94 per share, Teva also drastically revised the guidance

issued in January (which already revised the July 2016 guidance); this guidance reduction was a

direct result of the complete collapse of the Price-Hike Strategy, and evaporation of the Inflated

Profits, which by this point amounted to just $53 million per quarter, with no reason to believe that

the erosion would abate.

       165.    As a result of this new negative information, Teva’s ADS price fell $7.50 per share,

or 24%, from a close of $31.25 on August 2, 2017 to a close of $23.75 on August 3, 2017, on high

trading volume. The ordinary share price also declined ILS 1,980, or 17.79%, from a close of ILS

11,130 on August 2, 2017 to a close of ILS 9,150 on August 3, 2017. Teva’s market capitalization

was reduced by approximately $8 billion.

       166.    On Friday, August 4, 2017, Fitch Ratings also downgraded Teva to BBB- (one step

above junk), with a negative outlook. As a result of the news on August 3 and 4, Teva’s ADS price

continued to fall by an additional $3.15 per share, or 13.26%, from a close of $23.75 on August 3,

2017 to a close of $20.60 on August 4, 2017, on high trading volume. Teva’s market capitalization

was reduced by approximately $3.3 billion.

       167.    The next trading day on the TASE, the ordinary share price continued to fall by ILS

2,022, or 22.10%, from a close of ILS 9,150 on Thursday, August 3, 2017 to a close of ILS 7,128

on Sunday, August 6, 2017.

       168.    The next trading day, Monday, August 7, 2017, as the prices of Teva securities

continued to drop, Morgan Stanley analysts downgraded Teva’s ADS to “Underweight,” noting




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specifically that they had “underappreciated the risk of generics pricing pressure to Teva’s earnings

and dividend, and we expect Teva to continue to underperform given overhangs.” In other words,

the analysts had been led to believe through Defendants’ repeated and adamant denials that Teva

was not vulnerable to the pricing pressure.

       169.    As a result of the news on August 3 and 4, 2017, Teva’s ADS price continued to

fall by an additional $2.01 per share, or 9.76%, from a close of $20.60 on August 4, 2017 to a close

of $18.59 on August 7, 2017, on high trading volume. Teva’s market capitalization was reduced

by approximately $2.2 billion.

       170.    The ordinary share price also continued to fall by ILS 18, or 0.25%, from a close

of ILS 7,128 on Sunday, August 6, 2017 to a close of ILS 7,110 on Monday, August 7, 2017.

       171.    In total, over these three trading days, Teva’s ADS price fell $12.66 per share, or

40.6%, and the ordinary share price fell ILS 4,020, or 36.2%. Teva’s market capitalization was

reduced by approximately $13 billion.

       M.      November 2, 2017

       172.    Teva announced its third quarter 2017 financial results on November 2, 2017, when

it filed the Q3 2017 Form 6-K with the SEC. The Q3 2017 Form 6-K disclosed a 9% decline in

U.S. Generic Medicine quarterly revenues compared to the third quarter of 2016.

       173.    The decline in U.S. Generic Medicine revenue was misleadingly attributed to

“pricing declines resulting from customer consolidation into larger buying groups and accelerated

FDA approvals for additional generic versions of competing off-patent medicines as well as

volume decline of methylphenidate extended-release tablets (Concerta® authorized generic) due

to the launch of a competing product.”

       174.    Investors and analysts reacted negatively to this news. Analysts at Cowen and

Company called the Company’s full year guidance “unfavorable” and stated that, with a “difficult


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generic pricing environment and competitive pressures – which are not being properly offset by

new product launches – the Teva business model is now upside down.” Analysts at RBC Capital

Markets stated that the results were even “below our cautious expectations,” and that the

“magnitude of weakness in the US generics business in both revenue and margins was surprising.”

Wells Fargo Securities analysts found Teva’s results to be “especially disappointing.”

       175.    As a result of this new negative information, the prices for Teva securities declined.

The ADS price fell $2.79 per share, or nearly 20%, from a close of $14.02 on November 1, 2017

to a close of $11.23 on November 2, 2017, on high trading volume. Teva’s market capitalization

was reduced by approximately $3 billion.

       176.    The next trading day on the TASE, Teva’s ordinary shares fell ILS 670, or 13.65%,

from a close of ILS 4,908 on Wednesday, November 1, 2017 to a close of ILS 4,238 on Thursday,

November 2, 2017.

       N.      February 8, 2018

       177.    On February 8, 2018, Teva issued a press release announcing its fourth quarter and

full year financial results, including a staggering $17.1 billion goodwill impairment mainly related

to its generics business for 2017. On the conference call with investors held later that day, Teva

explained that $11 billion of the impairment “related to our U.S. generics business as well as

additional impairments of other long-lived assets of $3.2 billion, mainly related to a revaluation of

generic products acquired from Actavis.”

       178.    Investors and analysts reacted negatively to this news. Analysts at Wells Fargo

Securities stated that the Company missed consensus expectations “by a significant margin,” but

noted that:

       [W]e believe it will be the lower than consensus 2018 outlook that investors will
       be focused on, especially the commentary about generic pricing worsening in 4Q
       and the overall environment worsening for the value of future launches. Teva took


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       a $17.1 billion goodwill impairment, which investors should see as reflective of
       how challenging the situation is.

BTIG analysts noted “another major write-down following last year’s $6B goodwill impairment.”

Similarly, IBI Brokerage stated that the $11 billion “impairment charge [was] almost entirely for

the generics business in the US” and that guidance for fiscal year 2018 was “way below market

expectations.”

       179.      As a result of this new negative information, the prices for Teva securities declined.

Teva’s ADS price fell $2.21 per share, or over 10.5%, from a close of $20.85 on February 7, 2018

to a close of $18.64 on February 8, 2018, on high trading volume. Teva’s market capitalization

was reduced by approximately $2.3 billion.

       180.      The next trading day on the TASE, the ordinary share price fell ILS 500, or 6.9%,

from a close of ILS 7,200 on February 7, 2018 to a close of ILS 6,700 on February 8, 2018.

       O.        December 9, 2018 – State AGs Investigation Escalates

       181.      On December 9, 2018, the Washington Post published an interview with Joseph

Nielsen, an assistant attorney general and antitrust investigator in Connecticut who has been a

leading the State AGs investigation. Mr. Nielson disclosed that the price-fixing investigation had

expended to at least 16 companies and 300 drugs.

       182.      Mr. Nielson noted that the State AGs’ investigation “is most likely the largest cartel

in the history of the United States, citing the volume of drugs in the schemes, that they took place

on American soil and the “total number of companies involved, and individuals.”

       183.      Following the news of the expanded scope of the criminal investigation, Teva’s

ADS price fell $0.97 per share, or approximately 5%, to close at $18.44 on December 10, 2018.

Likewise on the TASE, the price of Teva’s ordinary shares fell ILS 390, or 5.34%, to close at ILS

6,910 per ordinary share on December 10, 2018.



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       P.      May 10, 2019 – State AGs File a Second Complaint

       184.    On May 10, 2019, more than 40 State AGs, led by the Connecticut AG, filed suit

in U.S. District Court in Connecticut, alleging that Teva USA, Cavanaugh, Patel, along with 19 of

Teva’s purported competitors, violated antitrust laws by “systematically” dividing up the market

for generic drugs in order to avoid competing with one another (the “Second State AGs

Complaint”).

       185.    The Second State AGs Complaint greatly expanded the extent of liability Teva

faces, alleging that Teva illegally colluded with its competitors to fix the price of at least thirty-

two drugs previously unnamed in the First State AGs Complaint. In total, the State AGs allege that

“Teva, during a l9-month period beginning in July 2013 and continuing through January 20l5,…

significantly raised prices on approximately 112 different generic drugs.” Moreover, “[t]he size of

the price increase varied, but a number of them were well over 1,000%.”

       186.    Building on their investigation detailed in the First State AGs Complaint, the

Second Complaint details text messages, phone calls, industry meetings and private dinners

establishing an illegal price fixing conspiracy in the generic pharmaceutical industry. Notably, the

Second State AGs Complaint stated that the State AGs’ investigation is still ongoing and they “will

likely bring additional actions” based on drugs not identified in the current complaint.

       187.    Following this news, Teva’s ADS price fell $2.13 per share, or approximately 15%,

to close at $12.23 on May 13, 2019. Likewise, on the TASE, Teva’s ordinary shares fell ILS 714,

or 13.6%, to close at ILS 4,511 per ordinary share on May 13, 2019.

       Q.      Teva Engaged in Illegal Promotion Scheme to Increase Opioid Sales.

       188.    Opioids are highly addictive, narcotics, which is why historically medical

professionals prescribed such narcotics with caution and only prescribed them in limited

circumstances to patients with cancer, terminal illnesses, or acute short-term pain.


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        189.   Manufactures and distributors of pharmaceutical opioids are limited by FDA

guidelines and approvals in the manners in which it could market the drug—simply, they are

prohibited from marketing the drugs for uses not approved by the FDA.

        190.   However, in order to increase sales of opioids and grow their bottom lines, opioid

manufactures and distributors purposefully expanded the market for opioids beyond a niche for

cancer patients, the terminally ill, and acute short-term pain and persuaded medical professionals

to prescribe the potentially lethal narcotic to a broader range of patients with chronic non-cancer

related pain. They accomplished this by convincing medical professionals to prescribe more

opioids to a broader range of patients and falsely downplay the risk of opioid addiction and

overstate the efficacy of opioids for more wide-ranging conditions, including chronic non-cancer

pain.

        191.   Consequently, more than 115 Americans die each day as a result of opioid

overdoses and thousands more struggle with opioid addiction. The epidemic has besieged all

demographics, and with more than half a million related deaths recorded in the U.S. between 2000

and 2015, the crisis has officially been declared a public health emergency.

               1.      Teva Expands Its Opioid Business

        192.   From 2005 to 2009, Teva USA was in the business of selling generic opioids,

including a generic form of OxyContin. In May of 2011, Teva expanded its opioid business with

Teva USA’s acquisition of the biopharmaceutical company Cephalon for $6.8 billion, in an effort

to expand its presence in branded products.

        193.   Among the branded products Cephalon sold were opioids, including Actiq, a

fentanyl4 lollipop, and Fentora, a dissolving fentanyl pill.


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      Fentanyl is a synthetic opioid that is 100 times more potent than morphine and 50 times
more potent than heroin as an analgesic.


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       194.    Teva manufactures, promotes, sells, and distributes branded opioids Actiq, a

fentanyl lollipop, and Fentora, a dissolving fentanyl pill. Actiq and Fentora have been approved

by the FDA only for the “management of breakthrough cancer pain in patients 16 years of age and

older who are already receiving and who are tolerant to opioid therapy for their underlying

persistent cancer pain.”

       195.    Cephalon, however, has a history of marketing its opioids for off-label purposes. In

2008, Cephalon pleaded guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act

for its misleading off-label promotion of Actiq and two other drugs and agreed to pay $425 million.

In particular, the DOJ alleged that between 2001 and 2006, Cephalon promoted the drug for non-

cancer patients to use for such maladies as migraines, sickle-cell pain crises, injuries, and in

anticipation of changing wound dressings or radiation therapy. Additionally, Cephalon promoted

Actiq for use with patients who were not opioid tolerant. Cephalon implemented a variety of

techniques to promote off-label uses of its potentially lethal drugs, including training its sales force

to disregard restrictions of the FDA-approved label, and to actively promote the drugs for off-label

uses. For example, the DOJ alleged that Cephalon instructed its Actiq sales representatives to focus

on physicians other than oncologists, and to promote this drug for many uses other than

breakthrough cancer pain, even though the FDA-approved label for Actiq stated that the drug was

only for “opioid tolerant cancer patients with breakthrough cancer pain, to be prescribed by

oncologist or pain specialists familiar with opioids.”

       196.    In addition to selling branded opioids, in August of 2016, Teva began to sell generic

opioids, including oxymorphone and hydrocodone, following its acquisition of Actavis Pharma,

Inc. and Actavis LLC from Allergan plc.




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               2.      Teva Deceptively and Illegally Marketed Opioids

       197.    Despite the extreme dangers associated with opioids, Teva engaged in various

promotional campaigns to increase its sales of the product. Given the narrowly FDA-approved list

of uses for opioids, Teva would only be able to increase its sales by promoting off-label (i.e., non-

FDA approved) uses, including chronic pain and other non-cancer conditions. Teva’s efforts to

push opioid sales included Teva paying experts in a given field of medicine (referred to as “key

opinion leaders” or “KOLs”) to deliver talks and continuing medical education programs

(“CMEs”) that provided favorable information about treating pain with opioids.

       198.    For example, in 2009. Teva paid to have a CME it sponsored, “Opioid-Based

Management of Persistent and Breakthrough Pain,” published in a supplement of Pain Medicine

News. Notably, the CME explicitly recommended Actiq and Fentora for patients with chronic

pain, regardless of any cancer- related diagnosis.

       199.    Again in December 2011, Teva issued a journal supplement entitled “Special

Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl Buccal Tablet

(FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)” to Anesthesiology News,

Clinical Oncology News, and Pain Medicine News-three publications that are sent to thousands of

anesthesiologists and other medical professionals. The journal supplement promoted Fentora for

“multiple causes of pain,” rather than solely the FDA-approved use in connection with cancer

treatment.

       200.    Teva also sponsored the American Pain Foundation’s (“APF”) materials and

programs which were available nationally and reached many New Yorkers, as intended. For

example, Teva sponsored a consumer guide distributed by APF entitled: Treatment Options: A

Guide for People Living with Pain. The guide downplays the risk of addiction from opioids, stating

that physical dependence “does NOT mean you are addicted,” rather it merely suggests that only


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persons who already have “addictive disease” have misused opioids. The guide also deceptively

states that “[d]espite the great benefits of opioids, they are often under-used.”

       201.    In addition to providing doctors the false impression that opioids are safe, effective,

and appropriate for treating non-cancer pain, Teva sales representatives incentivized doctors who

prescribed its opioids. For example, Teva sales representatives were able to nominate doctors for

lucrative paid speaking engagements, with the expectation that the speakers would increase their

prescribing of Actiq and Fentora and identify patients in their practice who could receive free trials

for opioids.

       202.    Moreover, Teva sales representatives were given sales targets which were not

achievable without expanding into non-oncological practices. When pushing opioids to non-cancer

related practices, one Actiq sales representative would state that the FDA’s labeling of the drug as

for breakthrough cancer pain was just a “formality.” Indeed, one Teva sales representative who

marketed Fentora between 2012 and 2013 stated that it was Teva’s management that instructed

sales representatives to target pain clinics, notwithstanding the fact that such clinics do not treat

cancer patients. The sales representative stated that at least 99% of the doctors who wrote

prescriptions for Fentora in her territory were pain specialists who wrote the prescriptions for off-

label use. Critically, the sales representative stated that the doctors told her that they did not treat

cancer patients.

       203.    In approximately fifteen years, Teva’s annual promotional spending on opioids

steadily climbed from under $4 million in 2000 to more than $13 million in 2014, reaching a peak

budget of $27 million in 2007.

               3.      Teva Is Investigated and Sued for Illegal Marketing of Opioids.

       204.    Teva’s illegal and dangerous promotion of opioids reached a turning point on May

21, 2014, when two California counties sued Teva and Cephalon, along with several other


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pharmaceutical companies, accusing the companies of causing the nation's prescription drug

epidemic by waging a "campaign of deception" aimed at boosting sales of potent painkillers such

as OxyContin, Actiq, and Fentora. Shortly thereafter, on June 2, 2014, the City of Chicago filed a

similar complaint against Teva and Cephalon.

        205.    Many states, counties, and cities throughout the United States would soon follow

the lead of California and Chicago, including, inter alia, Alabama, Connecticut, Georgia, Illinois,

Kentucky, Louisiana, Michigan, New Hampshire, New Jersey, New Mexico, New York, Ohio,

Oregon, Pennsylvania, Tennessee, Texas and Washington, and filed their own complaints against

Teva and/or its affiliates.

        206.    Since the first complaint was filed in May of 2014, approximately 1,500 complaints

have been filed against Teva by a number of cities, counties, states, other governmental agencies

and private plaintiffs in both state and federal courts, over its sales of opioids. Concurrently with

numerous individual actions throughout the United States, there is a massive multi-district

litigation, comprised of approximately 1,000 cases, proceeding in the U.S. District Court for the

Northern District of Ohio, in which Teva and certain of its affiliates are defendants.5

        207.    Teva’s potentially liability increased greatly, beyond monetary consequences,

when on April 27, 2018, it received subpoena requests from the DOJ seeking documents relating

to the manufacture, marketing and sale of opioids. In addition to the DOJ’s criminal investigation,

a number of state AGs, including a coordinated multistate effort, have initiated investigations into

sales and marketing practices of Teva and its affiliates with respect to opioids.




5
       The case is styled: In re: National Prescription Opiate Litigation, C.A. 1:17-md-02804
(N.D. Ohio).


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               4.      Teva Pays Oklahoma $85 Million for Opioid Sales

       208.    On Sunday, May 26, 2019, less than 48 hours before the first major trial against

Teva for its opioid liability was set to begin, Teva announced that it has agreed to pay the State of

Oklahoma $85 million in order to settle claims that it fueled the opioid crisis in the State.

       209.    As a result of this new negative information, the prices for Teva securities declined.

The ADS price fell $1.35 per share, or approximately 12.4%, from a close of $10.87 on May 24,

2019 to a close of $9.52 on May 28, 2019, on high trading volume.

       R.      End of Relevant Period – Teva’s Liability Greater than Expected; Analyst
               Downgrades

       210.    Following the filing of the Second State AGs Complaint and Teva’s $85 million

settlement for its marketing of opioids to Oklahoma, the true extent of the Company’s liabilities

was exposed.

       211.    On May 28, 2019, UBS analyst Navin Jacob estimated that Teva’s liability in opioid

litigation and price-fixing litigation could reach $4.1 billion, noting that the Company faced “larger

potential litigation expense (for both opioids and drug price fixing) than we had built into our

previous valuation.” Mr. Jacob estimated that Teva faced $1.9 billion in damages related to its

generic drug pricing strategy, and $2.2 billion related to the opioid litigation, which would result

in a loss of $3.75 per share. The analyst stated that the “lack of clarity and larger-than-expected

opioid settlement” were the causes for the downgrade. Moreover, Mr. Jacobs stated that he was

surprised that Teva settled the claims against it given its prior indications suggesting that a

settlement was unlikely.

       212.    Likewise, on May 30, 2019, an analyst at Bank of America Merrill Lynch, Jason

Gerberry, downgraded Teva’s securities, citing, inter alia, Teva’s current legal exposure.




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        213.    Indeed, Teva’s potential liability from opioids alone can, and likely will, have a

material impact on its financial health. By way of comparison, on March 4, 2019, Purdue Pharma,

the maker of the opioid OxyContin, announced that it is “exploring” a bankruptcy filing as a result

of its opioid-related liability.

        214.    As a result of this new negative information, the prices for Teva securities declined.

The ADS price fell $0.86 per share, or approximately 8.9%, from a close of $9.70 on May 29,

2019 to a close of $8.84 on May 30, 2019, on high trading volume and to a near 19-year low.

V.      FALSE AND MISLEADING STATEMENTS AND OMISSIONS

        215.    During the Relevant Period, the Defendants made five types of false and misleading

statements or omissions concerning its generic drug business and opioid business on conference

calls with investors and in SEC filings and press releases:

        •        False Statements Regarding Competition These statements falsely
        indicated that Teva was participating in competitive and functioning markets for
        generic drugs. To the contrary, Teva made dozens of price increases in tandem with
        its competitors. Teva and these companies deliberately did not compete on price.

        •         False and Misleading Financial and Pricing Statements These statements
        concealed Teva’s Price-Hike Strategy and the profits it generated. Later, the
        statements concealed that the Price-Hike Strategy fell apart as Teva was unable to
        make more price increases or sustain Inflated Profits. These statements were
        particularly misleading as the Defendants touted, and investors were highly attuned
        to, the sources of the generic segment’s purported success. In turn, the Company’s
        false and misleading statements and practices related to its pricing strategy resulted
        in the material overstatement of, inter alia, the value of Teva’s goodwill on its
        balance sheet and reported operating income and net earnings by billions of dollars.

        •       Concealed Receipt of Subpoenas The Defendants failed to disclose in the
        Notes Offering Materials Teva’s receipt of subpoenas from the DOJ and the State
        AGs in connection with their antitrust investigations into the generics industry.

        •        False and Misleading Statement Concerning Opioid Sales and Litigation
        These statements misleadingly omitted information concerning Teva’s illegal
        promotion of opioids for non-FDA approved uses, and the Company’s liablity
        resulting therefrom.




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       •        Item 5 The Defendants violated their statutory duty to disclose material
       trends under Item 5 of Form 20-F. Defendants failed to disclose the material trend
       of generating profit as part of the concealed Price-Hike Strategy. They also
       concealed the trend of declining Inflated Profits, and that they could no longer make
       price increases as the strategy unraveled.

       216.    The alleged false and misleading statements and omissions below were made in

Teva’s financial disclosures filed with the SEC, and were attributable to the Defendants as follows.

Altman was responsible for and signed the Form 6-K filed on February 6, 2014, and the Form 20-

F for February 10, 2014, when serving as Acting Chief Financial Officer.             Olafsson was

responsible for the reporting for Teva’s generics segment in each Form 20-F and 6-K from the

third quarter of 2014 through the third quarter of 2016. Oberman was responsible for the financial

reporting for Teva’s U.S. generics segment in Teva’s Form 20-F for 2013, and Teva’s 6-Ks for the

first three quarters of 2014. Peterburg was responsible for and signed the Form 20-F for the period

ended December 31, 2016 as Interim President and CEO. Desheh was responsible for and signed

each Form 20-F, and each 6-K from February 13, 2014 through June 29, 2017. Vigodman was

responsible for each Form 20-F and 6-K filed during his tenure as Teva’s CEO. Schultz was

responsible for and signed Teva’s Form 10-K. McClellan was responsible for and signed the Form

10-K, each Form 8-K starting from January 2, 2018 through the end of the Relevant Period, and

each Form 6-K starting from July 11, 2017 through the end of the Relevant Period.

       A.      Defendants’ False and Misleading Statements Concerning Teva’s Operation
               in a Competitive Market

       217.    On February 10, 2014, Teva filed an Annual Report on Form 20-F with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2013 (the “2013 20-F”). The 2013 20-F contained representations that Teva faced

“intense” competition in the U.S. generic drug market, how competition typically forced the price




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of generic drugs down, and how Teva’s competitive advantage lay in its “competitive pricing

strategy” and capability to launch new generics:

       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India) receive
       approvals and enter the market for a given product and competition intensifies.
       Consequently, our ability to sustain our sales and profitability on any given product
       over time is affected by the number of new companies selling such product and the
       timing of their approvals.

                                              ***
       In the United States, we are subject to intense competition in the generic drug
       market from other domestic and foreign generic drug manufacturers, brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality and cost-
       effective production, our customer service and the breadth of our product line. We
       believe we have a focused and competitive pricing strategy.

       218.    On February 9, 2015, Teva filed an Annual Report on Form 20-F with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2014 (the “2014 20-F”). The 2014 20-F contained representations that Teva faced

“intense” competition in the U.S. generic drug market, how competition typically forced the price

of generic drugs down, and how Teva’s competitive advantage lay in its “competitive pricing

strategy” and capability to launch new generics:

       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India) receive
       approvals and enter the market for a given product and competition intensifies.
       Consequently, our ability to sustain our sales and profitability on any given product
       over time is affected by the number of new companies selling such product and the
       timing of their approvals.

                                              ***




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        In the United States, we are subject to intense competition in the generic drug
        market from domestic and international generic drug manufacturers, brand-name
        pharmaceutical companies through lifecycle management initiatives, authorized
        generics, existing brand equivalents and manufacturers of therapeutically similar
        drugs. Price competition from additional generic versions of the same product
        typically results in margin pressures. We believe that our primary competitive
        advantages are our ability to continually introduce new and complex generic
        equivalents for brand-name drug products on a timely basis, our quality, our
        customer service and the breadth of our product portfolio. We believe we have a
        focused and competitive pricing strategy.

        219.    On July 27, 2015, Teva held a conference call with analysts and investors to discuss

Teva’s acquisition of Actavis.         During that call, in response to a question regarding

competitiveness in the generic drug market, Defendant Olafsson stated that “the U.S. generic

market is very competitive[,]” noting “fierce competition on most of the portfolio, if not all of the

portfolio.”

        220.    On the same call, Defendant Vigodman touted Teva’s commitment to a competitive

market, stating, in relevant part:

        [W]e promise to do everything in our power to basically take the company to be
        able to continue the improvement that we have been witnessing here. We believe in
        competition, and we’ll do what is needed in order to win in all the markets we
        operate.

        221.    On October 29, 2015, Teva held a conference call with analysts and investors to

discuss Teva’s Q3 2015 financial and operating results. During that call, Olafsson stated the

following with respect to Teva’s drug pricing: “I think pricing is obviously based on the

competition. We have talked about that the overall pricing trend is down.”

        222.    On November 19, 2015, during another conference with analysts and investors,

Defendant Desheh touted the competitive nature of the generics market and Teva’s role as a fair-

playing participant, stating, in relevant part:

        Generic prices. There is – there are no – I don’t believe that there are many examples
        for competitive environment, real competition, like we see in generic market in the
        United States . . . . So it is a highly competitive environment with players coming from


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       all over the world with a very fierce price competition. The price of generic went down
       50% over the past 10 years . . . . So we’re playing a competitive game. We’re playing
       it fairly. We of course play by the book and by the rule ... And we are in short playing
       in a very competitive market.

       223.    On February 11, 2016, Teva filed an Annual Report on Form 20-F with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2015 (the “2015 20-F”). The 2015 20-F contained representations that Teva faced

“intense” competition in the U.S. generic drug market, how competition typically forced the price

of generic drugs down, and how Teva’s competitive advantage lay in its “competitive pricing

strategy” and capability to launch new generics:

       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India) receive
       approvals and enter the market for a given product and competition intensifies.
       Consequently, our ability to sustain our sales and profitability on any given product
       over time is affected by the number of new companies selling such product and the
       timing of their approvals.

                                                ***
       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio. We believe we have a
       focused and competitive pricing strategy.

       224.    On February 15, 2017, Teva filed an Annual Report on Form 20-F with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2016 (the “2016 20-F”). The 2016 20-F contained representations that Teva faced

“intense” competition in the U.S. generic drug market, how competition typically forced the price




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of generic drugs down, and how Teva’s competitive advantage lay in its capability to launch new

generics:

       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India) receive
       approvals and enter the market for a given product and competition intensifies.
       Consequently, our ability to sustain our sales and profitability on any given product
       over time is affected by the number of companies selling such product, including
       new market entrants, and the timing of their approvals.

                                              ***
       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio.

       225.   On February 12, 2018, Teva filed an Annual Report on Form 10-K with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2017 (the “2017 10-K”). The 2017 10-K contained similar representations to Teva’s

Forms 20-F, containing boiler-plate representations concerning the Company’s competition in the

U.S. generic drug market:

       Our generic drugs face intense competition. Prices of generic drugs may, and often
       do, decline, sometimes dramatically, especially as additional generic
       pharmaceutical companies (including low-cost generic producers based in China
       and India) receive approvals and enter the market for a given product and
       competition intensifies. Consequently, our ability to sustain our sales and
       profitability on any given product over time is affected by the number of companies
       selling such product, including new market entrants, and the timing of their
       approvals.

                                              ***
       In the United States, we are subject to competition in the generic drug market from
       domestic and international generic drug manufacturers, brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized


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       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs.

       226.    On February 19, 2019, Teva filed an Annual Report on Form 10-K with the SEC,

announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2018 (the “2018 10-K”). The 2018 10-K contained similar representations to Teva’s

Forms 20-F and 2017 10-K, containing boiler-plate representations concerning the Company’s

competition in the U.S. generic drug market:

       Our generic drugs face intense competition. Prices of generic drugs may, and often
       do, decline, sometimes dramatically, especially as additional generic
       pharmaceutical companies (including low-cost generic producers based in China
       and India) receive approvals and enter the market for a given product and
       competition intensifies. Consequently, our ability to sustain our sales and
       profitability on any given product over time is affected by the number of companies
       selling such product, including new market entrants, and the timing of their
       approvals.

                                               ***
       In the United States, we are subject to competition in the generic drug market from
       domestic and international generic drug manufacturers and brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. An increase in FDA approvals for generic products is increasing the
       competition on our base generic products. Price competition from additional
       generic versions of the same product typically results in margin pressures, which is
       causing some generics companies to refocus their portfolio.

       227.    The statements referenced in ¶¶217-226 were materially false and misleading

because Defendants made false and/or misleading statements, as well as failed to disclose material

adverse facts about the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) since July

2013, rather than competing on price, Teva had made, via the Price-Hike Strategy, 76 price

increases without competition on price from competitors; (ii) on at least 48 of these occasions,

Teva had made price increases in tandem with its competitors; (iii) Teva’s increasing profitability




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was the result of lacking, not “intense,” competition; (iv) the generic drug market was not operating

competitively because Teva and its competitors refused to compete fairly, i.e., not at all; (v) Teva

had concealed how these price increases had driven its purported turn-around and success; (vi)

Teva had concealed that in 2013, 2014, 2015, Teva implemented the Price-Hike Strategy and

undertook, respectively, at least 18, 31, and 18 systematic increases of generic drug prices to

generate billions in Inflated Profits, by deliberately taking advantage of markets that lacked

competition; and (vii) as a result, the Company’s public statements were materially false and

misleading at all relevant times.

       B.      Defendants’ False and Misleading Statements Concerning Financial
               Reporting and Generic Drug Pricing

       228.    On February 6, 2014, Teva issued a press release announcing the Company’s

financial and operating results for the fourth quarter 2013 (the “Q4 2013 Press Release”). The Q4

2013 Press Release stated U.S. generics revenues of $1.2 billion dollars for the fourth quarter,

which represented a YOY increase of $144 million, or 14%, compared to the fourth quarter of

2012. According to the Q4 2013 Press Release, these increases “resulted mainly from the

exclusive launches of niacin ER . . . and temozolomide . . . in the third quarter of 2013, and launches

of duloxetine . . . and tobramycin . . . in the fourth quarter of 2013, as well as higher sales of

budesonide inhalation[.]”

       229.    On February 10, 2014, Teva filed the 2013 20-F, which announced a YOY decline

in generic profit of $400 million, or 19%. The 2013 20-F stated that the decrease was “primarily”

due to “lower revenues and lower gross profit, which were partially offset by a reduction in selling

and marketing expenses” as well as “sales of higher profitability products in the United States.”

       230.    The statements referenced in ¶¶228-229 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i) via



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the Price-Hike Strategy, Teva made a minimum of 18 systematic price hikes in July and August

2013, which contributed materially to the Company’s announced results; (ii) for the fourth quarter

2013, up to $147 million in Inflated Profit resulted from these price increases, which made up the

entirety of Teva’s YOY U.S. generic revenue increases; and (iii) in 2013, these price increases

generated up to $250 million in Inflated Profit without which Teva would have reported a $650

million, or a 31%, YOY decline rather than the 19% the 2013 20-F reported. Such Inflated Profit

was a significant contributor to the Company’s results when compared to Teva’s S&M expenses,

which had a YOY decline of merely $26 million compared to 2012.

       231.    On March 10, 2014, Teva issued a press release from its North Wales, Pennsylvania

US headquarters, announcing its “2014 National Partnership” with Volunteers in Medicine

(“VIM”), a national nonprofit organization dedicated to helping communities provide free primary

healthcare clinics, “to make healthcare services more readily available to the uninsured.” In the

press release, Defendant Oberman touted the Company’s purported commitment to “make quality

healthcare accessible to patients around the world”, stating in relevant part that its partnership with

VIM “is not only a business objective, but also a philanthropic commitment.” Moreover, the press

release asserted that “Teva provides access to healthcare not only through its business model of

developing, manufacturing and marketing high quality generic and specialty medicines, but also

through significant philanthropic programs, complemented by key alliances with partners – such

as VIM – that advance a common commitment to address unmet medical needs.”

       232.    The statements referenced in ¶231 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Teva had

implemented a Price-Hike Strategy, which artificially inflated the cost of generic pharmaceuticals

for consumers; and (ii) consequently, patients in the United States, including the millions of




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uninsured, would suffer and struggle to afford the rising costs of the generic pharmaceuticals sold

by Teva.

         233.   On May 1, 2014, Teva held an earnings call with analysts and investors. On the

call, Defendant Desheh noted Teva’s growth in its U.S. generic revenues was due to the

Company’s new product launches. According to Desheh, Teva’s generics division “experienced

significant growth in the United States market, with 17% YOY growth, to a total of $1 billion with

a number of new product launches.”

         234.   On May 2, 2014, Teva filed a Report on Form 6-K with the SEC, announcing the

Company’s financial and operating results for the first quarter 2014 (the “Q1 2014 6-K”). The Q1

2014 6-K reported a YOY increase of $117 million in generic profit, or 31%. According to the

Q1 2014 6-K, the increase was “primarily” attributable to “higher revenues, higher gross profit

and a reduction in selling and marketing expenses.” The Q1 2014 6-K attributed higher gross

profit to “the change in the composition of revenues in the United States and Europe, mainly

products launched during the first quarter of 2014 and in the United States in the second half of

2013.”

         235.   The statements referenced in ¶¶233-234 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i) via

the Price-Hike Strategy, Teva made a minimum of 18 systematic price hikes in July and August

2013, which contributed materially to the Company’s announced results; and (ii) for the first

quarter 2014, up to $120 million in Inflated Profit resulted from these price increases, which made

up almost the entirety of Teva’s YOY increase in U.S. generic revenue growth, which was almost

three times that of the $42 million YOY reduction in S&M expenses.




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       236.    On July 31, 2014, Teva filed a Report on Form 6-K with the SEC, announcing the

Company’s financial and operating results for the second quarter 2014 (the “Q2 2014 6-K”). The

Q2 2014 6-K reported a YOY increase of $156 million in generic segment profit, or 41%.

According to the Q2 2014 6-K, the increase was “primarily” attributable to “a significant reduction

in selling and marketing expenses, higher revenues and higher gross profit.” The Q2 2014 6-K

attributed higher gross profit to “higher revenues in the United States, specifically of products

launched during the first half of 2014 and in the second half of 2013, and higher revenues in

Canada as well as the higher gross profit due to the change in the composition of revenues in

Europe.”

       237.    On the same day, Teva held an earnings call with analysts and investors. During

the call, Defendant Desheh stated that the “better results” of Teva’s generic segment resulted from

launches of “generic Xeloda in March and generic LOVAZA this quarter in the U.S. market.”

       238.    The statements referenced in ¶¶236-337 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i) via

the Price-Hike Strategy, Teva made a minimum of 30 systematic price hikes since July 2013,

including 12 price hikes in April 2014, which contributed materially to the Company’s announced

results; and (ii) for the second quarter 2014, up to $160 million in Inflated Profit resulted from

these price increases, which made up all of Teva’s YOY increase in U.S. generic profit, and which

was over one-and-a-half times the $101 million YOY reduction in S&M expenses attributed to the

generic profit increase.

       239.    On October 30, 2014, Teva filed a Report on Form 6-K with the SEC, announcing

the Company’s financial and operating results for the third quarter 2014 (the “Q3 2014 6-K”). The

Q3 2014 6-K reported a YOY increase of $160 million in generic profit, or 40%. According to




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the Q3 2014 6-K, the increase was “primarily” attributable to “higher gross profit and a significant

reduction in selling and marketing expenses.” The Q3 2014 6-K attributed higher gross profit to

“lower expenses related to production, higher revenues from our API business as well as higher

gross profit due to the change in the composition of revenues.”

       240.    On the same day, Teva held an earnings call with analysts and investors. By this

time, Congress had sent a letter to Vigodman asking for information related to drug price increases.

Additionally, these increases were gaining more attention in the public eye; Lannett and Impax

had revealed subpoenas from the Connecticut AG, and articles were released discussing drug price

increases on some drugs Teva did not sell. Nevertheless, during the call, Defendant Vigodman

attributed Teva’s results to new product launches, stating, in relevant part: “I think overall, we

have a good revenue of the new launches this year – capecitabine, the generic Lovaza, Omega-3

and entecavir. Entecavir was a new launch for us in the quarter. I think all these three products

have been very significant contributors to the year.” A UBS analyst asked to “talk about Generics

a little bit in the U.S. . . . . whether there were price increases in some of your base business and

whether that impacted” Teva’s financial performance. Vigodman rejected the notion that Teva

was utilizing price increases. stressing that the any increases were the result of normal market

conditions such as shortages or market dynamics:

       I think that pricing – I’ve said it before, there’s never a price increase on the base
       business as a whole. Like any other business, if there’s a pricing opportunity that
       comes in the market, we look for that. But the base business itself has been eroding
       overall because of the consolidation of the customers.

Vigodman instead stressed that any increases were the result of normal market conditions such as

shortages or market dynamics:

       When there’s an opportunity, when there is a shortage in the market, we obviously
       look for pricing like any other business. But overall, as I’ve said many times before,
       the base business itself is slowly eroding, the overall of the base business.
       Vigodman’s statements were false and misleading because, far from price increases


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       only occurring when there are shortages or market dynamics so dictate, Teva had
       adopted the Price-Hike Strategy. Vigodman concealed that Teva had increased
       prices on 50 drugs and that those concealed increases—the very subject of the UBS
       analyst’s question—resulted in as much as $720 million in Inflated Profit reported
       since the start of the Relevant Period, and as much as $193 million in Q3 2014
       alone, on drugs for which there were no shortages.

       241.    The statements referenced in ¶¶239-240 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i) via

the Price-Hike Strategy, Teva made a minimum of 50 systematic price hikes since July 2013,

including 20 price hikes in in the third quarter 2014, which contributed materially to the

Company’s announced results; and (ii) for the third quarter 2014, up to $193 million in Inflated

Profit resulted from these price increases, representing a total YOY increase of $90 million; (iii)

the $90 million YOY increase made up over 50% of Teva’s YOY increase in U.S. generic profit,

which was larger than the entire $81 million YOY reduction in S&M expenses attributed to generic

profit increases.

       242.    On December 11, 2014, Teva held a guidance call to discuss the Company’s 2015

business outlook. During the call, a Morgan Stanley analyst asked:

       [W]ith respect to generic inventory in the channel, both for Teva and for other
       generic manufacturers, I’m assuming that wholesalers have been seeing
       extraordinary price increases in recent years and has been buying inventory ahead
       of tremendous price increases?

Defendant Olafsson repelled the notion of any large price increases, noting any press to the

contrary concerned “few” products on “individual” molecules:

       So first let me correct. I have to disagree that they have experienced tremendous
       price increase. I think, overall, the pricing in the U.S. of generics has been flat to a
       slight down. There has been a lot of press about price increases on individual
       molecules and this has been a hot political issue selecting a few products.

       243.    The statements referenced in ¶242 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) via the Price-



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Hike Strategy, Teva made a minimum of 50 systematic price hikes since July 2013, including 32

price hikes in 2014, which contributed materially to the Company’s announced results; (ii) Teva’s

price increases generated up to $720 million in pure profit, which rose up to $943 million before

the year’s end; and (iii) Teva had generated 30% of its overall profit from generic drug price

increases since 2013.

        244.    On February 5, 2015, Teva issued a press release filed with the SEC announcing

the Company’s financial and operating results for the fourth quarter 2014 and full year 2014 (the

“Q4 2014 Press Release”). The Q4 2014 Press Release stated a generic profit YOY increase of $47

million, or 9%, which the Company attributed “primarily” to Teva’s “lower S&M expenses and

lower R&D expenses.”

        245.    Teva filed the 2014 20-F on the same day. The 2014 20-F reported a generic profit

YOY increase of $480 million, or 29%, which Teva attributed to “lower S&M expenses and higher

gross profit.” The 2014 20-F stated that the higher gross profit was “mainly a result of higher revenues

in the United States, specifically of products launched during 2014 and in the second half of 2013,

and higher revenues in Canada, which led to higher gross profits, as well as higher gross profit from

API sales to third parties.”

        246.    The statements referenced in ¶¶244-245 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i) via

the Price-Hike Strategy, Teva made a minimum of 50 systematic price hikes since July 2013,

including 32 price hikes in 2014, which contributed materially to the Company’s announced

results; (ii) for the fourth quarter 2014, up to $219 million in Inflated Profit resulted from these price

increases, representing a YOY increase of up to $72 million, which made up the entirety of Teva’s

YOY increase in generic profit, in contrast to the $113 million YOY reduction in S&M expenses




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and $8 million YOY reduction in R&D expenses Defendants attributed the increased generic profit

to; and (iii) increased prices accounted for up to $693 million in Inflated Profit in 2014,

representing a YOY increase of up to $443 million, accounting for nearly all YOY increase in

generic profit, which was more than the total $337 million S&M expense reduction Defendants

attributed to the generic profit increase.

       247.    Teva’s ADS/Preferred Registration Statement signed by Vigodman, Desheh, and

Griffin, as well as two prospectus supplements Teva filed with the SEC on December 3, 2015

(referred to hereafter as the “ADS Final Prospectus” and the “Preferred Final Prospectus,”

respectively), all incorporate by reference the false and misleading statements contained in the

2014 20-F.

       248.    The below table shows Teva’s improved profits as reported in 2014 and YOY

change in Inflated Profits for the same period:


      2014 ($ millions)          Q1          Q2          Q3     Q4      Full Year

      Reported YOY
      Change in Generic          $117        $156        $160   $47       $480
      Profit
      (Unreported) YOY
      Change in Inflated         $120        $160        $90    $72       $443
      Profit

       249.    On April 30, 2015, Teva filed a Report on Form 6-K with the SEC, announcing the

Company’s financial and operating results for the first quarter 2015 (the “Q1 2015 6-K”). The Q1

2015 6-K reported a YOY increase of $296 million in generic profit, or 59%. According to the

Q1 2015 6-K, the increase was “primarily” attributable to “higher gross profit and lower selling

and marketing expenses as well as lower research and development expenses.” The Q1 2015 6-K




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attributed higher gross profit to “mainly a result of the launch of esomeprazole in the United States

during the quarter and improved profitability of our European business.”

        250.    On the same day, Teva held an earnings call with analysts and investors. During

the call, a Bank of America analyst asked, “how much more potential exists to increase generic

segment margins purely from organic gains and operational efficiency?” Olafsson responded by

stating that the “1,000 basis points improvement over a two years period” in “operating profit in

the generic segment” was a product of the following:

        [P]robably three or four things. First of all . . . significant improvement in our cost
        of goods . . . the next thing is the portfolio offering . . . [including] exclusive complex
        generics of offering . . . [as] when we have more of the launches, it will drive up the
        market. The third thing is the cost infrastructure.

Olafsson thus touted a number of factors that purportedly accounted for recent generic profitability

increases that started in 2014, which were actually attributable to the Price-Hike Strategy.

        251.    The statements referenced in ¶¶247-250 were false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) via the Price-

Hike Strategy, Teva made a minimum of 64 systematic price hikes since July 2013, including 14

price hikes in January 2015, which contributed materially to the Company’s announced results;

(ii) for the first quarter 2015, up to $228 million in Inflated Profit resulted from these price increases,

representing a YOY increase of up to $108 million, which made up over a third of Teva’s YOY

increase in generic profit; (iii) the Inflated Profit increase amounted to more than double the $43

million YOY reduction in S&M expenses, and nine times the $12 million YOY reduction in R&D

expenses, to which the Defendants attributed the increased generic profit; (iv) Olafsson’s

statements on the call concealed that the Price-Hike Strategy was a fundamental part of Teva’s

improvement; and (v) by the end of Q1 2015, Teva had generated as much as $1.1 billion in

Inflated Profit on the price increases since July 2013.



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       252.    Teva’s ADS/Preferred Registration Statement signed by Vigodman, Desheh, and

Griffin, ADS Final Prospectus, and Preferred Final Prospectus all incorporate by reference the

false and misleading statements contained in the Q1 2015 6-K.

       253.    During a June 11, 2015 Goldman Sachs conference, Vigodman touted “the

profound change in the generic business,” since 2014, stating:

       These “are things that are not confined to numbers, but maybe numbers tell the
       story: 16.7% operating profit, 2013; 21.9% operating profit, 2014,” and attributing
       this success solely to “[t]he execution of the cost reduction program: $600 million
       net savings, 2014; $500 million, 2015,” and a “[f]ull transformation of our
       operational network,” claiming that “[w]e closed or divested 11 plants during the
       last 12 months[;] [w]e centralized procurement.... So everything that was done
       during 2014 was based on organic . . . moves only.”

       254.    The statements referenced in ¶¶252-254 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i) via

the Price-Hike Strategy, Teva made at least 64 systematic price hikes since July 2013, which

generated over $1.1 billion in Inflated Profit by the close of Q1 2015, contributing materially to

the results; and (ii) the excess profit of as much as $1.1 billion generated by the price increases

accounted for all of the improved operating profit that Vigodman touted.

       255.    On July 30, 2015, Teva filed its second quarter 2015 financial statements on a Form

6-K with the SEC (the “Q2 2015 6-K”). The Q2 2015 6-K disclosed a YOY increase in generic

profit of $193 million, or 36%, attributed “primarily” to “higher gross profit as well as lower selling

and marketing expenses,” while claiming that higher gross profit was “mainly a result of higher

gross profit in the United States, due to the launches of aripiprazole in the second quarter of 2015

and of esomeprazole during the first quarter of 2015, and lower production expenses.”

       256.    The statements referenced in ¶255 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) via the Price-

Hike Strategy, Teva made at least 64 systematic price hikes since July 2013, contributing materially


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to the results; and (ii) these price increases generated $236 million in Inflated Profit in Q2 2015, a

YOY increase of $76 million, which increase accounted for 39% of the YOY increase in generic

profit, and amounted to over one and a half times the $53 million YOY reduction in S&M expenses

to which Defendants attributed the increased generic profit.

       257.    Teva’s ADS/Preferred Registration Statement signed by Vigodman, Desheh, and

Griffin, ADS Final Prospectus, and Preferred Final Prospectus all incorporate by reference the

false and misleading statements contained in the Q2 2015 6-K.

       258.    On October 29, 2015, Teva filed its third quarter 2015 financial statements on a

Form 6-K with the SEC (the “Q3 2015 6-K”). The Q3 2015 6-K disclosed a YOY increase in

generic profit of $20 million, or 4%, attributed “primarily” to “lower selling and marketing

expenses, partially offset by lower gross profit,” which in turn was partially offset “by higher gross

profit of our API business.”

       259.    During an earnings call on the same day, Vigodman disavowed that any of the

improvement in Teva’s results over the previous years were driven by generic pricing:

       We’re very – and are very responsible in everything that portends to prices on the
       Generics side and on the Specialty side. And I would even put it another way, all
       the improvement you see in our – in margins is not driven by price. It is driven by
       quantities and by mix and by efficiency measures. Not by price, 2014, 2015, and
       that’s a very important message.

       260.    In light of recent legislative proposals that would penalize generic manufacturers

for raising prices above the rate of inflation, an analyst from Barclays asked for management’s

thoughts on “the potential limit to generic drug price increases.” Olafsson minimized the extent

and effect of Teva’s practice of increasing prices and implied that Teva was not dependent on such

profit and, thus, was immune to the effects of the proposed legislation:

       In terms of the proposed legislation on pricing control on generics, first of all we
       don’t really know what it’s going to be. But let me give you an example. So Teva
       has the largest portfolio on the U.S. market. We are offering approximately 275


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        products. And we have told you that overall on our whole portfolio, we have a
        decline in price. The talk about the inflation in generics when you have a big
        portfolio is really not there. 95% of our portfolio is declining due to the
        consolidation of the customers I talked about. There might be 5% of the portfolio
        that is either flat or increasing in pricing due to some abnormalities in the market.

        261.    The statements referenced in ¶¶257-260 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i) via

the Price-Hike Strategy, Teva made at least 71 systematic price hikes since July 2013, often by

well over 100%, generating over $1.6 billion in Inflated Profit over that time, including as much

as $690 million in 2014 and as much as $680 million in the first three quarter of 2015 alone, and

seven of which had been implemented in July 2015, contributing materially to the results; (ii) these

price increases generated as much as $218 million in Inflated Profit in Q3 2015, a YOY increase

of $25 million, which accounted for all the YOY increase in generic profit; (iii) the Inflated Profit

contributed significantly to improving Teva’s generic profit margin, as that Inflated Profit was

devoid of any material corresponding costs, directly contradicting Vigodman’s statements; (iv) the

60 drugs subject to these price increases made up 22% of Teva’s generic drug portfolio, and none

of these price increases were due to “some abnormalities in the market” like a shortage or an

increase in demand; and (v) by the end of Q3 2015, Defendants’ Price-Hike Strategy had generated

over $1.6 billion in Inflated Profit.

        262.    Teva’s ADS/Preferred Registration Statement signed by Vigodman, Desheh, and

Griffin, ADS Final Prospectus, and Preferred Final Prospectus all incorporate by reference the

false and misleading statements contained in the Q3 2015 6-K.

        263.    On November 19, 2015, Jefferies held a conference, at which Desheh was pressed

by the Jefferies analyst, who asked, “let’s talk about everyone’s favorite topic the last 2 months,

pricing and specialty pharmacy. Could you just give us your 20,000 foot view on pricing, is it an

issue? Your particular products, where do you go on pricing?” Desheh minimized the extent of


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Teva’s policy and practice of making price increases and its financial dependence on profit

therefrom:

       Now there’s a lot of noise around pricing issues. Some of it’s coming from
       politicians who are driving agenda, which is very, very legitimate. Our exposure to
       all these things is very minimal. . . . And Teva was not associated with any of that.
       So we’re playing a competitive game. We’re playing it fairly. We of course play by
       the book and by the rule. And we believe that our exposure to any initiative on price
       reduction in the United States is as a small as anybody can have.

       264.    The statements referenced in ¶¶262-263 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that:       (i)

Teva was critically dependent on Inflated Profit from price increases, and the ability to make

additional price increases to increase profits, to fill any holes in its financial projections; (ii)

Defendants’ Price-Hike Strategy was greatly exposed to any initiative that addressed generic drug

pricing, such as those which would grant Medicare the ability to negotiate prices, which could lead

to price deflation; (iii) without the benefit of the Price-Hike Strategy, Teva could not generate

additional Inflated Profit or fill financial holes, while Teva’s past practice of generating massive

profits through inflated prices left it very exposed to any efforts that would cause price deflation

of those already-increased drugs; and (iv) these statements implied to investors that Teva had not

and was not engaging in any practice of increasing prices.

       265.    On November 30, 2015, Teva filed the ADS/Preferred Registration Statement, as

well as two preliminary prospectus supplements, filed pursuant to Rule 424(b)(5), which disclosed

certain details regarding Teva’s intention to offer additional ADS and newly created Mandatory

Convertible Preferred Shares (“Preferred Shares”) to the public. On December 3, 2015, Teva filed

the ADS Final Prospectus and the Preferred Final Prospectus.

       266.    The ADS/Preferred Registration Statement, the ADS Final Prospectus, and the

Preferred Final Prospectus each incorporated by reference the 2014 20-F, Q1 2015 6-K, Q2 2015



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6-K, and Q3 2015 6-K. The incorporated 2014 20-F and Q1, Q2, and Q3 2015 6-Ks contained

false and misleading financial disclosures, as discussed above.

       267.    At a January 11, 2016, J.P. Morgan conference, a J.P. Morgan analyst asked

Olafsson, “McKesson this morning announced some maybe challenging pricing on the generics

side or an expectation of that going forward. Could you just comment a little bit on how you see

generic pricing as we look out not just this year but in the future and how Teva is able to navigate

the current environment?” In answer to this question, Olafsson responded:

       The generic pricing – we need to keep in mind there’s a lot of talk about inflations
       in generic pricing. But what we see is there’s – overall on our total portfolio of
       270 products, there is a slight decrease in pricing. It’s low single digit, but year
       on year we see a low single-digit decrease because on 95% of our portfolio, we
       experience price decline. And then on 5%, we might be flat or a slight increase. So,
       overall, we see that in the business. There’s a lot of headlines of examples of big
       price increases in generics. But when you are a company of the size of Teva and
       you have the portfolio that we have today – as I said, 270 products for the whole of
       the portfolio – there is a decline.

       268.    The statements referenced in ¶¶265-267 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

they minimized the impact of price increases—which by the end of Q3 2015 had generated as

much as $1.7 billion in Inflated Profit—on Teva’s bottom line since July 2013, and, thus, Teva’s

potential exposure to price deflation that its competitors and wholesalers were already reporting;

(ii) by this time, Teva had increased the prices of 60 of its generic drugs, three of which Teva had

recently increased the prices on July 29, 2015, and many of which were increased by more than

100%; and (iii) these drugs made up 22% of Teva’s generic drug portfolio, flatly contradicting

Olafsson’s claim that 5% of Teva’s generic portfolio “might be flat or a slight increase.”

       269.    On February 11, 2016, Teva filed with the SEC a press release reporting the

Company’s fourth quarter 2015 and full year 2015 financial results (“Q4 2015 Press Release”).

The Q4 2015 Press Release disclosed a YOY increase in generic profit of $7 million, or 1%,


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attributed “primarily” to “the reduction in S&M expenses, partially offset” by, in part, “lower sales

of budesonide (Pulmicort®) in the United States.”

       270.    The same day, Teva filed its Form 20-F for the fiscal year ended December 31,

2015 with the SEC (the “2015 20-F”) reporting the Company’s full year 2015 financial results.

The 2015 20-F disclosed a YOY increase in generic profit of $500 million, or 24%, attributed

“primarily” to “lower S&M expenses and higher gross profit,” which was purportedly “mainly a

result of higher revenues from new products launched in the United States during 2015, lower

other production expenses and higher gross profit from API sales to third parties.”

       271.    The statements referenced in ¶¶269-270 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Inflated Profit had declined from as much as $219 million in Q4 2014 to $166 million in Q4 2015,

a decline of $53 million or 24%; (ii) this decline occurred because the Price-Hike Strategy was

unsustainable and under increasing investigation by governmental agents and, thus, Teva’s ability

to make further increases was reduced; (iii) having attributed the source of the profit increase, the

Defendants had a duty to disclose but concealed the full truth that the Price-Hike Strategy, whereby

Teva made at least 71 systematic price hikes since July 2013, contributed materially to the results;

and (iv) the price increases generated as much as $848 million in Inflated Profits in 2015, a YOY

increase of $155 million that amounted to 31% of the YOY increase in generic profit.

       272.    Teva’s Post-Effective Amendment No. 1 to Form F-3 that it filed with the SEC on

July 13, 2016, which was signed by Vigodman, Desheh, and Griffin (the “Notes Registration

Statement”), and Teva’s final prospectus for the Notes Offering that it filed with the SEC on July

19, 2016 pursuant to Rule 424(b)(5) (the “Notes Final Prospectus”), both incorporate by reference

the false and misleading statements contained in the 2015 20-F.




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       273.    On the same day, Teva held an investor earnings conference call. In his opening

statements, Olafsson touted “2015 was a very good year for Teva Generics,” while explicitly

denying that pricing had played any role in that supposed success, stating:

       We continued improving the operating profit of the generic business, coming from
       $1.68 billion operating profit in 2013, or 17% of revenue, to $2.68 billion operating
       profit in 2015, or 28% of revenue. This is $1 billion improvement in operating profit
       over 24 months period. So how did we do this? Not by pricing but by portfolio mix,
       new products, and efficiency measures.

       274.    Later in the call, and repeated in his slide presentation, Olafsson minimized Teva’s

participation in price increases, and thus their impact on the Company’s bottom line:

       Briefly, on pricing. As I’ve previously stated, we and the generic industry overall
       don’t see price inflation of generics as it sometimes is portrayed in the media. On
       the contrary, for 2015, we saw a mid-single-digit price decline for the overall
       business.

       275.    Olafsson denied that Teva was seeing any change in its pricing environment,

stating: “In the US, our largest market, we saw approximately 4% price erosion . . . . We expect

to see the same in 2016. Nothing today points to a significant change in the generic pricing

environment.” A Guggenheim Securities analyst asked: “[S]ome of your competitors have talked

about pricing pressure in the generics business during the quarter. Curious if you saw that, and if

so what might be driving that.” Olafsson responded: “As I mentioned in the beginning, we didn’t

see anything change in fourth quarter. We saw approximately 4% pricing pressure or price decline

in the US business over 2015 flat over the year.”

       276.    The slides Olafsson presented during the call echoed these statements: “Also do

not see the sharp drop in prices other competitors have seen recently[;] Mid-single digit decrease

in 2015[.]”

       277.    The statements referenced in ¶¶272-276 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)



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they are directly contradicted by the empirical data showing that Teva had, in 2014 and 2015, made

as much as over $1.5 billion in Inflated Profit from price increases—more than the $1 billion

improvement touted by Olafsson; (ii) Teva had made at least 71 price increases since July 2013,

many for over 100% or more; (iii) the Inflated Profit from the increases implemented as part of

Defendants’ Price-Hike Strategy was a necessary foundation of Teva’s purported financial success

over that time; and (iv) while Defendants claimed not to have seen any changes in the pricing

environment, (a) internally, Teva’s profits from price increases had decreased precipitously, from

as much as $236 million in Q2 2015, to $218 million in Q3 2015, to $166 million in Q4 2015, a

decline of $70 million, or 30%, in two quarters, and (b) Teva was increasingly unable to implement

further price increases, as it had in the past.

        278.    The table below reflects Teva’s improved profits as reported by the Company in

2015, as well as the YOY change in Inflated Profits for the same period:

        2015 ($ millions)           Q1            Q2        Q3      Q4         Full Year
        Reported YOY
        Change in Generic           $296          $193      $20     $7          $516
        Profit
        (Unreported) YOY
        Change in Inflated          $108          $76       $25     -$53        $155
        Profit

        279.    During a March 8, 2016 Cowen conference, Olafsson touted the increased

profitability of Teva’s generics segment, attributing it to sources other than price increases:

        In terms of growing the profitability, from 2013 to 2015, we grew the operating
        profit of the generic business from 17% in 2013, and we exited for the full year of
        2015 we were at 28.1%. So it’s about 1,100 basis points we improved the
        profitability on approximately $10 billion in revenue. So it was a significant
        improvement over a 24-month period. Part of that was due to the improvement in
        our cost of goods sold, very important in consolidation of plants and looking for
        the money there. But also part of it was due to portfolio selection and the cost
        infrastructure.



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       280.    Later on the call, a Cowen analyst asked Olafsson: “Can you discuss what you’re

seeing,” in generics pricing, “what you’re observing, and then maybe in the context of what you’re

hearing from others, both US and ex-US?” In response, Olafsson declared:

       So we came out in our fourth quarter results, and told the market that we had seen
       approximately 4% price decline in the US market in 2015.... I think overall the pricing
       hasn’t changed that much. There was a lot of talk about inflation in generic pricing.
       But we never saw that.... [I]nflation never really happened in the generic business....
       I don’t see any big changes in the pricing environment. It’s relatively stable. 4% is
       worse than maybe two years ago. But it’s similar to what we saw in 2014.

       281.    The statements referenced in ¶¶278-280 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Teva had by then generated over $1.7 billion in profit from price increases on dozens of generic

drugs from 2013 through 2015, pursuant to the Price-Hike Strategy, which was far more than the

$1.1 billion in improved generic profit touted by Olafsson; (ii) via the Price-Hike Strategy, Teva

had inflated the prices on 60 base-business generic drugs from July 2013 through Q1 2016, and had

generated well over $1.7 billion in Inflated Profit from the beginning of the Relevant Period through

the end of 2015; (iii) the Inflated Profit generated by the Price-Hike Strategy had drastically fallen

and “the pricing” had changed and was not like it had been in 2014; and (iv) Teva implemented at

least 32 price increases that year alone, while, in 2016, it would make only five, all of which were

on prices of drugs that had been previously increased.

       282.    On May 9, 2016, Teva filed its first quarter 2016 financial statements on Form 6-K

with the SEC (the “Q1 2016 6-K”). The Q1 2016 6-K disclosed a YOY decline in generic profit

of $215 million, or 27%, attributed “primarily” to “lower gross profit, as well as higher R&D

expenses,” while lower gross profit was purportedly “mainly a result of lower sales of high gross

profit products in the United States, higher production expenses and lower gross profit in our

European markets.”



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       283.     The statements referenced in ¶282 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Teva’s

Inflated Profit declined from as much as $228 million in Q1 2015 to $124 million in Q1 2016, a

decline of $104 million or 46%; (ii) that YOY decline in Inflated Profit comprised as much as 48%

of the YOY decline in generic segment profit, and was more than four times the $25 million YOY

increase in R&D expenses to which the Defendants attributed the results; and (iii) the Price-Hike

Strategy was unsustainable, as the Inflated Profits were drastically declining, and Teva was

increasingly unable to make more hikes.

       284.     Teva’s Notes Registration Statement signed by Vigodman, Desheh, and Griffin, and

the Notes Final Prospectus both incorporate by reference the false and misleading statements

contained in the Q1 2016 6-K.

       285.     On the same day, Teva held an investor earnings call. In his opening remarks,

Olafsson explained away the decline in generic profit margin by blaming it on issues other than

pricing:

       When compared to first quarter 2015, the operating profit declined by 360 basis
       points, fully explained by the exclusive launch of generic Nexium, esomeprazole,
       in the first quarter 201[5]. Excluding the exclusivity period of esomeprazole in first
       quarter, the profit margin of the generic segment was 24.4%.

       286.     Also on that call, Olafsson, while asserting he would “do my best to provide you

with as much color as possible,” claimed that Teva was immune from downward pricing trends:

       Teva has not seen any fundamental change or worsening in the pricing environment
       – something we have been consistent about telling investors all year. Teva
       experienced approximately 4% price erosion in the United States last year, and our
       guidance for this year is that it will remain the same.... From where I sit today, there
       is nothing that changes my mind about that. Nothing has happened in the last two
       quarters that has changed the pricing environment. What this boils down to is each
       individual company’s business model[.]




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       287.    The slides presented by Olafsson during the conference call echoed Olafsson’s

statements:

       What has changed in the US pricing environment since Q4 2015? The short answer
       is . . . nothing . . . . There is no change in the pricing environment . . . . It all comes
       down to each company’s business model . . . . Why is Teva generics performance
       better than most Gx companies? Portfolio optimization . . . [and] [n]ew products[.]

       288.    During the May 9, 2016 earnings call, Olafsson also offered the supposed reasons

why Teva’s generics division had achieved success over several years, and thus was differently

positioned compared to its competitors who were reporting increased pricing pressure:

       We have taken a significant step to transform our generic business, solidify our
       foundation, increase our profitability, and to better position us to generate
       sustainable long-term growth. These many steps have included portfolio
       optimization, strengthening our capabilities in R&D, and manufacturing of
       complex products, regaining a leading position in submission on first-to-files,
       enhancing our go-to-market, and sales force effectiveness capabilities, and much,
       much more. These are the very capabilities that companies must possess in order to
       thrive at the global level. We have created a unique and differentiated platform,
       positioned to extract significant value in the global growing generic space.

       289.    The statements referenced in ¶¶284-288 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

they excluded entirely the decline in Teva’s Inflated Profits from the unsustainable Price-Hike

Strategy, including the steep decline of $42 million in Inflated Profit from Q4 2015 to Q1 2016,

and the $104 million YOY decline compared to Q1 2015; (ii) that YOY decline comprised 48%

of the decline in YOY generic profit that Olafsson attributed to a decline in sales of generic

Nexium, reflecting that Defendants could no longer maintain the Inflated Profits generated by the

increases implemented since July 2013, nor could they make further price increases; (iii) far from

not seeing “any fundamental change or worsening in the pricing environment,” Teva’s Price-Hike

Strategy of generating billions in profits from price increases was collapsing; (iv) in Q3 2015, Teva

earned as much as $218 million in Inflated Profits from price increases, while in Q1 2016 it earned



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$124 million; (v) while, in 2015, Teva made 21 price increases on generic drugs, in 2016 it would

implement only five, all of which were on prices of drugs which had previously been increased;

(vi) while attributing Teva’s supposed past success to other factors, Olafsson had a duty to disclose

but concealed the full truth that Teva had generated as much as $1.9 billion in Inflated Profits from

price hikes reported since the start of the Relevant Period; and (vii) Teva’s Inflated Profits had

begun to dry up due to the unsustainability of the Price-Hike Strategy, and the materialization of

the risks concealed by Defendants (recently reported by Teva’s competitors, namely the risk of

increased pricing pressure due to increased public, Congressional, and regulatory scrutiny of

generic drug price increases), which would result in increased competition and the inability to take

further price increases.

       290.    On May 10, 2016, Olafsson participated in a Bank of America conference, and

claimed that Teva was immune from pricing pressure:

       [T]here’s nothing I have seen which shows a worsening pricing environment. We
       saw a price erosion in the US last year of approximately 4%[.]

       I know many of the competitors in the generic space, and in the specialty space, are
       talking about a lot of pricing pressure, but it shouldn’t be. There is nothing that has
       happened over the last two quarters which has changed fundamental the market.
       And I feel that we are blaming the environment on individual company’s business
       model more than anything else because as long as you have the right portfolio, you
       have had the right investment in R&D, you really have a strong opportunity.

       291.    During a June 3, 2016 Sanford C. Bernstein conference, in response to an analyst

question regarding pricing pressure, Vigodman stated Teva was not facing increased pricing

pressure:

       So we are very consistent. Our message was conveyed, and we will continue to
       convey. What we see is a 4% to 5% erosion. That’s what we see. That’s not
       something which is different from what we said during 2015. By the way, we
       continue saying it in 2016. I think our results in Q1 demonstrated that.




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       292.    During a June 8, 2016 Goldman Sachs Global Healthcare Conference, Olafsson

conveyed a similar response to a question from a Goldman Sachs analyst regarding pricing

pressure:

       But really, the environment hasn’t changed. When we signed that deal in July, we
       talked about 4% price erosion in the US generic business. And we are still talking
       about the same number, what we see in the base business.

       293.    The statements referenced in ¶¶290-292 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Teva was experiencing a drastic decline in Inflated Profits from price increases, the inability to

make additional price increases, and, in the past two quarters, the acceleration of the deterioration

of the pricing environment; (ii) Teva’s Price-Hike Strategy was proving to be unsustainable, with

Inflated Profits declining by $104 million in Q1 2016 as compared to Q1 2015, as the risks

concealed by Defendants’ strategy began to materialize; and (iii) these risks including increased

pricing pressure and the inability to take further price increases due to increased public, legislative,

and regulatory scrutiny of generic drug price increases, which resulted in increased competition.

       294.    In a July 13, 2016 call held by the Defendants to announce the acceleration of

Teva’s debt offering, including the Notes Offering, to the end of July, which, on the May 9, 2016

investor call, had been scheduled to occur in September 2016 or in Q4 2016, a Citigroup analyst

asked about pricing: “[C]an you comment on the generics pricing assumptions that you have baked

into your forecast? Following on that, Siggi, maybe you could just comment on the generics pricing

environment, more broadly, that you are currently seeing in the marketplace.” In response

Olafsson indicated that Teva had still not seen any change in the pricing environment, and that this

stable pricing was baked into the assumptions underlying Teva’s guidance and projections:

       Our assumption and what we assume is basically approximately 5% organic growth
       that we see year on year.... In terms of generic pricing in the second quarter, we saw
       no change in the pricing. We saw a stable environment, as we talked about, from first


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       quarter into second quarter. Obviously, in second quarter, as we have highlighted to
       investors, there was no significant new launches that we saw in Teva, which
       obviously impacts the overall generic numbers. The pricing has remained stable. . . .
       Our assumption for the rest of the year is basically assuming the same pricing erosion.
       It is difficult to say; but as I’m sitting here today, with the information I have in hand,
       we are assuming and now forecasting for the guidance for the remainder of the year
       same pricing assumption as we have had for the first half of the year.

       295.    The statements referenced in ¶294 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Teva’s price

erosion assumption was not based on “stable” pricing in which there was “no change” in the second

quarter or the “first half of the year”; (ii) Teva was at that time experiencing a drastic decline in

Inflated Profit from price increases, the inability to make additional price increases, and, over the

past year, the acceleration of the deterioration of the pricing environment; (iii) Teva generated $10

million less in Inflated Profits from the first quarter of 2016 to the second quarter of 2016, which

was part of a trend of steep decline; (iv) Teva generated $122 million less Inflated Profits in the

second quarter 2016 than it had in the second quarter of 2015; (v) in the first two quarters of 2015,

Teva made as much as $464 million in Inflated Profits; (vi) in the first two quarters of 2016, Teva

made $238 million; (vii) in the first half of 2015, Teva had made 14 price increases; and (viii) in the

first half of 2016, Teva only made five price increases, generating less than $12 million by the end

of the Relevant Period.

       296.    On July 13, 2016, Teva filed the Notes Registration Statement, signed by

Vigodman, Desheh, and Griffin. On July 19, 2016, Teva filed the Notes Final Prospectus. The

Notes Registration Statement and the Notes Final Prospectus incorporated by reference the 2015

20-F and the Q1 2016 6-K. The incorporated 2015 20-F and Q1 2016 6-K contained false and

misleading financial disclosures, as described above.

       297.    On August 4, 2016, Teva filed its second quarter 2016 financial statements on Form

6-K with the SEC (the “Q2 2016 6-K”). The Q2 2016 6-K disclosed a YOY decline in generic


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profit of $115 million, or 16%, attributed “primarily” to “lower gross profit,” which in turn was

purportedly “mainly a result of loss of exclusivity on certain products as well as increased

competition on other products in the United States . . . and higher production expenses[.]”

       298.    On the same day, Teva held an investor earnings conference call. During the call,

Desheh attributed the poor performance of the Company’s generic segment to factors other than a

decrease in Inflated Profits: “Revenues of our US generics business was impacted by competition

to our Aripiprazole, Esomeprazole, and Budesonide which were the major drivers of our generic

business in the US in the second quarter last year.”

       299.    Also during that call, and in response to a Citigroup analyst’s inquiry regarding

pricing stability, Olafsson denied seeing any change in the pricing environment:

       [T]he pricing is stable to the same degree as before. We saw approximately in the
       US, 4% price erosion in the business, in a way very stable from the first quarter.
       And the global pricing impact we saw in the business, in the generic business was
       approximately 5%. So we are pleased with the environment.

       300.    Olafsson then reiterated the same false and misleading sentiment later in the call:

“So overall, the business itself is fairly stable. As I mentioned in the beginning, we are seeing

exactly the 4% price erosion . . . 4% price erosion in the US.”

       301.    In response to a question from a J.P. Morgan analyst regarding whether Teva could

implement price hikes following the Actavis acquisition, Olafsson stated:

       I think the pricing comes with shortages in the market. If you have an exclusive
       product, if there’s some kind of dysfunction in the market, there might be a small
       pricing opportunity that usually comes in and comes out. But overall, the size, and
       being a combined company doesn’t play into that.

       302.    The statements referenced in ¶¶296-301 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Inflated Profits declined from as much as $236 million in Q2 2015 to $114 million in Q2 2016, a

decline of $122 million or 52%; (ii) that YOY decline in Inflated Profits comprised nearly all of


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the YOY decline in generic profit; (iii) the statements further concealed that the Price-Hike

Strategy was unsustainable, as the Inflated Profits were drastically declining, and Teva was

increasingly unable to implement further hikes; (iv) in Q2 2016, Teva suffered a $122 million YOY

reduction in Inflated Profits from price increases compared to Q2 2015, and Teva was increasingly

unable to implement further price hikes, implementing only five, immaterial increases during 2016,

compared to 21 in 2015, and 32 in 2014, during the height of the strategy; (v) the statements

minimized Teva’s Price-Hike Strategy when, in reality, Teva took 76 price increases on 60 drugs,

most of which were for 100% or more, that were not associated with any such shortage or

dysfunction; and (vi) this left Teva very exposed to the pricing pressure facing the industry at the

time.

        303.   On September 7, 2016, Desheh participated in a Wells Fargo conference where he

was asked by a Wells Fargo analyst, “Teva has said during this whole, the last couple years, that

you’re not really seeing the same generic erosion, pricing erosion that some of the other companies

have mentioned or blamed. Is that still the case?” Desheh responded by claiming that Teva was

not experiencing increased pricing pressure:

        Now, with talking about prices of the base business, product that we’ve been selling
        more than two years already, the prices are very stable there.... [Y]ou don’t see --
        there you don’t see the erosion. Where we see erosion is ... [when] you have six
        months exclusivity, you start with the high price, and then obviously more
        competitors go into the market and the price goes down. But when we look at the
        base, there’s no – there’s no pressure on prices.

        304.   On Teva’s September 9, 2016 Generic Medicines Business Overview call with

analysts, the slides presented echoed that Teva was not experiencing a change in pricing pressure:

“Price erosion is nothing new . . . . Diverse portfolio and competitive cost structure allows for

long-term value creation.”




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       305.    The statements referenced in ¶¶303-304 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

while Desheh claimed that Teva’s base business was experiencing “no pressure on prices,” and the

slides claimed that “price erosion is nothing new,” Teva was suffering massive declines in Inflated

Profits and the inability to implement further hikes due to increased pricing pressure that was itself

the materialization of the risks concealed by the Defendants; and (ii) in Q2 2016, Teva suffered a

massive $122 million YOY reduction in Inflated Profits from price increases compared to Q2

2015, and Teva implemented only five immaterial hikes in 2016, compared to 21 in 2015, and 32

in 2014, demonstrating the unsustainability of the Price-Hike Strategy.

       306.    During the same call, Olafsson categorically denied Teva had increased prices on

its generic drugs: “There is no inflation in the generic pricing, which I will talk about.” Later

during that same call, in response to a Bank of America analyst’s question regarding the impact of

specialty drug pricing on generics, Olafsson responded: “[S]o first of all, we need to differentiate

generics from branded pricing. And people that say that the generic – there’s a big generic price

inflation, are simply wrong.” Olafsson even claimed that Teva had a “secret sauce” that immunized

the Company from price fluctuations.

       307.    The statements referenced in ¶306 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that each of these

statements minimized: (i) Teva’s practice of making price increases pursuant to the Price-Hike

Strategy, often by raising the price over 100% above the pre-inflation price, on 60 drugs or 22% of

its portfolio; (ii) the importance of the Inflated Profits from those price increases to the Company;

(iii) the unnatural price inflation in Teva’s book of generic drugs caused by those increases and the

attendant risks associated with such inflation; and (iv) that Teva was at the time experiencing a




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dramatic drop in Inflated Profits from those price increases and an inability to implement further

increases as a result of the materialization of the risks concealed by the Defendants.

        308.    During the September 9, 2016 call, Olafsson also responded to a question as to

whether Teva would be taking price increases following the Actavis acquisition, stating:

        So first of all, it doesn’t work like we wake up when we are one Company, and we
        can take price increases. Simply, it doesn’t work like that in generics. When price
        increases are taken, there’s some kind of abnormality in the business. There are
        shortages.

        309.    The statements referenced in ¶308 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) they implied

that because Teva only increased prices in limited circumstances, it was not exposed to price

deflation; and (ii) actually, Teva had raised the prices of 60 drugs, or 22% of its portfolio, via 76

price increases frequently by more than 100% of the original price, and thus had enormous price

inflation in its portfolio; none of the price increases related to shortages.

        310.    On November 15, 2016, Teva filed its third quarter 2016 financial statements on

Form 6-K with the SEC (the “Q3 2016 6-K”). The Q3 2016 6-K disclosed a YOY increase in U.S.

generic revenue of $261 million, or 25%, attributed to increased revenues from Actavis. But, after

removing Actavis’ $538 million in U.S. generic revenues that quarter, Teva’s U.S. generic

revenues from its legacy business suffered a YOY decline of $277 million, or 27%. In discussing

the increased revenues that were due to Actavis, Teva disclosed that those revenues were “partially

offset by loss of revenues following our divestment of certain products in connection with the

acquisition, a decline in sales of budesonide . . . due to increased competition and the loss of

exclusivity on esomeprazole.”

        311.    On the same day, Teva held an investor earnings conference call. During the call,

a Credit Suisse analyst asked



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       You mentioned that 7% erosion this quarter, but you said you’re confident it will
       still remain in the mid single-digits going forward . . . . [W]hat’s going to happen
       in the coming quarters [that] will be different than what you saw this quarter?”

Olafsson responded:

       Let me start on the drug pricing, so overall, like previous quarters, there hasn’t been
       any fundamental change in the US drug pricing. And what we saw in the difference
       between the 5% or mid single-digit we guided for going into it, versus exiting at
       7%, was the impact of the pricing impact on the divested product.

Olafsson doubled down on this explanation when pressed by an incredulous analyst from

J.P. Morgan, who asked how Teva was sure that the decline was not the same pricing pressure

seen throughout the market. Olafsson reiterated “where I sit here today, experiencing the market,

there hasn’t again been any fundamental change.”

       312.    On the same call, a Wells Fargo analyst asked whether the stated 7% price erosion

experienced that quarter was a “result of having to tame previous price increases, or give back

some of those?” Olafsson denied the existence of a pricing trend beyond that caused by Actavis-

acquisition related divestitures:

       No, basically, the main reason . . . was that we had to divest a very good portfolio
       of products that had limited competition, so we had to divest it. What our customers
       did, as they do, is that there is a new player in the market that took over those
       products, and that became a pricing pressure on roughly about 60 molecules of --
       and these were one of our top -- the top molecules we had in our portfolio. So there
       was an instability that happened in the market during the month of August, when
       the new owners were taking market share. It didn’t change the fundamental of the
       market. It didn’t change the structure of the market, or the chemistry of the market,
       but we saw the impact on the divested molecule significantly more than we saw for
       on the rest of the portfolio which gave us a 7% versus 5%, which we assumed going
       into the quarter.

       313.    The statements referenced in ¶¶310-312 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Inflated Profit declined from as much as $218 million in Q3 2015 to $97 million in Q3 2016, a

decline of $121 million or 56%; (ii) that YOY decline in Inflated Profit comprised as much as 44%



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of the YOY decline in U.S. generic revenue from Teva’s legacy business, excluding the impact of

Actavis; (iii) the Price-Hike Strategy was unsustainable, as the Inflated Profit was drastically

declining, and Teva was increasingly unable to implement further hikes; (iv) Teva was in fact

experiencing a sustained and material decline in the pricing environment, particularly with regard

to the drugs whose price Teva had previously raised pursuant to the Price-Hike Strategy, in direct

contradiction to Olafsson’s specific denials; (v) Teva had inflated prices on 60 drugs, profited by

as much as over $2.1 billion since the start of the Relevant Period, and was now suffering from

drastic YOY reductions in Inflated Profits generated from those price hikes and an inability to

implement more; (vi) Teva’s Inflated Profits from price hikes had declined drastically, contributing

just $97 million in Q3 2016, a YOY reduction of $121 million, or 56%; (vii) the sharp decline in

Inflated Profits was a result of the materialization of the risks that the Defendants concealed as

they implemented their Price-Hike Strategy, namely increased pricing pressure resulting from

increased public, legislative, and regulatory scrutiny of generic drug pricing, which in turn resulted

in increased competition and the inability to implement further price hikes; and (viii) these were

not single-quarter issues related to divested products, as suggested by Olafsson, but rather a long-

term trend.

       314.    On September 15, 2016, Teva issued a press release from its North Wales,

Pennsylvania US headquarters, announcing that “the National Business Group on Health (NBGH),

a non-profit association of 425 large U.S. employers, honored Teva for having one of the best

workforce well-being programs in the nation.” Teva included in the press release a statement of

Lesley Billow, SVP HR, Americas, Teva, in which she claims that Teva maintains a “culture of

well-being… rooted in [its] purpose of ‘improving health, making people feel better,’ [which] is




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demonstrated within Teva by promoting healthy work environments and developing outstanding

programs for our employees that encourage good overall health.”

        315.    The statements referenced in ¶314 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that Teva’s “culture”

had encouraged executives and employees to implement the Price-Hike Strategy, which artificially

inflated the cost of generic pharmaceuticals for consumers, and caused substantial harm to be borne

by millions of patients in the United States.

        316.    During a December 8, 2016 Citi Global Healthcare Conference, Vigodman

announced that Teva would provide 2017 guidance early in January 2017. During the call,

Vigodman claimed Teva’s past success was not due to Inflated Profits from price hikes, stating:

        Since the start of 2014, one of our greatest priorities has been to increase the
        profitability of our generics business. In the first three years of this great effort, we
        have been able to improve significantly the margins of Teva’s standalone generics
        business. This has been accomplished with a strong emphasis on the cost of goods
        sold, product mix, and the overall cost structure.

        317.    The statements referenced in ¶316 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that via Price-Hike

Strategy, Teva made at least 76 systematic price hikes since July 2013, many of which were in

excess of 100% of the prior price, contributing over $2.2 billion to Teva’s profit from the start of

the Relevant Period through, at least, the end of 2016. Critically, Defendants’ failure to disclose

the Price-Hike Strategy precluded investors from learning that the Company’s growth and

financial results were unsustainable, at risk of significant decline, and expose the Company to

substantial criminal and civil liability.

        318.    On February 13, 2017, Teva filed with the SEC a press release (“Q4 2016 Press

Release”) reporting the Company’s fourth quarter 2016 and full year 2016 financial results. Two

days later, on February 15, 2017, Teva filed its Form 20-F for the fiscal year ended December 31,


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2016 with the SEC (the “2016 20-F”) reporting the Company’s FY 2016 financial results

(collectively, the “Q4 and FY 2016 Statements”). The 2016 20-F disclosed a YOY decline in U.S.

generic revenues of $200 million, or 5%. When removing the impact of Actavis’ $1.168 billion

in U.S. generic revenues, Teva’s U.S. generic revenues from its legacy business suffered a YOY

decline of $1.4 billion, or 29%. Per the 2016 20-F this decline purportedly:

       [R]esulted mainly from the loss of exclusivity on esomeprazole . . . and aripiprazole
       . . . a decline in the sales of budesonide . . . due to increased competition, loss of
       revenues following our divestment of certain products in connection with the
       Actavis Generics acquisition and the decline in sales of capecitabine.

       319.    The statements referenced in ¶318 were materially false and misleading because

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Teva’s

Inflated Profits declined from as much as $848 million in 2015 to $421 million in 2016, a decline

of $427 million or 50%; (ii) that YOY decline in Inflated Profit comprised 31% of the YOY decline

in U.S. generic revenue from Teva’s legacy business, excluding the impact of Actavis; (iii) even

giving Teva the benefit of Actavis’ 2016 revenues, the YOY decline in Inflated Profit was more

than double the $200 million YOY decline in U.S. generic revenues; and (iv) Teva’s Price-Hike

Strategy was unsustainable, as Inflated Profits were drastically declining, and Teva was unable to

implement more hikes.

       320.    On May 11, 2017, Teva filed with the SEC a press release (“Q1 2017 Press

Release”) reporting the Company’s first quarter 2017 (“Q1 2017”) financial results, and held an

investor earnings conference call (the “May 10, 2017 Earnings Call”). That same day, Teva filed

its Form 6-K for the fiscal quarter ended March 31, 2017 with the SEC (the “Q1 2017 6-K”)

reporting the Company’s Q1 2017 financial results.

       321.    The Q1 2017 6-K disclosed total revenues from generic medicines in the United

States, of $1.4 billion in the first quarter of 2017, an increase of 41% compared to the first quarter



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of 2016. The Company primarily attributed the increase in revenue to “the inclusion of Actavis

Generics revenues and products sold in the first quarter of 2017 that were not sold in the first

quarter of 2016,” which were also “partially offset by a decline in sales due to increased

competition, mainly to aripiprazole (the generic equivalent of Abilify) and budesonide (the generic

equivalent of Pulmicort) and loss of revenues following our divestment of certain products in

connection with the acquisition.”

       322.    The statements referenced in ¶¶320-321 were materially false and misleading

because, having attributed the sources offsetting the increased revenues from Actavis, the

Defendants had a duty to disclose but concealed the full truth that its generic drug revenue and

Inflated Profits declined YOY. Further, Defendants failed to disclose that via Price-Hike Strategy,

Teva made at least 76 systematic price hikes since July 2013, many of which were in excess of

100% of the prior price, contributing over $2.2 billion to Teva’s profit from the start of the

Relevant Period through, at least, the end of 2016. Critically, Defendants’ failure to disclose the

Price-Hike Strategy and the impact of increased scrutiny on its Strategy precluded investors from

learning that the Company’s growth and financial results were unsustainable, at risk of significant

decline, and expose the Company to substantial criminal and civil liability.

       323.    On the May 10, 2017 Earnings Call, Jami Rubin, Goldman Sachs & Co., pressed

the Company’s executives as “to what extent has pricing pressure in the business paid or had an

impact on [Teva’s] gross margins?”

       324.    Desheh failed to acknowledge increased legal scrutiny on Teva’s Price-Hike

Strategy following the DOJ and State AGs investigations, which would result in material price-

erosion for the Company’s generic drug portfolio. Rather, Desheh simply responded that “pricing

pressure . . . did not have an impact on our gross margin. I think we said in the prepared remarks,




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the gross profit margin of our U.S. business or U.S. Generic business remains exactly the same,

it’s around 55% or a bit higher and did not suffer – was not impacted by pricing pressure in generics

in Q1.”

          325.   The statements referenced in ¶¶323-324 were false and misleading because, having

concealed that Teva was in fact experiencing a sustained and material decline in the pricing

environment, was disproportionately reliant upon its Actavis acquisition for revenue, and was now

suffering from drastic reductions in Inflated Profits generated from those price hikes and an

inability to implement more, were particularly misleading.

          326.   On August 3, 2017, Teva filed with the SEC a press release (“Q2 2017 Press

Release”) reporting the Company’s second quarter 2017 (“Q2 2017”) financial results. That same

day, Teva filed its Form 6-K for Q2 2017 with the SEC (the “Q2 2017 6-K”) reporting the

Company’s Q2 2017 financial results.

          327.   The Q2 2017 6-K disclosed that Teva’s revenues from generic medicines in the

United States during the second quarter of 2017 were $1.3 billion, an increase of 45%, compared

to the second quarter of 2016. However, it was further stated that “[t]he increase resulted mainly

from the inclusion of Actavis Generics revenues and products sold in the second quarter of 2017

that were not sold in the second quarter of 2016, partially offset by a decline in sales due to

increased competition, mainly to budesonide (the generic equivalent of Pulmicort®) and

aripiprazole (the generic equivalent of Abilify®) and loss of revenues following our divestment of

certain products in connection with the Actavis Generics acquisition.”

          328.   The statements referenced in ¶¶326-327 were materially false and misleading

because, having attributed the sources offsetting the increased revenues from Actavis, the

Defendants had a duty to disclose but concealed the full truth that its generic drug revenue and




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Inflated Profit declined YOY. Further, Defendants failed to disclose that via Price-Hike Strategy,

Teva made at least 76 systematic price hikes since July 2013, many of which were in excess of

100% of the prior price, contributing over $2.2 billion to Teva’s profit from the start of the

Relevant Period through, at least, the end of 2016. Critically, Defendants’ failure to disclose the

Price-Hike Strategy and the impact of increased scrutiny on its Strategy precluded investors from

learning that the Company’s growth and financial results were unsustainable, at risk of significant

decline, and expose the Company to substantial criminal and civil liability.

       329.    The Q2 2017 6-K further disclosed that “Teva recorded a goodwill impairment

charge of $6.1 billion related to its U.S. generics reporting unit in the second quarter of 2017. The

remaining goodwill allocated to this reporting unit amounts to $15.5 billion as of June 30, 2017.”

The Q2 2017 6-K stated in relevant part:

       During the second quarter of 2017, Teva identified certain developments in the
       U.S. market, which negatively impacted Teva’s outlook for its U.S. generics
       business. These developments included: (i) additional pricing pressure in the U.S.
       market as a result of customer consolidation into larger buying groups to extract
       further price reductions; (ii) accelerated FDA approval of additional generic
       versions of off-patent medicines, resulting in increased competition for these
       products; and (iii) delays in new launches of certain of Teva’s generic products.
       These developments caused Teva to revisit its assumptions supporting the cash flow
       projections for its U.S. generics reporting unit, including: (i) expected price erosion
       and certain revenue growth assumptions; (ii) the associated operating profit
       margins; and (iii) the terminal growth rate of its U.S. generics reporting unit.

       Teva determined the fair value of the reporting units using a weighting of fair values
       derived from the income approach. The income approach is a forward-looking
       approach to estimating fair value and utilizes the 2017 remaining year forecast,
       projections for growth off that base with an associated price erosion as well as
       terminal growth rate. Within the income approach, the method that was used is the
       discounted cash flow method. Teva started with a forecast of all the expected net
       cash flows associated with the reporting unit, which includes the application of a
       terminal value, and then applied a discount rate to arrive at a net present value
       amount. Cash flow projections are based on Teva’s estimates of revenue growth
       rates and operating margins, taking into consideration industry and market
       conditions. The discount rate used is based on the weighted-average cost of capital
       adjusted for the relevant risk associated with country-specific characteristics.



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       Based on the revised discounted cash flows analysis, Teva recorded a goodwill
       impairment charge of $6.1 billion related to its U.S. generics reporting unit in the
       second quarter of 2017. The remaining goodwill allocated to this reporting unit
       amounts to $15.5 billion as of June 30, 2017.

       330.    The above-statements were also false and misleading because, as a result of its

illegal Price-Hike Strategy, Teva overstated the value of its goodwill on its balance sheet and

understated the Company’s goodwill impairment charge. Consequently, the Company’s reported

operating income and net earnings were inflated by billions of dollars.

       331.    On November 2, 2017, Teva filed with the SEC a press release (“Q3 2017 Press

Release”) reporting the Company’s second quarter 2017 (“Q3 2017”) financial results, and held

an investor earnings conference call (the “November 2, 2017 Earnings Call”). That same day, Teva

filed its Form 6-K for Q3 2017 with the SEC (the “Q3 2017 6-K”) reporting the Company’s Q3

2017 financial results.

       332.    Teva reported revenues from generic medicines in the United States during the third

quarter of 2017 of $1.2 billion, a decrease of 9%, compared to the third quarter of 2016. The

Company attributed decline in revenue “to pricing declines resulting from customer consolidation

into larger buying groups and accelerated FDA approvals for additional generic versions of

competing off-patent medicines as well as volume decline of methylphenidate extended-release

tablets (Concerta authorized generic) due to the launch of a competing product, partially offset by

the inclusion of three months of Actavis Generics revenues in this quarter, compared to two months

in the third quarter of 2016.”

       333.    Teva also stated in the Q3 2017 6-K, that “[g]iven certain developments in its

businesses and especially the significant decline of its share price during the third quarter of 2017,

Teva reassessed its cash flow projections for its reporting units as of September 30, 2017, focusing

on its specialty reporting unit and its U.S. generics reporting unit.” The Company added that “[a]s



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part of this assessment, Teva considered the sensitivity of estimates and assumptions used in the

latest projections and the sensitivity of changes to the prior projections on its June 30, 2017

impairment testing.”

        334.    Teva elaborated on the various “developments in the U.S. [generics] market” which

it claimed to identify as effecting its operations, stating in relevant part:

        U.S. generics reporting unit

        During the second quarter of 2017, Teva identified certain developments in the U.S.
        market, which negatively impacted Teva’s outlook for its U.S. generics business.
        These developments included: (i) additional pricing pressure in the U.S. market as
        a result of customer consolidation into larger buying groups to extract further price
        reductions; (ii) accelerated FDA approval of additional generic versions of off-
        patent medicines, resulting in increased competition for these products; and
        (iii) delays in new launches of certain of Teva’s generic products. These
        developments caused Teva to revisit its assumptions supporting the cash flow
        projections for its U.S. generics reporting unit, including: (i) expected price erosion
        and certain revenue growth assumptions; (ii) the associated operating profit
        margins; and (iii) the terminal growth rate of its U.S. generics reporting unit.

        In determining the discounted cash flow of Teva’s U.S. generics reporting unit,
        Teva used the following key assumptions: Teva expects revenue and operating
        profits to continue to decline in the next two years, as its ability to successfully
        launch new generic products is not expected to offset or exceed the price and
        volume erosion for its existing portfolio prior to 2020, following which time, in
        2020 and 2021, Teva expects to return to moderate growth. Teva assumes a terminal
        growth rate of 2% for the coming years, in line with recent general outlook for the
        U.S. generics market. The resulting cash flow amounts were discounted using a
        WACC of 6.8%, which Teva uses for most of its worldwide operations, except for
        the specialty reporting unit, as described above. If Teva holds all other assumptions
        constant, a reduction in the terminal growth rate by 0.1% or an increase in discount
        rate by 0.1% would each result in an additional impairment of approximately
        $450 million.

        Based on the revised discounted cash flows analysis, Teva recorded a goodwill
        impairment charge of $6.1 billion related to its U.S. generics reporting unit in the
        second quarter of 2017. The remaining goodwill allocated to this reporting unit
        amounted to $15.5 billion as of June 30, 2017, and remained unchanged as of
        September 30, 2017.

        As of September 30, 2017, Teva adjusted the projections for its U.S. generics
        reporting unit to reflect favorable events, partially offset by further increased
        pressure in the U.S. generics market. Teva believes that risks are appropriately


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       reflected in the cash flow projections and therefore no risk premium is required to
       the discount rate of 6.8%. The adjustments to the projections resulted in a slight
       increase of the fair value over carrying value with a percentage difference of 1%.
       Goodwill allocated to this reporting unit remained unchanged as of September 30,
       2017.

       335.    On the November 2, 2017 Earnings Call, Teva’s executives were again questioned

on “the pricing trends in the Generic’s base business” and the “pricing declines of – or pressures

in the high single digit range.” Dipankar Bhattacharjee answered on behalf of Teva, and failed to

attribute the increased pricing erosion on the increased scrutiny of its Price-Hike Strategy:

       I will take the question on price erosion. As you may recall, last quarter we
       explained the methodology that we adopt for our price erosion for the base business,
       which excludes our new products, which are products that have been launched in
       the past 12 months, and transition products, which are products, which for one
       reason or another, had either enjoyed exclusivity or are enjoying some kind of a
       market exclusivity, for which they have had higher prices and volumes and are now
       going through a transition of lower prices and volumes.

       So in the second quarter we reported a price erosion of a little over 6% for our base
       business, compared to the comparable quarter of the prior year. Since then in our
       third quarter we have seen an increase in price erosion. And as Mike explained that
       we have now seen in the third quarter the price erosion to be 10%.

       This is primarily driven by two factors. The first is that the increasing FDA
       approvals that are happening for products, for which already generics players
       exist in the market. So the new players try and drive some gains in market share
       based on volumes – based on lower prices.

       And the second is that the consolidation of the three – of the customers into three
       GPOs, which now account for more than 85% of Generics purchases in the U.S.
       market, has also via their RFP, have created additional pricing pressure.

       336.    The statements referenced in ¶¶331-335 were materially false and misleading

because, having attributed the decline to “larger buying groups and accelerated FDA approvals”,

and the sources of offsetting increased revenues from Actavis, the Defendants concealed the full

truth that Teva’s generic drug revenue and Inflated Profits declined YOY. Further, Defendants

failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price hikes since

July 2013, many of which were in excess of 100% of the prior price, contributing over $2.2 billion


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to Teva’s profit from the start of the Relevant Period through, at least, the end of 2016. Critically,

Defendants’ failure to disclose the Price-Hike Strategy and the impact of increased scrutiny on its

Strategy precluded investors from learning that the Company’s growth and financial results were

unsustainable, at risk of significant decline, and expose the Company to substantial criminal and

civil liability. Additionally, the above-statements were false and misleading because, as a result

of its illegal Price-Hike Strategy, Teva overstated the value of its goodwill on its balance sheet and

understated the Company’s goodwill impairment charge. Consequently, the Company’s reported

operating income and net earnings were inflated by billions of dollars.

       337.    On November 15, 2017, Teva issued a press release from its North Wales,

Pennsylvania US headquarters, announcing “the launch of a prescription copay assistance program

in the U.S. for the Company's generic equivalent to Gleevec®1 (imatinib mesylate) tablets.” The

press release included a statement by Andy Boyer, Teva’s President & CEO, Global Generic

Medicines, North America, where he claimed that “[t]his effort further reinforces Teva’s long-

standing commitment to providing access to our medicines… Given today's economic climate,

programs that help alleviate the high copay costs that many patients face are increasingly

important.”

       338.    The press release concluded:

       Teva remains committed to strengthening its generics business with continued
       investment in new and diverse, high quality products. With nearly 600 generic
       medicines available, Teva has the largest portfolio of FDA-approved generic
       products on the market and holds the leading position in first-to-file opportunities,
       with over 100 pending first-to-files in the U.S. Currently, one in seven generic
       prescriptions dispensed in the U.S. is filled with a Teva generic product.

       339.    The statements referenced in ¶¶337-338 were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i)

Teva had implemented a Price-Hike Strategy, which artificially inflated the cost of generic



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pharmaceuticals for consumers; (ii) consequently, patients in the United States would suffer and

struggle to afford the rising costs of the generic pharmaceuticals sold by Teva; and (iii) Teva

maintained its market leading position in generic pharmaceutical prescriptions through an illegal

Price-Hike Strategy.

       340.    On February 2, 2018, the Company filed its annual report on Form 10-K with the

SEC (the “2017 10-K”), announcing reporting the Company’s fourth quarter 2017 (“Q4 2017”)

and full year 2017 (“FY 2017”) financial results.

       341.    The 2017 10-K touted its generic drug portfolio:

       In 2017, we led the U.S. generic market in total prescriptions and new prescriptions,
       with approximately 583 million total prescriptions, representing 15.2% of total U.S.
       generic prescriptions, according to IQVIA data. 6 We will continue to focus our
       efforts in the United States on maintaining our position as an industry leader in
       introducing new generic equivalents for brand-name products on a timely basis,
       with a focus on complex generics and other high-barrier products that will create
       value for our patients. We will conduct a substantial optimization of the generics
       portfolio globally, and most specifically in the United States, through a more
       tailored approach to the portfolio with increased focus on profitability. These
       efforts will be supported by our strong emphasis on customer service, the breadth
       of our product pipeline and our commitment to quality and regulatory compliance.

       342.    The Company disclosed that it generated $5 billion in revenues from generic

medicines in the United States in FY 2017:

       Revenues from generic medicines in the United States in 2017 were $5.0 billion,
       an increase of 11% compared to $4.6 billion in 2016. The increase resulted mainly
       from the inclusion of Actavis Generics revenues for the full year of 2017 compared
       to five months in 2016 and products sold in 2017 that were not sold in 2016,
       partially offset by:

           •   decline in sales of budesonide (the generic equivalent of Pulmicort®) and
               methylphenidate extended-release tablets (Concerta® authorized generic)
               due to increased competition;

           •   price erosion resulting from the following factors:


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       IQVIA (formerly IMS Health Inc.) is a provider of market research to the pharmaceutical
industry,


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           •   customer consolidation into larger buying groups; and

           •   accelerated FDA approvals for additional generic versions of competing
               off-patent medicines; and

           •   loss of revenues following our divestment of certain products in connection
               with the Actavis Generics acquisition.

       343.    The 2017 10-K also revealed that the Company incurred a $10.4 billion impairment

charged related to its U.S. generics reporting unit in the fourth quarter of 2017:

       U.S. generics reporting unit

       During the second quarter of 2017, Teva identified certain developments in the
       U.S. market, which negatively impacted Teva’s outlook for its U.S. generics
       business. These developments included: (i) additional pricing pressure in the U.S.
       generics market as a result of customer consolidation into larger buying groups
       to extract further price reductions; (ii) accelerated FDA approval of additional
       generic versions of off-patent medicines, resulting in increased competition for
       these products; and (iii) delays in launches of certain of Teva’s new generic
       products. These developments caused Teva to revisit its assumptions supporting
       the cash flow projections for its U.S. generics reporting unit, including: (i) the
       expected duration and depth of price erosion and certain revenue growth
       assumptions; (ii) the associated operating profit margins; and (iii) the long term
       growth rate.

       In estimating the discounted cash flow value of Teva’s U.S. generics reporting unit
       as of the second quarter of 2017, Teva used the following key assumptions: Teva
       expected revenue and operating profits to continue to decline in 2018 and 2019, as
       its ability to successfully launch new generic products was not expected to offset
       or exceed the price and volume erosion for its existing portfolio prior to 2020,
       following which time, in 2020 and 2021, Teva expected to return to moderate
       growth. Teva assumed a terminal growth rate of 2% for the coming years, in line
       with recent general outlook, at the time, for the U.S. generics market. The resulting
       cash flow amounts were discounted using a weighted average cost of capital
       (“WACC”) of 6.8%.

       Based on the second quarter revised discounted cash flows analysis, Teva recorded
       a goodwill impairment of $6.1 billion related to its U.S. generics reporting unit.

       During the third quarter of 2017, Teva adjusted the projections for its U.S. generics
       reporting unit to reflect a potentially beneficial event, offset by further pricing
       pressure in the U.S. generics market, and concluded that no additional impairment
       was required.




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During the fourth quarter of 2017, Teva noted further deterioration in the U.S.
generics market and economic environment and further limitations on Teva’s
ability to influence generic medicines pricing in the long term and a decrease in
value from future launches:

        •       Pricing challenges due to customer consolidation. In prior periods,
it appeared to be reasonable that as price erosion in the generics market continued,
other manufacturers would exit particular generic markets, resulting in
opportunities to eventually reduce overall erosion with price increases for certain
products with decreasing competition after the exit of other manufacturers.
However, increasing consolidation among purchasers of generic medicines,
particularly Group Purchasing Organizations (“GPOs”), has led to three such GPOs
representing approximately 80% of generics purchases in the United States. This
led to a continuation and increase in the trend of “lowest price” tenders. Therefore,
it now appears likely that there will be few, if any, opportunities to increase prices
even when other generics manufacturers exit a market.

        •      Pricing challenges due to government regulation. There is an
increasing trend of enacting and proposing state-level legislation in the United
States imposing penalties and/or restricting price increases, making pricing more
challenging. The inconsistent rules across states add to the complexity of how to
make decisions about the best economic outcome to maximize profit on a given
generic product and the most restrictive law will likely restrict Teva’s business
practices nationwide, as marketing, sales and pricing are typically not administered
on a state-by-state basis. Restrictive bills have passed in at least seven states,
including high-population states such as California and New York, and bills are in
the process of being re-submitted in ten additional states where they were
previously rejected, with approximately half of them already passed and/or
submitted for vote by January 2018.

        •       Increasing generic approvals. The FDA is approving more generic
formulations than they have in the past, which is affecting the value of already
launched products. On January 3, 2018, the FDA commissioner announced new
steps to facilitate efficient generic drug review to enhance competition, promote
access and lower drug prices. The commissioner also stated that the FDA had
several record-breaking months for the number of generic medicines approved,
including November 2017, when it approved the highest number of generic
medicines in the FDA’s history.

Being the first to market a generic version of a product, and particularly as the only
company authorized to sell during the 180-day period of exclusivity in the U.S.
market, can substantially increase sales, profits and profitability in the period
following the introduction of such a product and prior to a competitor’s introduction
of an equivalent product. Even after the exclusivity period ends, there is often
continuing benefit from having the first generic product in the market. Pricing is
generally higher during periods of limited competition. The FDA has also limited
the availability of exclusive or semi-exclusive periods for new products with an


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increase in shared first to file awards, which reduces the economic benefit from
being first-to-file for generic approvals

In contrast to the FDA’s accelerated approval of additional generic versions of off-
patent medicines, the rate of FDA approval for a generic version of originator drugs
without generic competition has not significantly increased. Thus, Teva’s ability to
launch profitable new products has not benefited from the FDA’s increased focus
on approving generic applications. Additionally, much of Teva’s future pipeline is
concentrated in complex or unique products coupled with devices, which take
longer time for FDA approval.

       •     Originator strategies to maintain market share. Originator
companies increasingly engage in strategies beyond authorized generics, to
maintain market share of their originator drugs, reducing the value of newly
launched complex or novel generics.

         •      Changes to traditional distribution model. The traditional model
for distribution of pharmaceutical products is also undergoing disruption as a result
of the entry or potential entry of new competitors and significant mergers among
key industry participants, which Teva believes will limit its future growth in the
U.S. generics market. For example: (i) in January 2018, several major hospital
groups announced a plan to form a non-profit company that will provide U.S.
hospitals with a number of generic drugs; (ii) in January 2018, Amazon Inc.,
Berkshire Hathaway Inc. and JPMorgan Chase & Co. announced that they plan to
join forces by forming an independent health care company for their combined one
million U.S. employees; and (iii) the consolidation resulting from the merger
announced in December 2017 between CVS Health and Aetna, if consummated, is
expected to create a vertically integrated organization with increased control over
the physician and pharmacy networks and, ultimately, over which medicines are
sold to patients. Each of these events has the potential to drive further price erosion
and limit the growth opportunities for Teva’s U.S. generics unit.

        •      U.S. tax reform. Recently-enacted U.S. tax reform legislation is
expected to limit Teva’s ability to achieve targeted tax efficiencies compared to
prior estimates. See note 15.

In response to these developments, Teva’s recently appointed President and Chief
Executive Officer, Kåre Schultz, and the management team that was reorganized
under him, announced a comprehensive restructuring plan in December 2017,
aimed to increase the profitability of Teva’s U.S. generics business, among other
things. This plan focuses on discontinuation of loss generating products and
reductions of infrastructure costs, by closing facilities and executing divestments,
as well as a reduction in R&D expenditures, focusing on fewer, more profitable
opportunities to launch new generic medicines. In addition, Teva further evaluated
its assumptions and approach to valuing its pipeline and related projections. Due to
the increased risks and variables now impacting generics launches, Teva, with the
assistance of a global consulting firm, used a “Monte Carlo” model to simulate the


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       different outcomes for launch value to better predict the estimated value to be
       derived.

       As a result of the factors discussed above, Teva adjusted certain of its assumptions
       used in its cash flow projections in the fourth quarter of 2017 to determine the fair
       value of its U.S. generics reporting unit. In comparison to previous periods, Teva
       expects less revenues and profitability from newly launched products as well as
       larger pricing declines. As a result, Teva estimates a longer period will pass before
       it returns to revenue and profitability growth in its U.S. generics reporting unit.

       The resulting cash flow amounts were discounted using a slightly increased rate
       of 7.3% compared to prior quarters, reflecting market participants’ assumptions
       regarding increased uncertainties in the U.S. generics market. Teva still assumes
       a terminal growth rate of 2%.

       Based on the new estimates incorporating all of the above factors, Teva recorded
       a goodwill impairment of $10.4 billion related to its U.S. generics reporting unit
       in the fourth quarter of 2017. The aggregate goodwill impairment related to
       Teva’s U.S. generics reporting unit in 2017 was $16.5 billion.

       344.    The statements referenced in ¶¶340-343 were materially false and misleading

because, having attributed the decline to “larger buying groups” and “accelerated FDA approvals”,

and the sources of offsetting increased revenues from Actavis, the Defendants concealed the full

truth that Teva’s generic drug revenue and Inflated Profit declined YOY. Further, Defendants

failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price hikes since

July 2013, many of which were in excess of 100% of the prior price, contributing over $2.2 billion

to Teva’s profit from the start of the Relevant Period through, at least, the end of 2016. Critically,

Defendants’ failure to disclose the Price-Hike Strategy and the impact of increased scrutiny on its

Strategy precluded investors from learning that the Company’s growth and financial results were

unsustainable, at risk of significant decline, and expose the Company to substantial criminal and

civil liability. Additionally, the above-statements were false and misleading because, as a result

of its illegal Price-Hike Strategy, Teva overstated the value of its goodwill on its balance sheet and

understated the Company’s goodwill impairment charge. Consequently, the Company’s reported

operating income and net earnings were inflated by billions of dollars.


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        345.    On May 3, 2018, Teva filed a Form 10-Q with the SEC (the “Q1 2018 10-Q”)

reporting the Company’s financial results for first quarter 2018 (“Q1 2018”). The Company touted

in the filing that “[i]n the first quarter of 2018, we led the U.S. generics market in total prescriptions

and new prescriptions, with approximately 584 million total prescriptions, representing 15% of

total U.S. generic prescriptions according to IQVIA data.”’

        346.    However, the significant market share was unable to stem the loss of the Price-Hike

Strategy, and the Company reported that “revenues in [Teva’s] North America segment in the first

quarter of 2018 decreased by 23% to $1.1 billion, compared to the first quarter of 2017, mainly

due to lower volumes and continued price erosion.”

        347.    The statements referenced in ¶¶345-346 were materially false and misleading

because, the Defendants concealed the full truth that Teva’s generic drug revenue and Inflated

Profit declined YOY due to its inability to continue its illegal Price-Hike Strategy. Further,

Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price

hikes since July 2013, many of which were in excess of 100% of the prior price, contributing over

$2.2 billion to Teva’s profit from the start of the Relevant Period through, at least, the end of 2016.

Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of increased

scrutiny on its Strategy precluded investors from learning that the Company’s growth and financial

results were unsustainable, at risk of significant decline, and expose the Company to substantial

criminal and civil liability.

        348.    On May 29, 2018, Teva issued a press release from its North Wales, Pennsylvania

US headquarters, announcing “the launch of Life Effects[], a new patient-centric website

developed in collaboration with patients for people living with one or more chronic conditions,

focusing on the impact that a chronic condition has on a patient's day-to-day life.” Brendan




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O'Grady, Teva's Executive Vice President and Head of North America Commercial, touted the

Company’s recent efforts to “align[]” itself “to meet the evolving needs and expectations of

chronically ill patients around the country.” The press release continued:

       Earlier this year, Teva announced a new brand positioning--Teva is committed to
       providing innovative and high-quality medicines to enable people around the
       world to live better days--and a visual identity, including a new logo. The brand
       unifies Teva's businesses around the world after decades of acquisitions and
       incorporates the company's untold story on how it impacts the lives of millions of
       people globally every day. In addition to the U.S., Teva has rolled out the new brand
       in Canada, France, Russia and Argentina over the past year. Launches in additional
       markets are planned throughout 2018.

       349.    Iris Beck-Codner, Teva's Executive Vice President for Global Brand and Corporate

Communications, added that that “[t]he new brand is integral to making our mission of bringing

valuable medicines to patients easier to execute… Life Effects underscores our fresh, updated

approach to being more than the world's largest medicine cabinet. It also demonstrates, in a

tangible way, how we are evolving our proposition based on consumer and patient insights and

putting patients at the heart of what we do each and every day."

       350.    The statements referenced in ¶¶348-349were materially false and misleading

because Defendants made false and/or misleading statements and/or failed to disclose that: (i) Teva

had implemented a Price-Hike Strategy, which artificially inflated the cost of generic

pharmaceuticals for consumers; and (ii) consequently, patients in the United States would suffer

and struggle to afford the rising costs of the generic pharmaceuticals sold by Teva.

       351.    On August 2, 2018, Teva filed a Form 10-Q with the SEC (the “Q2 2018 10-Q”)

reporting the Company’s second quarter 2018 (“Q2 2018”). Therein, the Company reported that

in “the second quarter of 2018, [Teva] led the U.S. generics market in total prescriptions and new

prescriptions, with approximately 576 million total prescriptions, representing 14.8% of total U.S.

generic prescriptions according to IQVIA data.”



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        352.    However, the Company also reported a continued deterioration of its U.S. generics

business:

        Revenues from our North America segment in the second quarter of 2018 were
        $2.3 billion, a decrease of $906 million, or 29%, compared to the second quarter of
        2017, mainly due to a decline in revenues of COPAXONE® as well as an equally
        significant decline in revenues in our U.S. generics business and the loss of
        revenues from the sale of our women’s health business, partially offset by higher
        revenues from AUSTEDO® and our distribution business.

        353.    The statements referenced in ¶¶351-352 were materially false and misleading

because, the Defendants concealed the full truth that Teva’s generic drug revenue and Inflated

Profit declined YOY due to its inability to continue its illegal Price-Hike Strategy. Further,

Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price

hikes since July 2013, many of which were in excess of 100% of the prior price, contributing over

$2.2 billion to Teva’s profit from the start of the Relevant Period through, at least, the end of 2016.

Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of increased

scrutiny on its Strategy precluded investors from learning that the Company’s growth and financial

results were unsustainable, at risk of significant decline, and expose the Company to substantial

criminal and civil liability.

        354.    On November 1, 2018, Teva filed a Form 10-Q with the SEC (the “Q3 2018 10-

Q”) reporting the Company’s third quarter 2018 (“Q3 2018”). Therein, the Company reported that

“in the third quarter of 2018, we led the U.S. generics market in total prescriptions and new

prescriptions, with approximately 547 million total prescriptions, representing 14.1% of total U.S.

generic prescriptions according to IQVIA data.”

        355.    However, the Company also reported a continued deterioration of its U.S. generics

business, with revenues from its North America segment in the third quarter of 2018 of $2.265

billion, a decrease of $778 million, or 26%, compared to the third quarter of 2017. The Company



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attributed the decline in revenues in its U.S. generics business to, among other things, “a decline

in revenues in our U.S. generics business.”

        356.    The statements referenced in ¶¶354-355 were materially false and misleading

because, the Defendants concealed the full truth that Teva’s generic drug revenue and Inflated

Profit declined YOY due to its inability to continue its illegal Price-Hike Strategy. Further,

Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price

hikes since July 2013, many of which were in excess of 100% of the prior price, contributing over

$2.2 billion to Teva’s profit from the start of the Relevant Period through, at least, the end of 2016.

Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of increased

scrutiny on its Strategy precluded investors from learning that the Company’s growth and financial

results were unsustainable, at risk of significant decline, and expose the Company to substantial

criminal and civil liability.

        357.    In the 2018 10-K, the Company reported that “[i]n 2018, we led the U.S. generics

market in total prescriptions and new prescriptions, with approximately 504 million total

prescriptions (based on trailing twelve months), representing 13% of total U.S. generic

prescriptions according to IQVIA data.”

        358.    However, the Company also reported a continued deterioration of its U.S. generics

business, with revenues from its North America segment in 2018 of $9.297 billion, a decrease of

23%, compared to 2018. The Company attributed the decline in revenues in its U.S. generics

business to, among other things, “U .S. generics business” and “a decline in sales of generic”

products.

        359.    The statements referenced in ¶¶357-358 were materially false and misleading

because, the Defendants concealed the full truth that Teva’s generic drug revenue and Inflated




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Profit declined YOY due to its inability to continue its illegal Price-Hike Strategy. Further,

Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price

hikes since July 2013, many of which were in excess of 100% of the prior price, contributing over

$2.2 billion to Teva’s profit from the start of the Relevant Period through, at least, the end of 2016.

Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of increased

scrutiny on its Strategy precluded investors from learning that the Company’s growth and financial

results were unsustainable, at risk of significant decline, and expose the Company to substantial

criminal and civil liability.

        360.    On May 2, 2019, Teva filed a Form 10-Q with the SEC (the “Q1 2019 10-Q”)

reporting the Company’s first quarter 2019 (“Q1 2019”). Therein, the Company reported that “in

the first quarter of 2019, we led the U.S. generics market in total prescriptions and new

prescriptions, with approximately 436 million total prescriptions (based on trailing twelve

months), representing 12% of total U.S. generic prescriptions according to IQVIA data.”

        361.    However, the Company also reported a continued deterioration of its U.S. generics

business, with revenues from its North America segment in the first quarter of 2019 of $2.047

billion, a decrease of $484 million, or 19%, compared to the first quarter of 2018. The Company

attributed the decline in revenues in its U.S. generics business to, among other things, “a decline

in revenues in… our U.S. generics business.”

        362.    The statements referenced in ¶¶360-361 were materially false and misleading

because, the Defendants concealed the full truth that Teva’s generic drug revenue and Inflated

Profit declined YOY due to its inability to continue its illegal Price-Hike Strategy. Further,

Defendants failed to disclose that via Price-Hike Strategy, Teva made at least 76 systematic price

hikes since July 2013, many of which were in excess of 100% of the prior price, contributing over




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$2.2 billion to Teva’s profit from the start of the Relevant Period through, at least, the end of 2016.

Critically, Defendants’ failure to disclose the Price-Hike Strategy and the impact of increased

scrutiny on its Strategy precluded investors from learning that the Company’s growth and financial

results were unsustainable, at risk of significant decline, and expose the Company to substantial

criminal and civil liability.

        C.      Defendants’ False and Misleading Statements Concerning Teva’s Receipt of
                The DOJ and State AGs’ Subpoenas

        363.    The Defendants concealed Teva’s receipt of a subpoena from the DOJ on June 21,

2016, and a subpoena from the State AGs on July 12, 2016, each pursuant to their respective

investigations into potential antitrust violations regarding pricing practices by generics

manufacturers (collectively, the “Subpoenas”). Specifically, the Defendants failed to disclose these

subpoenas in the Notes Offering Materials. This was actionably false and misleading because the

subpoenas called into question Teva’s future earnings potential. They rendered uncertain the

Company’s ability to maintain its earnings from the undisclosed Price-Hike Strategy. Indeed, after

Teva received the DOJ subpoena, it was unable to make any additional price increase pursuant to

the Price-Hike Strategy. Consistent with this, the Note Issuance Documents listed “governmental

investigations into sales and marketing practices” as among the “[i]mportant factors” that could

cause Teva’s future financial performance to “differ significantly from [anticipated] results,

performance or achievements.”

        364.    Additionally, the Notes Offering Materials incorporated by reference the 2015 20-F

and the Q1 2016 6-K, which included extensive risk disclosures but did not disclose the subpoenas.

Among these is a section titled “Government Investigations and Litigation Relating to Pricing and

Marketing,” that include an extensive description of litigation related to “marketing and promotion

of [Teva’s] specialty pharmaceutical products,” and to litigation by “[a] number of state attorneys



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general ... relating to reimbursements or drug price reporting under Medicaid or other programs.”

The detailed and extensive nature of this section falsely and misleadingly indicated that the

disclosures were complete, while omitting the highly material DOJ and State AGs subpoenas.

       365.    Teva only disclosed that it received the Subpoenas on August 4, 2016, when it filed

the Q2 2016 6-K, which stated that:

       On June 21, 2015, Teva USA received a subpoena from the Antitrust Division of
       the United States Department of Justice seeking documents and other information
       relating to the marketing and pricing of certain of Teva USA’s generic products and
       communications with competitors about such products. On July 12, 2016, Teva
       USA received a subpoena from the Connecticut Attorney General seeking
       documents and other information relating to potential state antitrust law violations.

       366.    When the Company filed its next quarterly report on November 15, 2016, the Q3

2016 6-K, it revealed that “Actavis has also received a similar subpoena from the Connecticut

Attorney General. Teva and Actavis are cooperating fully with these subpoenas.” Moreover, it

tried to ease its investors’ worries by stating that “Teva is not aware of any facts that would give

rise to an exposure to the Company with respect to these subpoenas.”

       367.    Also on November 15, 2016, the Company held an earnings call for the quarter,

during which Defendants further denied any wrongdoing. First, Vigodman claimed that legal

compliance has been a “top priority” since at least 2014:

       Since becoming Teva CEO in 2014, I have made compliance a top priority in
       everything we do. The compliance [sic] foregone that Teva has in place is serious,
       rigorous and comprehensive, and is designed to protect the Company and its
       subsidiaries against future violation. Today, Teva is a compliance culture that
       begins with a strong tone at the top, including our executive regional and local
       management, a culture of compliance that underpins every single business decision
       that Teva makes.

       368.    Vigodman finished his prepared remarks on the call by specifically addressing the

Subpoenas, stating in relevant part:

       Finally, I cannot conclude this part of my remarks without briefly addressing the
       U.S. Department of Justice investigation into price collusion in the generics drug


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       industry, which has been in the news this month. I would like to emphasize that
       based on all of our efforts to-date, internal and external, we disclosed and I am
       reiterating it here today that we are not aware of any fact that will give rise to an
       exposure to Teva with respect to the investigation.

       369.    Teva continued to categorically deny all of the reported collusive practices.

Specifically, in each of the Q1 2017 6-K, Q2 2017 6-K, Q3 2017 6-K, 2017 10-K, Q1 2018 10-Q,

Q2 2018 10-Q,Q3 2018 10-Q, 2018 10-K, and Q1 2019 10-Q filings, “Teva denie[d] having

engaged in any conduct that would give rise to liability with respect to the above-mentioned

subpoenas and civil suits.”

       370.    On January, 18, 2019, after United HealthCare Services Inc. sued Teva and other

generic drug manufactures for conspiring to fix and raise the price of their drugs, the Company

publicly denied any wrongdoing. 7 Specifically, Teva stated that it “is committed to complying

with all applicable competition laws and regulations…, fosters a culture of compliance with these

laws and regulations, and is dedicated to conducting business with integrity and fairness.”

Critically, Teva iterated that the “[l]itigation surrounding U.S. generic pricing of several

companies, including Teva continues to be the subject of inaccurate media stories.”

       371.    The statements identified in ¶¶363-370 concerning Teva’s receipt of the DOJ and

State AGs’ Subpoenas were materially false and misleading when made by, inter alia, “den[ying]

having engaged in any conduct” when it had purposefully engaged in an illegal pricing cartel since

at least 2013, in knowing violation of applicable civil and criminal antitrust laws, and,

consequently, exposing the Company to significant undisclosed legal and financial risks.




7
       Adam Lidgett, Law360, UnitedHealth Sues Generic-Drug Makers For Price-Fixing, Jan.
18, 2019, available at https://www.law360.com/articles/1120269/unitedhealth-sues-generic-drug-
makers-for-price-fixing?copied=1(Last accessed May 28, 2019).


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       D.      Defendants’ False and Misleading Statements Concerning Opioid Sales and
               Litigation

       372.    From the start of the Relevant Period, Defendants concealed Teva’s illegal

marketing of opioids for off-label uses, and subsequently, materially understated the material

impact their marketing practices would have on the Company.

       373.    First, Defendants touted Teva’s acquisition of Cephalon in the 2013 20-F, stating

that “[t]his acquisition helped to diversify our specialty portfolio and enhance our innovative

pipeline.” Among the products acquired by Teva in its acquisition were Fentora (fentanyl buccal

tablet) and Actiq (fentanyl oral transmucosal lozenge); both of which Teva acknowledged in each

of 2013 20-F, 2014 20-F, and 2015 20-F were to be used “for the treatment of breakthrough pain

in opioid-tolerant adult patients with cancer[.]” The 2016 20-F include the same statement with

respect to Actiq.

       374.    Despite Teva’s deliberate corporate policies designed to increase the sales of its

opioid products through the promotion of off-label uses, in each of the Company’s annual filings

during the Relevant Period (2013 20-F, 2014 20-F, 2015 20-F, 2016 20-F, 2017 10-K, and 2018

10-K) included substantively identical boilerplate language concerning risks associated with the

sale of its products for non-approved purposes:

       Governmental investigations into sales and marketing practices, particularly for
       our specialty pharmaceutical products, may result in substantial penalties.

       We operate around the world in complex legal and regulatory environments, and
       any failure to comply with applicable laws, rules and regulations may result in civil
       and/or criminal legal proceedings. As those rules and regulations change or as
       interpretations of those rules and regulations evolve, our prior conduct or that of
       companies we have acquired may be called into question. In the United States, we
       are currently responding to federal investigations into our marketing practices with
       regard to several of our specialty pharmaceutical products, which could result in
       civil litigation brought on behalf of the federal government. Responding to such
       investigations is costly and involves a significant diversion of management’s
       attention. Such proceedings are unpredictable and may develop over lengthy



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        periods of time. Future settlements may involve large cash penalties. In addition,
        government authorities have significant leverage to persuade pharmaceutical
        companies to enter into corporate integrity agreements, which can be expensive and
        disruptive to operations.

(Emphasis in original.)

        375.     The statements referenced in ¶¶373-374 were materially false and misleading

because Defendants made false and/or misleading statements, as well as failed to disclose material

adverse facts about the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Teva and

its affiliates purposefully promoted non-FDA approved uses of its opioid products, including

Fentora and Actiq; (ii) Teva and its affiliates paid lucrative speaking engagement fees to

KOLs,sponsored medical events and journals to provide favorable information about treating

chronic pain with the use of opioids; (iii) Teva targeted non-cancer related medical practices to

increase sales of opioids designed for the treatment of breakthrough pain in opioid-tolerant adult

patients with cancer; (iv) consequently, Teva faced potentially billions of dollars in monetary

liability, as well as criminal liability; and (v) as a result, the Company’s public statements were

materially false and misleading at all relevant times.

        376.     The 2013 20-F also discussed the numerous complaints filed against Cephalon for

its off-label promotion of, inter alia, Fentora and Actiq, and rejected any notion of liability, stating:

“Cephalon continues to defend against putative class action and other complaints relating to

allegations of off-label promotion of Actiq [and] Fentora[.]”

        377.     On July 31, 2014, Teva revealed in its Q2 2014 6-K that two counties in California

and the City of Chicago filed complaints against it for its off-label marketing of opioids, stating in

relevant part:




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       On May 21, 2014, counsel for Santa Clara County and Orange County, purportedly
       on behalf of the People of California, filed a complaint in the Superior Court for
       Orange County, California against Teva and Cephalon, along with several other
       pharmaceutical companies, contending that defendants allegedly engaged in off-
       label promotion in the sale of opioids, including Actiq® and Fentora®. On July 11,
       2014, the case was removed to the Central District of California. On June 2, 2014,
       the City of Chicago filed a similar complaint against Teva and Cephalon in the
       Circuit Court of Cook County, Illinois, which has been removed to the Northern
       District of Illinois. The time to file a motion to remand in California has not yet
       expired, and the Illinois plaintiffs have withdrawn their remand motion. Both
       complaints assert claims under state law based upon alleged off-label promotion in
       the sale of opioids, and both seek a variety of damages, including restitution, civil
       penalties, disgorgement of profits, treble damages, attorneys’ fees and injunctive
       relief. Neither complaint specifies the exact amount of damages at issue. Teva and
       Cephalon have not yet responded to the complaint in either action.

       378.   In the 2015 20-F the Company disclosed that the Mississippi AG filed its own

complaint against Teva USA and Cephalon, stating in relevant part:

       In December 2015, the Mississippi Attorney General filed a lawsuit against Teva
       Pharmaceuticals USA, Inc. and Cephalon along with the same defendants named
       in the California and Chicago actions described above. The Mississippi complaint
       is similar to the California and Chicago complaints, asserts claims under
       Mississippi state law based upon alleged improper marketing of opioids, including
       Actiq® and Fentora®, and seeks a variety of damages including restitution, civil
       penalties, disgorgement of profits, treble damages, attorneys’ fees and injunctive
       relief. The complaint does not specify the exact amount of damages at issue. Teva
       Pharmaceuticals USA, Inc. and Cephalon, along with the co-defendants named in
       the action, filed joint and individual motions to dismiss on March 8, 2016.

       379.   Next, in the Q3 2016 6-K the Company disclosed a complaint filed by Suffolk

County, New York:

       On August 31, 2016, Suffolk County, New York filed a complaint in the Supreme
       Court of New York against Teva USA and Cephalon along with the most of the
       same defendants named in the California, Chicago and Mississippi actions
       described above. The Suffolk County complaint, which is similar to the complaints
       filed in California, Chicago and Mississippi, asserts claims under New York state
       law for improper marketing of opioids, including Actiq® and Fentora®, and seeks a
       variety of damages including compensatory damages, civil penalties, disgorgement
       of profits, treble damages, and attorneys’ fees.




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       380.    By November 2017, the number of complaints filed against Teva increased

dramatically. The Q3 2017 6-K disclosed pending cases brought by “a number of cities, counties

and states across the country[,]” stating in relevant part:

       Beginning in May 2014 various complaints have been filed against various Teva
       affiliates, along with several other pharmaceutical companies, by a number of
       cities, counties and states across the country. Actions currently pending against
       Teva and its affiliates have been brought by the states of Ohio, Mississippi, New
       Mexico and Oklahoma. Additional actions brought by various subdivisions and
       state agencies are pending in both State and Federal Court in the following
       jurisdictions: Alabama, California, Connecticut, Georgia, Illinois, Kentucky,
       Louisiana, Michigan, New Hampshire, New Jersey, New Mexico, New York, Ohio,
       Oregon, Pennsylvania, Tennessee, Texas and Washington. In addition to the
       complaints filed by states, state agencies, and other political subdivisions, private
       class action lawsuits have been filed in Arkansas and Ohio. The complaints,
       asserting claims under similar provisions of different state law, generally contend
       that the defendants allegedly engaged in improper marketing of opioids, including
       Actiq® and Fentora® and seek a variety of remedies, including restitution, civil
       penalties, disgorgement of profits, treble damages, attorneys’ fees and injunctive
       relief. None of the complaints specifies the exact amount of damages at issue. Teva
       and its affiliates that are defendants in the various lawsuits deny all allegations
       asserted in these complaints and have filed or will be filing motions to dismiss
       where possible.

       381.    Moreover, the Q3 2017 6-K revealed that “[i]n addition [to the numerous lawsuits],

a number of State Attorneys General, including a coordinated multistate effort, have initiated

investigations into sales and marketing practices of Teva and its affiliates with respect to opioids.”

Teva claimed that it “is cooperating with these investigations, which are ongoing, and [it] cannot

predict at this time the outcome.”

       382.    Teva has continuously denied liability with respect to its sales and distribution of

opioids. Specifically, in each of Q2 2017 6-K, Q3 2017 6-K, 2017 10-K, Q1 2018 10-Q, Q2 2018

10-Q,Q3 2018 10-Q, 2018 10-K, and Q1 2019 10-Q filings Teva and its affiliates “den[ied] all

allegations asserted in these complaints[.]”




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       383.    On the Company’s May 2, 2019 earnings call with investors Defendant Schultz

addressed the Company’s potential liability related to its opioids sales, again rejecting any notion

of wrongdoing by Teva:

       And we have always lead to -- all the requirements both of the grants and on the
       restriction and how we sell the products, reporting everything to FDA and relevant
       authorities. So really, from my point of view, I can't see anything which we've
       done, which is wrong, given the law and the rules of pharmaceutical manufacturing
       sales in the U.S.

       384.    The statements identified in ¶¶376-383 concerning the multitude of lawsuits and

investigations into Teva’s sales and distribution of opioids were materially false and misleading

when made by, inter alia, “den[ying] all allegations asserted in th[o]ese complaints” when it had

purposefully put in place corporate policies designed to promote off-label uses of opioids, and,

consequently, exposed the Company to significant undisclosed legal and financial risks. In fact,

Teva and Defendant Schultz iterated denials of liability less than a month before it announced that

it entered into an $85 million settlement with the State of Oklahoma.

       E.      Defendants Violated Their Statutory Duty to Disclose Pricing Trends

       385.    During the Relevant Period, Defendants were under a statutory duty of disclosure

pursuant to Item 5 of Form 20-F (“Item 5”), interpreted by the SEC and courts to require the same

disclosures as Item 303 of Regulation S-K (“Item 303”). Item 303 (and Item 5) require that a

foreign issuer like Teva must, in the Management Discussion and Analysis (“MD&A”) section of

its Forms 20-F, describe any known trends or uncertainties that have had or that the registrant

reasonably expects will have a material favorable or, unfavorable impact on net sales or revenues

or income from continuing operations. The failure to disclose a material trend or uncertainty in

violation of Item 303 is an omission that is actionable under the securities laws.

       386.    According to the SEC’s interpretive release regarding Item 303, disclosure is

necessary where a trend, demand, commitment, event or uncertainty is both presently known to


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management and reasonably likely to have material effects on the registrant’s financial conditions

or results of operations. Even if Defendants were not certain about the likely effect of the event or

trend on their future revenues, Defendants were still required under Item 303 to disclose the

manner in which that then-known trend, event, or uncertainty might reasonably be expected to

materially impact Teva’s future revenues.

       387.    SEC Staff Accounting Bulletin No. 104 explains this disclosure duty further,

requiring that management disclose in the MD&A section the impact of artificial or collusive price

increases, demanding that: “Changes in revenue should not be evaluated solely in terms of volume

and price changes, but should also include an analysis of the reasons and factors contributing to

the increase or decrease.”

       388.    During the Relevant Period, under Item 303, Defendants failed to disclose at least

two trends related to the pricing of Teva’s generic drugs. First, Defendants failed to disclose the

trend that Teva’s financial success was driven in a material way by the Price-Hike Strategy. These

prices increases, as discussed, generated as much as $2.3 billion in Inflated Profit for Teva over

the Relevant Period. Yet, the Price-Hike Strategy and the Inflated Profits it generated were risky

and unsustainable as the Price-Hike Strategy was susceptible to actual competition, as well as

public scrutiny, and scrutiny by legislatures, regulators and criminal investigators.

       389.    Second, starting no later than the beginning of 2016, Defendants failed to disclose

the by-then known trend that the Price-Hike Strategy was beginning to fail. Teva could not

maintain the Inflated Profits as industry-wide pricing pressure, which Defendants consistently

denied, was reducing the inflated prices on Teva’s generic drug portfolio. Teva was also finding it

increasingly difficult, if not impossible, to make additional price increases because of the scrutiny




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from the public, Congress, and the DOJ and State AGs investigations; and indeed, Teva effectively

could not make any price increases after the DOJ subpoena was served on June 21, 2016.

        390.    Likewise, during the Relevant Period, under Item 303, Defendants failed to disclose

that its opioid sales were propped up by the illegal non-FDA approved promoting scheme it

engaged in, and therefore, such results were untenable and would likely result in significant

monetary and criminal liability.

        391.    SEC Release No. 33-8350 provides MD&A disclosure guidance that is a nearly

perfect analogy to the facts here, requiring that:

        if a company’s financial statements reflect materially lower revenues resulting from
        a decline in the volume of products sold when compared to a prior period, MD&A
        should not only identify the decline in sales volume, but also should analyze the
        reasons underlying the decline in sales when the reasons are also material and
        determinable. The analysis should reveal underlying material causes of the matters
        described, including for example, if applicable, difficulties in the manufacturing
        process, a decline in the quality of a product, loss in competitive position and
        market share, or a combination of conditions.

Instead, in violation of its duties under Item 303, Teva only disclosed trends that did not bear on

the issue of price inflation (through price increases), or price erosion. Teva’s failure to disclose the

pricing trends was particularly misleading given that (i) price increases in its generic business and

off-label marketing of opioids were a core but concealed business strategy; (ii) management

concurrently denied that pricing and off-label marketing of opioids had impacted Teva’s bottom

line and that the Company made price increases simply for profit; (iii) management consistently

minimized the positive impact of price increases and off-label marketing of opioids on Teva’s

profits; (iv) management consistently denied that price increases had resulted in price inflation,

and that it engaged in off-label marketing of opioids; and (v) management denied that price

deflation was materially affecting Teva, even as its revenues from the former price increases

cratered.



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VI.    ADDITIONAL ALLEGATIONS OF SCIENTER

       392.    Together with the above-alleged facts, the Defendants each acted with scienter in

that each knew or recklessly disregarded the true facts in making the materially false and

misleading statements identified herein.

       A.      Former Employee Allegations

       393.    As alleged in the Class Action, several former Teva employees provided

information on a confidential basis supporting the strong inference that the Defendants acted with

scienter in making the alleged material false and misleading statements and omissions. The former

employees’ accounts corroborate one another and the additional facts alleged herein.

       394.    Senior Product Operations Manager [or FE-1] started at Teva in 2005 and, until

2011, FE-1 worked in new generic drug forecasting. From 2011 to July 2014, FE-1 was a manager,

responsible for forecasting and analysis of a product group, and from July 2014 through April 2016

was a Product Manager and then Senior Product Manager responsible for supply chain and

inventory management of Teva’s base-line generics business. In FE-1’s most recent role, FE-1

reported to Bryan Bart who, in turn, reported to Galownia, Senior Director of Marketing.

According to FE-1, based on personal knowledge:

       (i) Teva stored drug-by-drug pricing, sales, and revenue data on the Company’s Oracle
       ERP System; (ii) the Company’s long-range “Work Plan” forecasting 3-5 years of
       revenue on a granular level, and prepared annually following a predetermined
       scheduled, was reviewed and approved by Teva’s U.S and Israeli executives; (iii)
       daily or weekly “Scorecards” that tracked generic drug revenues and informed Teva
       executives of any “holes” or “red flags” were distributed to Teva’s top U.S.
       executives, including Griffin, Cavanaugh, Olafsson, and Oberman; (iv) quarterly
       Latest Best Estimates (“LBEs”) comparing results to Work Plan forecasts were sent
       to U.S. and Israeli executives; (v) Teva increased prices when other companies did,
       when it had a monopoly, and when there was a shortage; (vi) Olafsson claimed that
       every company he joined acquired his previous employer; (vii) Nisha Patel (“Patel”)
       was Teva’s Director of Strategic Customer Marketing from April 2013 to August
       2014 and Director of National Accounts from September 2014 to December 2016,
       and Patel was on maternity leave on or about August to December 2013; and (viii)



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       that compensation structure for Teva’s national account managers was not tied to
       individual performance.

       395.   Senior Director of Trade Relations [or FE-2] worked at Teva from 2006 until

August 2012. During his tenure, FE-2 was in charge of sales for the branded, generics, and

injectables groups. FE-2 later, and until leaving Teva, oversaw the branded drug national account

managers, reporting to the Head of U.S. Brands. FE-2 also remained involved and knowledgeable

about Teva’s U.S. generics. According to FE-2, based on personal knowledge:

       (i) Teva aligned its generic and branded segments under the “One Teva” motto; (ii)
       Galownia evaluated Teva’s generics drug portfolio on a “constant and ongoing” basis
       to find opportunities to increase prices; (iii) Galownia was “just the guy doing the
       evaluation,” as the decision to increase prices was made by senior executives,
       including Cavanaugh and Griffin, who would conduct their own evaluations of the
       costs and financial benefits of each price increase on a drug-by-drug basis, a process
       in which Christine Baeder, VP Commercial Operations, was also involved; (iv)
       Cavanaugh and Griffin reported directly to Oberman, and would later report to
       Olafsson; (iv) the process for increasing price could take up to 60 days, required
       formal notice to customers, and was done in batches; (v) it was critical to ensure
       that price increases would “stick,” i.e., competitors would not undercut Teva’s price
       increases; (vi) “everyone would have known,” including, Oberman, and later
       Olafsson, if a large price increase generated significant profit, something which
       Cavanaugh, Griffin, Oberman, and later Olafsson, would track closely, if not daily;
       (vii) executives used price increases to “fill the hole,” when actual revenue did not
       meet forecasts; (viii) each year the finance and operations teams created a budget
       that included revenue forecasts; and (ix) the senior managers including Griffin,
       Cavanaugh, and Oberman, received reports on whether revenues were meeting
       forecasts up to four times per quarter;

       396.   Associate Manager of Customer Marketing [or FE-3] worked at Teva from

September 2014 until May 2016 and was a member of the pricing team. FE-3 reported to a person

who reported to Galownia, who reported to Baeder and, for a time, to Cavanaugh. FE-3 was

responsible for evaluating requests for proposals and assessing market pricing for generic drugs.

According to FE-3, based on personal knowledge:

       (i) members of the Pricing Group could only lower prices of generic drugs after
       undertaking an extensively researched and documented analysis; (ii) when prices
       were increased, the Pricing Group was “told” to increase the price in a meeting or
       via email, often from Galownia; (iii) Galownia did not have the authority to raise


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       prices, decisions to raise prices came from higher-level management; (iii) customers
       were informed of price increases; (iv) even a small change in price (e.g., $0.25)
       could have a “huge impact” on revenues; (v) a shared Excel file, kept on a shared
       electronic drive, contained pricing information and was readily accessible to the
       Pricing Group and top Teva executives; (vi) the Company stored pricing and
       revenue data “down to the NDC code” on the Oracle system; and (vii) executives,
       including Cavanaugh, Oberman, and Olafsson, had access to the Oracle ERP
       System, and were routinely filled in on sales numbers.

       397.    Manager of Customer Operations [or FE-4] was employed at Teva from April 2008

to April 2014 and was responsible for metrics for the phone system and managing the process for

customer calls to Teva regarding generic drugs. FE-4 reported directly to Baeder until 2012, and

later to Michelle Osmian. According to FE-4, based on personal knowledge:

       (i) in the early part of 2013, at a quarterly marketing group “all-hands” meeting that
       FE-4 attended, along with additional pricing, sales, finance, and customer service
       employees at Teva’s North Wales U.S. headquarters, Galownia informed the
       attendees that Teva was implementing a strategy to increase the prices of generic
       drugs; (ii) Galownia could not approve price increases, as Cavanaugh, or an
       executive above her made these decisions; (iii) after a price increase, Teva would
       send letters to customers informing them of the increase; the letters were also
       emailed to Teva employees whose work was impacted by price increases; (iv) Teva
       regularly raised prices on generics from 2013 onward and was “getting more
       aggressive with pricing” by raising prices more frequently up until the time of FE-
       4’s departure in April 2014; and (v) consumer complaints would rise following price
       increases, and the complaints were logged and sent to Baeder on a monthly basis.

       B.      The Defendants Were Motivated to Use Teva’s ADS as “Currency” for a
               “Transformational” Acquisition

       398.    The Defendants were motivated to make false statements to inflate the price of Teva

Securities in order to complete a “transformational” acquisition. By January 2014, once the Price-

Hike Strategy was fully implemented and had generated material profits toward fourth quarter

2013 results, Desheh announced this motivation in setting out that “the stock price will go up and

we’ll be able to use our share as a currency . . . to fund transactions.” Upon his hiring in February

2014, Vigodman was reported to also favor significant M&A activity.




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       399.     Unbeknown to investors, Teva was already focused on acquiring Actavis by as

early as the middle of 2014. Soon after joining Teva from Actavis in August 2014, Olafsson

announced at an “all-hands” quarterly meeting at the North Wales U.S. headquarters that he had

never joined a new company that did not subsequently purchase his former employer. (FE-1.) By

the end of 2014, with the strategy resulting in numerous batches of systematic price hikes,

involving 46 drugs, and generating as much as $943 million in Inflated Profit, the ADS was trading

in the mid-$50s. By then, as Vigodman would later acknowledge on July 27, 2015, the Defendants

had developed a list of acquisition targets and Actavis was at the top. Concealed from investors at

this time, Teva had already approached Actavis, but was rejected.

       400.     By the end of the first quarter 2015, the Price-Hike Strategy resulted in another

batch of hikes, involving 11 drugs. All told, over $1.1 billion in Inflated Profit had been generated,

and Teva’s ADS was trading near $63. The Defendants’ “willingness” to perform a

“‘transformational’ acquisition in the generics space” was well-known to analysts, as was their

“urgency to diversify via M&A” as Barclays and Leerink wrote on April 7 and 16, 2015,

respectively.

       401.     Undeterred, during a June 10, 2015 Goldman Sachs conference, Teva again

announced glowing results, with Vigodman emphasizing to investors the “profound change in the

generic business” and Olafsson noting the improvement of “$1 billion . . . in 14 months, 16

months,” while concealing that the Price-Hike Strategy had generated over $1.1 billion in profits

for the generics unit over that time. Fueled by profits from the fraud, by July 27, 2015, the price

of Teva’s ADS reached an all-time high of $72.

       402.     That day, Teva announced the $40 billion acquisition of Actavis from Allergan.

Vigodman explained that the improvement in generics was a “precondition” for accomplishing




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their motivation for a deal. Indeed, without the inflated securities as a “currency,” Teva did not

have the cash; the $40 billion price tag was roughly twenty years of Teva’s average annual income

from 2013 to 2015. They raised the cash from public investors.

       403.    By the second quarter 2015, however, the Price-Hike Strategy had peaked. Teva

began to experience pricing pressure on its generic drugs, and was increasingly unable to make

additional large price increases. Inflated Profits began to deteriorate, even as the Defendants

needed to raise the capital necessary to pay Actavis’s $40 billion price tag. As questions were

raised regarding the deteriorating pricing environment and Teva’s weakening financials, the

Defendants flatly denied that Teva was making profits from price increases, or that Teva was

facing pricing pressure. It was not until the Defendants had completed over $27 billion in public

offerings by July 28, 2016, and closed the deal on August 2, 2016, that they disclosed that their

generics business was now the subject of government subpoenas. Soon after that, the truth began

to leak into the marketplace, and the fraud fell apart.

       C.      Conscious Misbehavior or Recklessness

                   1. Implementation of the Price-Hike Strategy

       404.    In early 2013, Teva expressly adopted the Price-Hike Strategy as a means to turn

the Company around by revitalizing its dwindling generics business. This deliberate strategy was

announced by Kevin Galownia, then-Senior Director of Marketing, at a quarterly “all-hands”

meetings at Teva’s U.S. headquarters that was attended by members of the sales, customer service,

finance, and pricing groups. (FE-4.) At that meeting, Galownia, a frequent presenter at these

quarterly meetings, explained that Teva would raise prices on its generic drugs in a systematic

manner. (FE-4.) This marked a sharp break from the Company’s prior strategy of focusing on

branded drugs, set by then-CEO Levin in 2012. This significant change in direction necessarily




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came only from Teva’s highest executives, (FE-4) and could not have been decided by Galownia

alone. (FE-4, FE-3, FE-2, FE-1.)

       405.    Indeed, carrying out the price increases required the explicit approval of the senior

executives at the U.S. headquarters. The Inflated Profits would be captured by the daily and weekly

reports circulated to Cavanaugh, Griffin, Oberman and later Olafsson. (FE-1.) They were also

reflected in the intra-quarter reports that these Officer Defendants assembled and sent to Teva’s

senior executives in Israel. (FE-1, FE-2.) Consistent with this, according to FE-2, “everyone would

have known” of large price increases that had a significant financial impact, including Oberman,

especially if it was used to fill a “hole” between revenues and forecasts.

               2.      Only Senior Executives Could Make Price Increases

       406.    The Defendants’ scienter is also supported by the fact that the execution of the

Price-Hike Strategy required that senior executives personally analyzed and approved each price

increase, pursuant to an established and formalized process that was in place by 2012 when FE-2

was employed at Teva. (FE-2.) Galownia and the Pricing Group would initiate the process. (FE-2,

FE-4.) Galownia would analyze Teva’s portfolio of established generic drugs on a “constant and

ongoing basis,” and would produce a “list of opportunities” and recommendations of potential

price increases to Teva USA COO Maureen Cavanaugh and Deborah Griffin, who was Chief

Accounting Officer of Teva and the CFO of Teva USA. (FE-2.)

       407.    However, Galownia was “just the guy doing the evaluation,” (FE-2), as his

superiors made the actual decision to increase the price of a generic drug. (FE-2, FE-3, FE-1.)

Accordingly, Cavanaugh and Griffin would each separately evaluate whether Teva would make a

price increase, and if so, when. (FE-2.) Cavanaugh would review the price increases from the

operational perspective, while Griffin would undertake a financial cost-benefit analysis that would

evaluate both whether and when to implement the price increases. (FE-2.) In particular, Griffin


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would have to factor in specific contract terms and costs associated with increasing pricing, and

determine the right timing for the increase. (FE-2.) Sometimes, Griffin’s decision was to raise a

price, but wait until the next quarter when the contractual implications would be more favorable.

(FE-2.) This recommendation and evaluation process could be quick, but could also span weeks,

with the implemented price hike following as many as 60 days after Galownia’s initial

recommendation. (FE-2.)

       408.    The members of the Pricing Group would routinely engage in a bottom-up analysis

in deciding to lower prices. This required them to conduct and provide senior executives with

detailed analysis and documentation justifying their decisions to reduce prices. (FE-3.) Price

increases, in contrast, came from the top down. When prices were increased, the Pricing Group

was simply “told,” by email or in a meeting, to raise the prices of certain drugs, without conducting

any analysis justifying the increase. (FE-3.) Members of the Pricing Group did not have authority

to implement price increases. (FE-3.) Defendants became “more aggressive with pricing” by

frequently increasing prices from 2013 onward. (FE-4.) Empirical evidence confirms this

observation. See Appendix A.

       409.    As was the case during the Relevant Period, and as the empirical evidence confirms,

approved price increases would often be batched together and announced on the same day. (FE-

2.) Once a price increase was made, Teva would send letters to affected customers informing them

of the price increase. (FE-2, FE-4.) Galownia or his team would also email these letters to all Teva

employees whose work would have been impacted by price increases. (FE-4.)

       410.    Given this formalized process involving Griffin and Cavanaugh, there is a strong

inference that Defendants were aware of, or at least recklessly disregarded, the 76 price increases,




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ranging from 50% to 1500%, over the course of over three years, that generated over $2 billion in

Inflated Profit.

                   3.     Continuous Access to Documents and Information Tracking Profits
                          from Price Increases

        411.       The Defendants were given documents that tracked the financial impact of the

Price-Hike Strategy against the detailed revenue goals for Teva’s U.S. generics business, as often

as on a daily basis. (FE-1.) They also had access to Company-wide databases with detailed drug-

by-drug information about the price, sales, and profits of each drug on a real-time basis. (FE-1,

FE-3.) Given the close attention paid to revenue and its sources, and the readily available

information concerning these topics, there is a strong inference that the Defendants knew or

recklessly ignored that billions of dollars in Inflated Profit were generated through the Price-Hike

Strategy, and its collapse caused the later short-falls in profits.

        412.       Long Range Work Plan: Among the documents the Defendants created and

received was a long-range Work Plan, generated annually, that included generic revenue forecasts

for three to five years, and that contained granular pricing details down to the NDC level. (FE-1.)

The employees preparing the Work Plan would receive feedback from executives over the course

of a pre-established schedule. (FE-1.) The process began around March each year, with the U.S.-

based executives, including Oberman and Olafsson reviewing and approving the Work Plan over

the late summer. (FE-1.) The U.S.-based executives would then present the Work Plan to Teva’s

executives in Israel, including Vigodman and Desheh, each year. (FE-1.)

        413.       Daily Scorecards: Weekly or daily Scorecards were circulated among Teva’s top

executives, including Olafsson and Oberman. (FE-1, FE-2.) These Scorecards provided these

executives with regular access to U.S. sales and revenue data for generic drugs. (FE-1.) The

Scorecards also compared Teva’s actual revenue figures to longer-term revenue goals. (FE-1.) The



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executives used the Scorecards to track “holes” between the actual revenues and forecasts,

including the Work Plan. (FE-1, FE-2.) The price increases were used to “fill” the holes. (FE-2.)

       414.    Latest Best Estimates: Teva’s U.S. executives also tracked, and would report to the

executives in Israel, U.S. generic performance on a quarterly basis through the LBEs which

showed how a current financial quarter compared to long term forecasts. (FE-1.) The LBEs would

also be circulated to the executives in Israel. (FE-1.)

       415.    Oracle ERP System: Teva housed its pricing, revenue and sales data of its generic

drugs on its Oracle ERP system, a Company-wide database. (FE-1, FE-3.) Through this system,

pricing, sales and revenue information for each generic drug was readily and easily available at

the granular level, “down to the NDC code.” (FE-3.) Teva executives, including Griffin,

Cavanaugh, Oberman, and Olafsson all had access to Oracle. (FE-1, FE-3.) Oracle was the source

for the data used for the Scorecards, Work Plan and the LBEs. (FE-1.)

               4.      The Defendants Spoke Repeatedly About the Pricing of Generic Drugs

       416.    The Defendants repeatedly claimed that they had accurate knowledge of the sources

of Teva’s generics profitability.

       417.    The Defendants claimed to have intimate knowledge of whether Teva had taken

price increases and whether those price increases contributed to the increased profitability of

Teva’s generics division. For example, on October 29, 2015, Vigodman claimed awareness that

“all the improvement . . . in our . . . margins is not driven by price. It is driven by quantities and

by mix and by efficiency measures. Not by price, 2014, 2015.” Similarly, on February 11, 2016,

Olafsson claimed he knew that the “$1 billion improvement in operating profit over 24 months

period,” was achieved “[n]ot by pricing but by portfolio mix, new products, and efficiency

measures.” On November 19, 2015, when asked about industry price increases, Desheh claimed

that “Teva was not associated with any of that.”


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       418.    The Defendants also claimed knowledge of when Teva would take price increases,

limiting them to instances with shortages. For example, on October 30, 2014 Vigodman claimed

he knew that Teva looked for pricing only “when there is a shortage in the market.” On August 4,

2016, Olafsson claimed that Teva would increases prices only where there were “shortages in the

market,” then “there might be a small pricing opportunity.”

       419.    The Defendants further claimed they were aware of the rate of pricing decline that

Teva was experiencing in 2016, and how it compared to prior years. For example, on June 3, 2016,

Vigodman asserted he knew that “[w]hat we see is a 4% to 5% erosion. . . . That’s not something

which is different from what we said during 2015.” Earlier, on May 9, 2016, Olafsson asserted

awareness that despite “a tougher pricing environment or price deflation,” “Teva has not seen any

fundamental change or worsening in the pricing environment.... What this boils down to is each

individual company’s business model.... Nothing has happened in the last two quarters that has

changed the pricing environment.” Similarly, on September 7, 2016, Desheh claimed that the

pricing environment for Teva’s base generic business was “very stable,” and that “there’s no

pressure on prices.”

       420.    The Defendants also claimed knowledge of whether Teva was competing in a

functional and competitive generics market. For example, on July 27, 2015, Olafsson asserted that

he knew that “there’s fierce competition on most of [Teva’s] portfolio, if not all the portfolio.”

During that same call, Vigodman added, “We believe in competition, and we’ll do what is needed

in order to win all the markets we operate.” On November 19, 2015, Desheh claimed he knew that

Teva was “playing a competitive game . . . playing it fairly . . . by the book and by the rule.”




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       421.    This self-proclaimed personal involvement by the Defendants’ supports a strong

inference that they possessed knowledge of the true state of affairs of the business, and thus had

knowledge that their representations were misleading, or were reckless in not knowing.

               5.      Defendants’ and Analysts’ Focus on Generics

       422.    The fact that the Defendants recurrently publicized that Teva’s generics segment,

fueled by its U.S. division, was driving the Company’s turnaround during the Relevant Period

supports a strong inference of scienter. For example, on May 13, 2015, Desheh described the turn-

around in generics as “nothing short of a revolution.” On June 10, 2015, Olafsson touted

improvement of the “generic business by . . . $1 billion [] in 14 months, 16 months.” That same

day, Vigodman touted “the profound change in the generic business,” citing increased operating

profit from 2013 to 2014.

       423.    Analysts accordingly focused on Teva’s generics businesses, and particularly its

U.S. division, as a financial driver for the Company, further supporting a strong inference of

scienter. For example, in a February 5, 2015 report, Piper Jaffray noted that “the profitability of

the generics business [is] continuing to improve.” On April 30, 2015, J.P. Morgan wrote: “Teva

continues to make progress on generics profitability . . . we remain encouraged by the recovery in

Teva’s generic business.” The same day Cowen and Company noted that Teva’s “outperformance

was a result of better than expected U.S. generic sales.”

       424.    Similarly, when industry pricing pressure damaged Teva’s competitors, analysts

peppered the Defendants with questions about pricing pressure over the course of several months,

which were met with detailed answers: For example, on February 11, 2016, Guggenheim asked

Olafsson about “pricing pressure in the generics business,” with Olafsson claiming to know that

“on the pricing . . . we didn’t see anything change in fourth quarter.” On September 7, 2016, Wells

Fargo asked whether Teva was “seeing the same generic erosion, pricing erosion that some of the


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other companies” had, to which Desheh asserted he knew that “the base [generics] business . . .

the prices are very stable there.”

               6.      The Magnitude, Importance and Duration of the Fraud

       425.    The fact that the Price-Hike Strategy generated as much as $2.3 billion in Inflated

Profit supports a strong inference of scienter. Indeed, the Inflated Profit drove Teva’s reported

financial turnaround throughout the Relevant Period. In 2014 and 2015, Inflated Profits comprised

an increasingly large portion of Teva’s overall net income. As to the generic segment’s profits, the

Inflated Profits accounted for 15% of segment profits in 2013; 32% in 2014; and 32% in 2015.

The Inflated Profits accounted for an even larger portion of the Company’s overall net income: in

2013, Inflated Profits accounted for 20% of net income; in 2014, 23%; in 2015, 54%, and in 2016,

more than all of Teva’s overall profit. The stronger inferences that the Defendants knew of the

source of these profits.

       426.    Likewise, in 2016, the Price-Hike Strategy deteriorated as Teva began to experience

significant pricing pressure and accelerated price erosion, and was no longer able to implement

additional price hikes; as a result Teva’s generic drug profits plummeted. Indeed, Teva’s

deteriorating financial condition in 2017 called into question whether it could service its massive

$35 billion debt, forced the Company to take a staggering $6.1 billion impairment charge to its

generics business, and reduce its dividend. The stronger inference by far is that the Defendants

were aware of the source of this decline, or were reckless in not knowing.

               7.      Contemporaneous Red Flags Indicated That the Defendants’
                       Statements Were False or Misleading

       427.    Contemporaneous red flags alerted the Defendants to the possibility that their

statements were false and misleading. At a minimum, the Defendants recklessly failed to review

or check information that they had a duty to monitor under these circumstances.



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       428.    Congressional Inquiry: On October 2, 2014, Congress sent Vigodman a personal

letter seeking answers to “the underlying causes of recent increases in the price of [Teva’s] drugs.”

This should have placed the Defendants on alert to discover whether Teva had taken price increases

and to what extent. Despite this, on October 30, 2014, Vigodman, when faced with an analyst

question on the subject, denied that Teva derived revenues from price increases. Similarly,

Congress invited Teva to testify at a November 20, 2014 hearing on whether “there was a rational

economic reason as to . . . huge price increases.” Again, this should have sparked an internal

inquiry from Teva’s executives. Yet, on December 11, 2014, when faced with the assertion from

an analyst that wholesalers were seeing large price increases, Olafsson flatly denied that Teva was

involved in those practices.

       429.    The State AG and DOJ Investigations: The fact that the DOJ and the State AGs

began investigations into Teva’s competitors related to their pricing practices also supports a

strong inference of scienter. The fact of those investigations should have triggered an internal

inquiry at Teva into the facts of its own pricing practices, including the dozens of price increases

that Teva made in tandem with its competitors.

       430.    GAO Report: On September 12, 2016, the GAO, which Congress had

commissioned over two years earlier, publicly released its report on “Generic Drugs Under

Medicare,” documenting its audit of Medicare Part D data from June 2015 to August 2016. The

GAO found hundreds of unexplained “extraordinary price increases,” defined as the price of a

particular drug increasing over 100% within a 12-month period, and that some drug prices

increased more than 1,000%. Teva had numerous drugs that showed extraordinary price increases

in the GAO report. The facts of the GAO report support the inference that the Defendants spoke

the alleged false statements with scienter.




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               8.     Officer Terminations Support Scienter

       431.    That three of the Officer Defendants – Olafsson, Vigodman, and Desheh – resigned

from Teva or had their employment with Teva terminated at a critical time, as the Company’s

Price-Hike Strategy was deteriorating and Teva was in regulators’ crosshairs, further supports

scienter. There is a strong inference that the termination of Olafsson was connected to his

fraudulent cover-up of the Price-Hike Strategy and the subsequent decline in Teva’s profits as the

strategy collapsed. The explanation for his termination as “retirement” was false, and the first

charges from the DOJ and State AGs regarding their pricing investigations were released only days

later. There is a similarly strong inference regarding Vigodman’s termination. He was fired without

a replacement just one month after Teva significantly revised its 2017 guidance downwards,

resulting in part from increased price erosion and dwindling generic profits, and one week before

Teva reported disappointing financial results for Q4 2016. Finally, less than two months after

Desheh left Teva, and in the very first reporting period after all Defendants were gone, Teva took

a staggering $6.1 billion charge against its U.S. generics business, and announced a radical 75%

reduction in dividend payments to shareholders. This supports an inference that it was these

Defendants who were blocking the true financial state of the Company from coming to light.

               9.     Other Facts Supporting Scienter

       432.    The Receipt of the Subpoenas: Teva’s receipt of subpoenas from the DOJ and the

Connecticut AG on June 21, 2016 and July 12, 2016, respectively, supports a strong inference of

the Defendants’ scienter. Particularly, the Defendants failed to disclose them in the mandatory

SEC disclosures filed in conjunction with the Notes Offering and Notes Offering materials, but

then disclosed them approximately two weeks after completing the Offering. The failure to

disclose receipt of the subpoenas until the Notes Offering was completed supports scienter, as does

the fact that many of Teva’s competitors disclosed their receipt of a subpoena immediately, in the


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very next SEC disclosure. Moreover, those subpoenas triggered a legally mandatory duty to inquire

into Teva’s pricing practices. Yet, the Defendants thereafter made materially false and misleading

statements about their exposure to price erosion, including during Teva’s September 9, 2016,

Generics Day.

       433.     Bloomberg Article: The November 3, 2016 Bloomberg article revealed that Teva

was the subject of the DOJ criminal inquiry, and that the DOJ and State AGs could likely bring

charges later in the year. Despite this, Vigodman, almost two weeks later, on November 15, 2016,

claimed that he was “not aware of any fact that would give rise to an exposure to Teva with respect

to the investigation.” The State AGs suit and the DOJ charges against Glazer and Malek soon

followed, and, subsequently, those investigations have expanded massively. The close proximity of

Vigodman’s statement to the announcement of the charges diminishes the plausibility of innocent

explanations or denials from the Defendants.

       434.     Prior Settlements For Illegal Marketing of Opioids: In Teva’s annual report on

Form 20-F, filed with the SEC on February 17, 2012, Teva disclosed that “[i]n 2008, Cephalon

entered into settlement agreements with the U.S. government and various parties and states relating

to allegations of off-label promotion of Actiq[.]” Not only did Cephalon pay $425 million, but it

also “agreed to plead guilty to one misdemeanor violation of the U.S. Food, Drug, and Cosmetic

Act, pay a fine and settlement, and enter into a five-year corporate integrity agreement with the

Office of the Inspector General of the Department of Justice.” Moreover, in May of 2017, Teva

agreed to pay $1.6 million to settle the claims brought by two Californian counties over its opioid

marketing. As part of the settlement, Teva was required to disclose the risk of addiction anytime

it touts the benefits of its painkillers and agreed to refrain from false advertising and to disclose

sponsorship of supplements discussing opioids placed in medical journals.




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          D.     Corporate Scienter

          435.   Teva possessed scienter by virtue of the fact that the Officer Defendants, who acted

with scienter as set forth above had binding authority over the Company. In addition, certain

allegations herein establish Teva’s corporate scienter based on (i) the state of mind of employees

whose intent can be imputed to the Company, and/or (ii) the knowledge of employees who

approved the statements alleged herein despite knowing the statements’ false and misleading

nature.

          436.   It can be inferred that senior corporate executives at Teva possessed scienter such

that their intent can be imputed to the Company. For instance, in 2013, Galownia, Teva’s Senior

Director of Marketing who led Teva U.S.’s pricing department, knew of and discussed Teva’s new

Price-Hike Strategy at a quarterly “all-hands” meeting of the sales, customer service, finance, and

pricing groups. Given the nature of this strategy, that it required the involvement of numerous

divisions within Teva to implement, including the Operations department under U.S. COO

Cavanaugh and the Finance department under U.S. CFO Griffin, and that it had a material impact

on Teva’s financial statements, additional unknown executives sufficiently senior to impute their

scienter to Teva were also aware of the Price-Hike Strategy.

          437.   As yet unidentified employees also approved the false statements despite knowing

of their false and misleading nature. As discussed, Teva had in place extensive processes to track

its financial performance on a daily, quarterly, and yearly basis. From this, it can be inferred that

someone at Teva approved of the false and misleading statements in Teva’s financial statements

concerning the source of its generics profits, while knowing that the true source of the profits were

Inflated Profits from the Price-Hike Strategy. Indeed, according to FE-2, “everyone” would have

known of price increases that had a material impact on Teva’s financial reporting for the U.S. It can

also be inferred that someone approved the false and misleading statements that Teva was competing


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  intensely on price, someone who knew of the Price-Hike Strategy, and that it was largely dependent

  on a lack of competition.

VII.     TEVA ENGAGED IN COLLUSION, RENDERING THE STATEMENTS FALSE
         AND MISLEADING AND FURTHER SUPPORTING A STRONG INFERENCE
         OF SCIENTER

         438.    Teva engaged in a series of anticompetitive conspiracies as to particular drugs.

  Plaintiffs make this allegation based on information identified in: (i) the Class Action

  investigation; (ii) the State AGs allegations in their Consolidated Amended Complaint against

  Teva and others (the “Amended First State AGs Complaint” or “CAC”), filed June 18, 2018; and

  (iii) the Second State AGs Complaint.

         439.    The States AGs identify evidence culled from their long-running investigation,

  which began in 2014, including documents obtained pursuant to multiple subpoenas and

  cooperation by defendants who have settled with the State AGs and pled guilty to federal antitrust

  violations. Despite filing the Second State AGs Complaint which greatly expanded the list of price-

  fixed drugs, the investigation remains ongoing. Connecticut’s AG, George Jepsen, who initiated

  and led the State AGs’ investigation, has publicly emphasized that the allegations in the State AGs’

  complaints have a strong basis in direct evidence. In an October 31, 2017 interview with CNBC,

  held after the States filed their proposed CAC, Jepsen emphasized that the CAC’s now-expanded

  allegations rested on compelling evidence: “We’ve uncovered – through emails, text messages,

  and telephone patterns, plus cooperating witnesses – a very compelling case of systematic and

  pervasive price fixing within the industry.”

VIII.    TEVA COLLUDED WITH OTHER MANUFACTURERS TO FIX PRICES

         440.    Parallel Price Increases: The Class Action plaintiffs’ investigation has identified 17

  sudden and aberrational price increases undertaken by Teva that show strong indicia of collusion.

  These price increases, the details of which are reflected in Appendix B, relate to 16 drugs (the


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“Collusive Drugs”), collectively generated as much as $1.23 billion dollars in Inflated Profit for

Teva.In each instance, the drug’s major manufacturers, including Teva, enacted large price

increases at or around the same time, raising prices to exactly, or nearly exactly, the same level.

For some, Teva was the first to raise prices, and others followed; other times, Teva followed

another manufacturer’s lead. The Class Action plaintiffs’ investigation identified, in addition to

these lock-step price increases, corroborating indicia of collusion, detailed below, including: (i)

motive and opportunity to increase prices; (ii) price increases against apparent self-interest; and

(iii) interfirm communications.

       441.       Motive and Opportunity: Companies and individuals involved in generic drug

pricing, sales, and marketing are, as in any other industry, motivated to increase the profit earned

on their products. In the generic drug industry specifically, the natural profit motive may bend

toward a motive to collude, due to the cold realities of marketing products that are, despite their

scientific sophistication, a commodity. Because federal law requires generic drugs to be “readily

substitutable,” price is the only meaningful mechanism by which generic drug manufacturers may

differentiate their products, a circumstance which over time, and absent collusion, drives prices

down to a point just above the manufacturers’ marginal costs of production. Each of the Collusive

Drugs is a long-established generic in a mature market in which prices had leveled off to a steady

equilibrium. The manufacturers of the Collusive Drugs, therefore, had a common motive to

increase their profits by conspiring to raise prices in tandem, overriding the natural downward

pressure on prices.

       442.       In the context of this motive, each Collusive Drug’s market is characterized by

factors that, as a matter of economics, present the opportunity to collude, including:

              •    High Concentration The market for each Collusive Drug was an oligopoly
                   by a handful of manufacturers who collectively controlled substantially
                   all of the market.


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              •    High Barriers to Entry Entering a generic pharmaceutical market requires
                   significant lead time for development and regulatory approval. The cost is
                   significant; the process of obtaining regulatory approval alone can cost
                   millions. Further, there is financial risk that the recoupment of any
                   investment could be delayed or never happen. Regulatory approval,
                   known as an “ANDA” approval, could be denied or delayed for months or
                   years due to technical failures or other factors. According to the GAO and
                   others (including Teva), during the Relevant Period the FDA was
                   significantly “backlogged,” and thus potential market entrants could have
                   to wait years for approval. It has been reported that in 2015 ANDA
                   approvals often took 40 months or more.
              •    Demand Inelasticity The Collusive Drugs are all important, and in many
                   cases absolutely critical, to the end-consumer’s health and well-being. As
                   a general matter, demand for such drugs is inelastic, i.e., the quantity
                   demanded does not vary significantly as price changes, as the consumer
                   cannot simply walk away as prices rise. Another factor contributing to
                   demand inelasticity is that health insurance plans typically will pay for
                   medications regardless of price, so long as the drug is on the plan’s
                   approved list. The Class Action plaintiffs’ undertook statistical analysis of
                   the market for each of the Collusive Drugs, and confirmed inelasticity for
                   each drug and empirically observed that volume did not change as the price
                   increased.
              •    Lack of Alternative Products Doctors choose to prescribe specific drugs to
                   their patients for reasons related to the specific pharmacological distinctions
                   among the drugs in a particular class and, consequently, they cannot simply
                   substitute one product for another when price varies. This is true of the
                   Collusive Drugs. For instance, Pravastatin is one of several generic statins,
                   but unique for its relatively low level of binding to blood plasma proteins,
                   which may have life-altering implications for certain patients.
              •    Inherent Fungibility of Generic Drugs Each manufacturer’s version of
                   each of the Collusive Drugs is, by nature, interchangeable with any other
                   manufacturer’s. By law, all generic drugs must be readily substitutable
                   for another generic of the same brand drug.

       443.       Price Increases Against Self-Interest: There was no reasonable commercial or

economic justification for the price increases in the Collusive Drugs. In no case was a shortage

reported during the Relevant Period for any of the Collusive Drugs, nor any sudden significant

increase in demand. Thus, absent a collusive understanding among competitors, a manufacturer

that acted alone to enact significant price increases ran a tremendous risk of losing all, or most, of

its market share if competitors undercut the suddenly-inflated price. As an empirical fact, each

manufacturer was able to substantially increase, and maintain increases on, the prices for the

Collusive Drugs within a short period of time; no competitor sought to seize increased market



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share by undercutting the other market participants with even a slightly-smaller price increase.

Without a deliberate strategy, such price increases would have been against Teva’s self-interest,

further supporting the Defendants’ scienter.

       444.    The “risk” Teva would have undertaken without collusion was particularly acute

with respect to the six Collusive Drugs for which Teva was the first to increase the price, namely

Ketoconazole (cream and tablets), Nystatin, Theophylline, Diclofenac, Propranolol, and Estradiol.

Appendix B. The fact that Teva was so often willing to expose its market share to predation by

other manufacturers whose prices sat many multiples below Teva’s plausibly supports that, in

reality, there was no risk at all; Teva had reached a collusive understanding that other market

participants would themselves raise prices soon thereafter, and/or that Teva’s “fair share” of the

market would remain untouched despite its extraordinary price increase.

       445.    Inter-Firm Communications: The First Amended State AGs Complaint describes

evidence showing Teva engaged in extensive direct communication with other manufacturers. For

example, the State AGs allege that over 1,500 communications occurred between certain of Teva’s

“senior sales executives and other individuals responsible for the pricing, marketing and sales of

generic drugs” and employees at 15 other manufacturers between July 1, 2013 and July 30, 2014.

       446.    In the Second State AGs Complaint, Teva and its senior executives are alleged to

have reach agreement with their counterparts to “fix and maintain prices, allocate markets and

otherwise thwart competition” “at regular ‘industry dinners,’ ‘girls’ nights out,’ lunches, parties,

golf outings, frequent telephone calls, e-mails and text messages.” In particular, the States AGs’

investigation found that “[t]hrough its senior-most executives and account managers, Teva

participated in a wide-ranging series of restraints with more than a dozen generic drug

manufacturers, all of whom knowingly and willingly participated.” For example, the Second State




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AGs Complaint alleges that in the full calendar years 2013 and 2014, Teva’s senior executives

spoke with their competitors via telephone or text messages a total of 1,389 and 941 times,

respectively.

         447.   For example, the Second State AGs Complaint details Teva’s conspiracy to fix the

price of two generic drugs (ethinyl estradiol and levonorgestrel), which are used in combination

as an oral contraceptive to prevent pregnancy, with its competitor Sandoz Inc. During the relevant

time period, both Teva and Sandoz marketed ethinyl estradiol and levonorgestrel under multiple

names – including both Portia and Jolessa.

         448.   In or around May 2012, Teva and Sandoz held significant market shares for each

of the drugs. Teva and Sandoz controlled approximately 37% and 17%, respectively, of the market

for Portia, and 43% and 11%, respectively, of the market for Jolessa.

         449.   On May 11, 2012, Walmart contacted Teva, which held a right of first refusal, and

explained that Sandoz had made an offer for the sale of four drugs, including Portia and Jolessa.

The following week, Teva sent the customer two competitive offers for the drugs, including Portia

and Jolessa, Teva abruptly backtracked on May 23, 2012 and removed Portia and Jolessa from the

offer.

         450.   Teva’s seemingly abrupt change was explained when it was revealed that on May

22, Kevin Green (“Green”), Director of National Accounts from January 2006 through October

2013 for Teva, spoke on the phone with a Sandoz employee for five minutes, and agreed to

withdraw Teva’s offer.

         451.   Teva agreed to withdraw the offer for Walmart in order to achieve a more equal

share split with Sandoz for both Portia and Jolessa. Sandoz continued to coordinate with Teva to

achieve its “fair share” of the markets for both Portia and Jolessa.




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        452.   On July 2, 2013, another key customer contacted Teva stating it had received bids

on Portia and Jolessa. On July 9, 2013, a Sandoz employee called Patel and left a voicemail.

Shortly thereafter, they connected for a sixteen minute call. On July 10, Teva learned that the

challenger was Sandoz. At 12:16pm, David Rekenthaler (“Rekenthaler”), Vice President, Sales

US Generics at Teva, forwarded an e-mail to Patel, but Patel did not respond by e-mail. However,

due to the close proximity of their offices she likely related her conversation with the Sandoz

employee directly to Rekenthaler.

        453.   Rekenthaler then called another exeuctive of Sandoz at 1:26pm that same day and

they spoke for two minutes. The Sandoz exeuctive called Rekenthaler back a few minutes later

and they spoke for nine minutes. The Sandoz exeuctive and Rekenthaler would speak once more

later that day, at 4:48pm, for seven minutes. Later that same evening, Teva submitted a cover bid

to the customer for Portia and Jolessa. Teva submitted an intentionally inflated bid for the two

drugs in order to ensure that Sandoz obtained the primary award with the customer.

        454.   Similarly, Teva conspired with another competitor, Lupin Pharmaceuticals, Inc.

(“Lupin”), to fix the price of a lifesaving combination of drugs Lamivudine/Zidovudine, also

known by the brand name Combivir. Lamivudine/Zidovudine is used in the treatment of human

immunodeficiency virus (HIV) infection and is often prescribed to decrease the chances that an

HIV positive patient will develop acquired immunodeficiency syndrome (AIDS) or other related

illnesses.

        455.   Teva first started selling Combivir in December 2011, and Lupin joined the market

in mid-May 2012. However, Teva was communicating with Lupin about market share allocation

even prior to it entering the market. In particular, Green was tasked withcommunicating with his

counterpart at Lupin, even prior to Lupin receiving FDA approval to sell Combivir. For example,




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evidence produced in the Second State AGs Complaint reveals that Green spoke with an employee

of Lupin for four minutes on April 24, 2012. Following his call with a Lupin representative, Green

emailed another Teva employee providing specific information regarding Lupin's entry plans,

including commercially sensitive intelligence about Lupin's anticipated bid at a large wholesaler.

The next day, on April 25, 2012, Green and his Lupon counterpart spoke again, this time for seven

minutes. Over the four-day period from May 7 to May 10, for example, Teva, Lupin, and another

“competitor” entering the market for Combivir, Aurobindo, spoke at least 32 times, and always

shorter than thirteen minutes, as detailed in the following chart:




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       456.    On May 10, 2012, at the conclusion of this four-day period of intensive

communications, a Teva employee informed other individuals at Teva of the results. Notably, he

went on to list the specific accounts that Teva had negotiated to retain in order to hold on to a 40%

market share in generic Combivir. Further, he identified the specific accounts that Teva would

concede to its competitor Aurobindo and Lupin.

       457.    Not only did Teva speak with competitors to fix the market allocation, it also

conspired to fix the price and artificially inflate the drug prices. For example, in February 2014,

Teva held a controlling market share (62.4%) of Baclofen, also known by the brand names

Gablofen and Lioresal. Baclofen is a muscle relaxant used to treat muscle spasms caused by

certain conditions such as multiple sclerosis and spinal cord injmy or disease. It is generally

regarded as the first choice of physicians for the treatment of muscle spasms in patients with

multiple sclerosis.

       458.    Teva’s primary competitors in the market for Baclofen at this time were Qualitest

(22.5%), and Upsher-Smith Laboratories, LLC (“Upsher-Smith”) (6.8%).

       459.    As of February 21, 2014, Upsher-Smith took a significant price increase on

Baclofen, ranging from 350 - 420% to the WAC price, depending on the formulation. Prior to the

increase, Baclofen was not a profitable drug for Upsher-Smith.

       460.    Teva initially considered following the Upsher-Smith price increase quickly, as part

of its April 4, 2014 price increases – but decided against it. The primary reason was that Qualitest

was in the market, and would likely compete for market share if Teva increased its price. However,

Teva learned that Qualitest was having supply problems, and could exit the market for Baclofen.

Upon learning that Qualitest would leave the market and Teva would only compete with Upsher-

Smith it quickly worked to increase its prices.




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       461.    The reason why Teva felt comfortable dramatically raising the price of

Baclofenwas because Patel had a relationship and understanding with a national account executive

at Upsher-Smith. In the week before she started her employment at Teva, Patel and the Upsher-

Smith executive exchanged several text messages. During her first week on the job, as she was

beginning to identify price increase candidates and high quality competitors, Patel spoke to the

Upsher-Smith executive on April 29, 2013 for nearly twenty minutes. During these discussions,

Patel and the Upsher-Smith executive reached an understanding that Teva and Upsher-Smith

would follow each other's price increases, and not compete for each others customers after a price

increase. Their agreement was further cemented in June and July 2013, when the two competitors

agreed to substantially raise the price of Oxybutynin Chloride.

       462.    Accordingly, by the time Upsher-Smith raised its prices for Baclofen in April of

2014, there was no need for further communications with Teva because the two companies had a

standing agreement, as well as personal relationships between their executives.

       463.    Effective April 15, 2014, Teva raised its pricing for Baclofen to precisely match

Upsher Smith’s pricing.. Teva increased its Baclofen WAC pricing from 350% to 447%.

Importantly, Teva would not have increased its prices on Baclofen had it not of had an

understanding in place with Upsher-Smith.

       464.    During this period, Teva did not seek to take any customers from Upsher-Smith

during the time period after Upsher-Smith's increase and before Teva could follow. Even after

Teva's increase, when Qualitest customers approached Teva for a bid due to Qualitest's supply

problems, Teva deferred to Upsher-Smith.

       465.    Two months after conspiring to raise the price for Baclofen, Teva conspired with

Lannett so that Lannett could enter the market seamlessly without significantly eroding the




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artificially high prices in the market.In June 2014, Teva had a large market share for Baclofen in

relation to the existing competitors in the market, however, Lannett was preparing to re-enter the

market. On June 12, 2014, as Lannett was about to re-launch sales of Baclofen, the Director of

National Accounts at Lannett messaged Patel personally on Facebook Messanger. Fourteen

minutes later, Patel called the Lannett employee and they spoke for seven minutes. On this call,

the Lannett employee informed Patel that Lannett would be entering the market for Baclofen

shortly. Next, on July 1, 2014, the Lannett employee called Patel and left a voicemail. Patel

promptly returned the call, and the two spoke for almost seven minutes. The Second State AGs

Complaint provides numerous other examples of Teva agreeing with competitors to allocate the

market and fix prices of dozens of generic drugs.

       466.    Furthermore, the Class Action plaintiffs’ investigation identified a multitude of trade

shows and conferences that afforded individuals responsible for Teva’s generic drug prices an

opportunity to interact with their counterparts at other manufacturers during the relevant period,

many of which occurred in close proximity to price increases that Teva and/or another

manufacturers implemented on the Collusive Drugs. A list of such events, indicating attendance

by Olafsson, Oberman, Cavanaugh, Galownia and Patel is attached hereto as Appendix C. In all

instances identified in Appendix C, representatives of at least one other manufacturer – and

typically many more – also attended.

       467.    Trade shows and conferences provided opportunities for one-on-one meetings with

between Teva personnel, including several of the Defendants, and those of other manufacturers.

For instance, at both the 2013 and 2014 annual meetings of the National Association of Chain

Drug Stores (“NACDS”), Teva reserved a “strategic exchange” bungalow. NACDS advertised

“strategic exchange” bungalows as “opportunities to meet and discuss strategic issues with key




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trading partners.” In essence, Teva paid for a secluded area where its personnel could meet

privately with others, including other manufacturers.

       468.       Government Investigations Corroborate an Inference of Collusion: Corroborating

the inferences drawn from the Class Action plaintiffs’ investigation, the State AGs’ CAC alleges,

based on specifically-described communications, seven drug markets where Teva conspired to fix

prices and/or allocate markets, namely the markets for: Acetazolamide, Glipizide-Metformin,

Glyburide, Glyburide-Metformin, Leflunomide, Nystatin, and Theophylline. Nystatin and

Theophylline – two drugs where the States uncovered evidence that Teva, in coordination with

Heritage, agreed to “take the lead” on price increases, overlap with the set of drugs where the Class

Action plaintiffs’ investigation found strong indicia of collusive price-fixing.

       469.       The State AGs focus many of their drug-specific collusion allegations on the

communications of Malek, Heritage’s President. In dealing with Teva, Malek coordinated market

allocation and price increases with a particular Teva employee, with whom he had a preexisting

relationship. This employee joined Teva in April 2013, and was on maternity leave from August

through December 2013. On information and belief, this employee is Nisha Patel (“Patel”), Teva’s

Director of Strategic Customer Marketing from April 2013 to August 2014 and Director of

National Accounts from September 2014 to December 2016. Patel was on maternity leave from

August through the end of 2013, (FE-1), and her tenure at Teva, based on publicly available social

media sites, aligns with that of Malek’s Teva contact. Patel had responsibilities relating to pricing

prior to her shift to National Accounts. (FE-1, FE-3.) The following is a brief timeline of those

interactions, and their anticompetitive outcomes:

              •    July 2013 After three calls between Malek and Patel spanning more than
                   43 minutes, Nystatin appeared on an internal Teva list of “potential” price
                   increases, despite a Nystatin price increase having met internal resistance
                   the prior month, when Teva first considered the prospect. Patel went on
                   maternity leave soon afterwards.


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              • February 7, 2014 After several contacts between Patel and Malek,
                Nystatin again appeared on an internal Teva spreadsheet as a candidate
                for a price increase.
              • April 4, 2014 Teva increased WAC for Nystatin and Theophylline.
              • April 15, 2014 Malek and Patel had a 17 minute conversation, during
                which they discussed price increases and/or market allocation as to at least
                the seven drugs referenced above. Patel and Malek determined that, as
                Teva had raised WAC on Nystatin and Theophylline days earlier, Teva
                would “take the lead” on implementing price increases for those drugs, and
                other competitors would follow. Heritage would lead on the other five.
              • April 16-17, 2014 Multiple Teva employees communicated with Zydus, a
                 competitor in the market for Acetazolamide.
              • May 1-6, 19-22, 2014 Patel had at least three calls and exchanged at least
                30 text messages with the Actavis pricing manager responsible for
                Glyburide-Metformin.
              • May 9, 2014 A Teva employee responsible for pricing spoke with their
                counterpart a Mylan, a competitor in the market for Glipizide-Metformin;
                these employees remained in close communication through 2014.
              • July 8, 2014 Teva refused to bid when a large Heritage customer
                requested a quote on Nystatin from Teva, in response to Heritage’s price
                increase on the drug.
              • By July 9, 2014 Teva had increased prices on Nystatin, Theophylline,
                Glyburide, and Glyburide-Metformin, and Heritage had increased prices
                on all seven drugs Malek and Patel had discussed on April 15. If Teva did
                not increase prices, it furthered the agreement by refraining from bidding
                competitively, lowering prices, or, in the case of Leflunomide, leaving
                the market entirely.
              • July 25, 2014 After a large wholesaler solicited bids from Teva and
                Aurobindo on Glyburide, Teva spoke with Heritage (and Heritage with
                Aurobindo) “to ensure uniformity and compliance with the scheme,” and
                resolved that Teva and Aurobindo would decline to provide a bid.

       470.       These seven examples of Teva’s reaching anticompetitive agreements are drawn

just from the limited subset of drugs manufactured by both Teva and Heritage, a relatively small

player in the industry. The State AGs have indicated that the CAC’s common thread is Heritage,

and that they plan to bring separate complaints focused on companies other than Heritage. The

States are investigating collusive conduct relating to nearly 200 additional drugs.

       471.       The State AGs have provided additional evidence of collusion by Teva, Patel, and

Cavanaugh in their Second Complaint. For example, the Second State AGs Complaint alleges that

in the summer of 2014, Cavanaugh would receive immediate updates David Rekenthaler,


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concerning his discussions with executives at a competitor to fix the market for a newly released

generic drug, Cappecitabine. See, e.g., Second State AGs Complaint ¶ 210. Indeed, the evidence

contained in the Second State AGs Complaint revealed that Between January 2011 and August

2017, Cavanaugh personally communicated with her counterparts at Teva competitors at least 612

times.

         472.   The DOJ also continues to actively investigate Teva, as evidenced by its motion to

stay discovery in the Propranolol Antitrust matter on the ground that the plaintiffs’ allegations of

price-fixing “overlap[] substantially with one aspect of [DOJ’s] criminal investigation.” The

S.D.N.Y., in sustaining the Propranolol Antitrust allegations over Teva’s motion to dismiss,

reasoned that “[t]he presence of an ongoing investigation into the same subject matter as alleged

in the pleadings here raises an inference of conspiracy.” The DOJ intervened similarly in the

Generic Pharmaceuticals MDL, seeking stays and asserting that the drugs at issue – including the

Collusive Drugs Baclofen, Fluocinonide, Pravastatin, and Propranolol – overlap with the DOJ’s

criminal investigation, further corroborating the existence of illegal price-fixing as to those drugs.

         A.     Evidence of Collusion Further Supports a Strong Inference of Scienter

         473.   Teva’s collusion additionally supports a strong inference of scienter. Given all the

information available to them, the Defendants knew, or recklessly disregarded, that in order for

the Price-Hike Strategy to generate the high level of Inflated Profits apparent in data regularly

available and reported to them, Teva would likely have had to, and did, coordinate, communicate,

and potentially reach illegal agreements with other manufacturers.

         474.   As alleged, Teva’s price increase approval processes necessarily involved senior

management. Indeed, Patel, or any person in her position, did not have the authority or ability to

raise prices or to determine which drugs Teva would bid on, including the ones that Malek and




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Patel had discussed. (FE-2, FE-1, FE-3.) Teva’s senior management and executives, including

Griffin and Cavanaugh, approved all price increases.

       475.    Moreover, many of the Collusive Drugs were major drugs for Teva and the profits

from the price hikes were substantial. In all, the Collusive Drugs generated $1.2 billion over the

Relevant Period. The financial implications of the price increases would have been reflected in the

analysis that Griffin and Cavanaugh undertook in deciding whether to take the price increase, and

when. (FE-1, FE-2.) That financial impact would also be reflected in the financial reporting for

which they and Oberman and Olafsson were responsible, and which was presented to Vigodman

and Desheh. (FE-2, FE-1.) These included regularly updated forecasts and scorecards. The

information was also available on the Oracle ERP system.

       476.    With the knowledge gained from these reports and data, Teva’s executives and the

generic segment CEO (Oberman and then Olafsson), Teva CAO and CFO of Teva USA (Griffin),

and COO of Teva USA (Cavanaugh) could see when price increases were effective for an

abnormally long time, or whether an abnormal quantity of price increases remained effective in

contravention of rational economics.

       477.    Moreover, the State AGs have alleged that for years Teva adhered to a

“widespread” “code of conduct,” among generic drug manufacturers that allowed them to “fix

prices and allocate markets to suppress competition.” The “code’s” objective was to attain a price

equilibrium where manufacturers had no incentive to compete for additional market share by

lowering price. Under that code, “competitors” would agree collectively to raise or maintain drug

prices, dictating that a competitor should not “punish” another for price increases by underbidding

the competitor who raised prices, as that would be “irresponsible.” Manufacturers also would enter




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into collusive “fair share” market allocation agreements by making knowingly uncompetitive bids,

refusing to bid, or readjusting market share by walking away from customers.

       478.    The State AGs have stated that evidence they have secured shows that executives

at the highest levels in many of the defendant companies conceived and directed many of the

schemes. This assertion corroborates the investigation conducted by plaintiffs in the Class Action,

including that Cavanaugh and Griffin were involved in pricing decisions, and Olafsson and

Oberman would have received and reviewed reports and forecasts reflecting the Inflated Profit

generated thereby.

       479.    Furthermore, Oberman, Olafsson, and Cavanaugh personally attended numerous

trade shows and conferences during the relevant period, affording them the opportunity to interact

with individuals responsible for pricing and marketing decisions at other manufacturers (Appendix

C).

IX.    THE UNDISCLOSED FACT OF TEVA’S COLLUSION CONSTITUTES AN
       INDEPENDENT BASIS FOR FALSITY

       480.    The false and misleading statements regarding the source of Teva’s profits as

described in its SEC disclosures identified above in Section III.C.3, and the false and misleading

statements regarding competition in Teva’s SEC disclosures as identified above in Section III.C.2,

were false and misleading, in addition to the reasons enumerated above, because Teva conspired

with other manufacturers to fix prices for certain generic drugs. Statements regarding the supposed

source of Teva’s revenues were false because they omitted the fact that Teva’s revenues were

partly generated by collusive means. Statements describing the supposed competitiveness of the

U.S. generic drug market were false because Teva was in reality participating in series of

anticompetitive conspiracies that distorted competitiveness.




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X.      LOSS CAUSATION

        481.       In addition to the allegations herein, the Defendants’ fraudulent conduct directly

and proximately caused Plaintiffs to suffer substantial losses as a result of purchasing Teva

Securities at artificially inflated prices during the Relevant Period.

        482.       The Defendants, through each category of false and misleading statements and

omissions, concealed the truth about Teva’s core business strategy that materially contributed to

Teva’s financial and operational success during the Relevant Period. By concealing, among other

things, the Price-Hike Strategy, that Teva was not competing on price, that the strategy was driving

known material trends, and that as the strategy failed and pricing competition increased Teva’s

financial condition was deteriorating, the Defendants also concealed the numerous and related

risks associated with their false statements and omissions, including but not limited to, the risks

that:

               •    the strategy was highly risky and not sustainable, and as the strategy
                    failed, Teva’s profits would collapse; by their nature, especially when
                    done in tandem with competitors, price hikes might appear to arise from
                    anti-competitive and/or collusive conduct and, thus, draw the attention of
                    government investigators and law enforcement agencies, precipitating
                    possible legal actions, civil liabilities, and criminal sanctions;

               •    should the Price-Hike Strategy come under public, legislative, or law
                    enforcement scrutiny, the viability of sustaining the Inflated Profits
                    and/or implementing new price hikes would be severely undermined, and
                    would thereby undercut a major driver of the generic segment’s profit;

               •    if pricing pressure or competition increased, Teva would be far more
                    susceptible to a rapid and material decline in Inflated Profits, resulting in
                    poor financial results and undercutting reported and forecasted profits;

               •    upon the failure of the Price-Hike Strategy, the Company could be further
                    disrupted by the termination of the senior managers who were responsible
                    for the strategy, and by any increased difficulty in hiring qualified
                    replacements; and

               •    as the Price-Hike Strategy in fact failed over time, Teva’s Inflated Profits
                    declined, and Teva was prevented from making additional price
                    increases, those trends would continue.




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The concealed risks bear directly on Teva’s ability to generate and sustain its profits and its ability

to service the over $30 billion in debt payable to public investors.

       483.    Beginning in August 2016, the concealed risks began to materialize through a series

of negative events and disclosures that revealed, on a piecemeal basis, the false and misleading

nature of the Defendants’ Relevant Period statements and omissions. Despite these partially

corrective events and disclosures, Teva Securities’ prices remained artificially inflated and were

prevented from declining to their true value by the Defendants continuing to make materially false

and misleading statements that had the effect of, at least temporarily, concealing their fraud. As

the relevant truth leaked out into the market from August 2016 to August 2017, public investors,

including Plaintiffs, suffered losses, which were foreseeable and caused by the materialization of

the risks that the Defendants’ fraudulent conduct concealed from investors, as set forth below.

       A.      August 4-5, 2016

       484.    After the close of trading on August 4, 2016, Teva filed its Q2 2016 6-K, reporting

Q2 2016 results, which announced (i) poor generics segment earnings, including a $115 million

YOY decline in profits for the generics segment; and (ii) that “[o]n June 21, 2015 [sic], Teva USA

received a subpoena from the Antitrust Division of the United States Department of Justice seeking

documents and other information relating to the marketing and pricing of certain of Teva USA’s

generic products and communications with competitors about such products” and “[o]n July 12,

2016, Teva USA received a subpoena from the Connecticut Attorney General seeking documents

and other information relating to potential state antitrust law violations.”

       485.    On this news, the prices of Teva Securities declined. Between the close of trading

on August 4, 2016 and on August 5, 2016, the price of Teva’s ADS fell $1.24 or 2.24% to close at

$54.21.




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       486.    Likewise on the TASE, the price of Teva’s ordinary shares fell ILS 2,860, or

12.98%, from ILS 22,040 on August 3, 2016, to close at ILS 19,180 on August 5, 2016.

       487.    This marked the beginning of the relevant truth leaking out, as Teva’s Price-Hike

Strategy had begun to collapse, as Teva lost its ability to profit from the 76 historic price hikes, or

to implement new increases in 2016. The disclosure of the subpoenas was a materialization of the

risk that, after nearly two years of ongoing investigations, the DOJ and State AGs would seek

evidence from Teva in connection with Teva’s pricing practices.

       B.      November 3, 2016, December 13-16, 2016

       488.    On November 3, 2016, during the trading day on the NYSE, Bloomberg published

an article titled “U.S. Charges in Generic-Drug Probe to Be Filed by Year End,” describing the

DOJ’s “sweeping” two-year investigation related to the soaring prices of generic drugs and how

executives from more than a dozen generic pharmaceutical manufacturers, including Teva, were

suspected of colluding to raise the prices of generic drugs. The article broke the news that the first

criminal charges against executives of those companies could emerge by the end of the year, and

that State AGs were seeking to bring claims against generic manufacturers.

       489.    On this news, the prices of Teva Securities declined once again. Between the close

of trading on November 2, 2016 and the close of trading on November 3, 2016, Teva’s ADS price

fell $4.13 or 9.53% to close at $39.20.

       490.    The next trading day on the TASE, the ordinary shares fell ILS 710, or 4.5%, from

ILS 16,040 on November 3, 2016 to ILS 15,330 on November 6, 2016.

       491.    In a November 3, 2016 article titled “News of Charges in Price-Fixing Inquiry

Sends Pharmaceuticals Tumbling,” The New York Times reported that the news that the DOJ and

State AGs’ investigations found serious evidence of criminal conduct caused significant declines

in the price of Teva Securities. On November 4, 2016, S&P Capital IQ lowered its rating of Teva


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ADS from “buy” to “hold” and its 12-month price target by $34 to $50 per share, noting that “[w]e

think this could pose yet another challenge to an industry that has been hit hard by charges of high

drug prices and will be an overhang on the shares.” HSBC in its November 4, 2016 analyst report,

downgraded Teva from “buy” to “hold” and lowered its price target from $66 per share to $44 per

share, noting “US DOJ investigation into alleged US generic drug price collusion creates

significant uncertainty” for Teva and for investors. In a November 10, 2016 article titled “DOJ’s

price-fixing investigation could lead to sizable liabilities, analyst says,” Fierce Pharma reported

that analysts tracking the generic drug industry believed that liability from the investigations could

have a sizeable financial impact on Teva, estimated at $700 million.

       492.    Within weeks the expected governmental actions materialized. On December 13,

2016, the DOJ, by means of an Information, charged Malek and Glazer, the top two executives at

Heritage, with two felony counts of violating Section 1 of the Sherman Act partly for fixing the

price of Glyburide, a drug for which Teva held 75% of the market.

       493.    On December 14, 2016, led by the Connecticut AG, the State AGs filed their

lawsuit against Teva and several of its peers for civil violations of the antitrust laws, accusing Teva

of conspiring to allocate the markets for and fix the prices of generic drugs, including for

Glyburide, and of participating in a larger market-wide collusive conspiracy. Forbes reported the

next day, in an article titled “State Attorneys General Accuse Six Generic Companies Of Fixing

Drug Prices,” that the AG’s complaint revealed new information regarding Teva’s potential

exposure, made “clear which companies could be implicated in the antitrust investigation federal

prosecutors are pursuing,” and also noted that Glazer and Malek were cooperating.




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       494.    On the news of the DOJ charges and the filing of the State AGs’ complaint, the

prices of Teva Securities continued to decline. Between the close of trading on December 13, and

December 16, 2016, the ADS price fell $1.15 or 3% to close at $36.51.

       495.    Likewise, on the TASE, the ordinary share price fell ILS 140, or 0.98%, from a

close of ILS 14,240 on December 15, 2016 to a close of ILS 14,100 on December 18, 2016.

       C.      November 15, 2016

       496.    On November 15, 2016, before trading opened on the NYSE, Teva filed a press

release with the SEC reporting its Q3 2016 financial results, which were well below consensus

expectations largely due to poor sales in Teva’s generics divisions, including a $277 million YOY

decline in revenue in Teva’s “legacy” U.S. generics segment (i.e., in the pre-Actavis-transaction

portion of Teva’s U.S. generics business). In the Company’s November 15, 2016 earnings call, the

Company also revised downward its 2016 guidance, and disclosed for the first time that the rate

of price erosion for its generic drugs has increased from 5% to 7%, although Olafsson falsely

claimed that the increase was the result of divestitures from the Actavis transaction, and thus was

limited to one quarter.

       497.    On this news, the prices of Teva Securities continued to decline. Between the close

of trading on November 14 and 15, 2016, the ADS price fell $3.43 or 8.36% to close at $37.60.

Likewise, on the TASE, the ordinary share price fell ILS 720, or 4.58%, from a close of ILS 15,710

on November 14, 2016 to a close of ILS 14,990 on November 15, 2016.

       498.    Analysts responded negatively to the new information concerning the Company’s

disappointing financial results. That day, in a report titled, “Are The Wheels Coming Off? Sure

Feels That Way,” Piper Jaffray lowered its price target from $57 per share to $43 per share, noting

that “it appears to us that Teva painted an overly sanguine picture of its generics business at its

investor event in September [during the Generics Day],” and describing Q3 2016 as a “credibility-


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damaging quarter,” because, in the face of Olafsson’s explanation that the price erosion would be

limited, it was “difficult for us to take that assertion at face value.” Also that day, Deutsche Bank

wrote “TEVA reported 3Q revenue that was below our estimate on lower generic sales . . . the

company saw higher than expected price erosion in 3Q” and, as a result, lowered its price target

for the Company from $68 per share to $54 per share on “lower growth assumptions for generics.”

Likewise, in a November 16, 2016 report, Morgan Stanley lowered its price target for the Company

from $63 per share to $42 per share, as a result of the lower than expected generics growth and

worse than expected price erosion.

       D.      December 5-6, 2016

       499.    After the close of trading on December 5, 2016, Teva filed a Form 6-K announcing

that Olafsson would be stepping down as President and CEO of the Company’s Global Generic

Medicines Group and that, effective immediately, he would be replaced by Bhattacharjee. Teva

offered no explanation for Olafsson’s departure, instead claiming he was “retiring” even though

he was only in his late 40s and quickly obtained other employment.

       500.    On this news, on December 6, 2016, the prices of Teva Securities continued to

decline. Between the close of trading on December 5 and on December 6, 2016, the ADS price fell

$2.01 or 5.43% to close at $35.03. Likewise, on the TASE, the ordinary share price fell ILS 690,

or 4.91%, from a close of ILS 14,050 on December 5, 2016 to a close of ILS 13,360 on December

6, 2016.

       501.    Analysts tied Olafsson’s termination to the disappointing results in Teva’s generics

segment and concerns over pricing pressure. On December 6, Morningstar reported: “Teva’s

announcement [that it] will replace Siggi Olafsson as CEO of the generics segment does not inspire

confidence. Recent pricing pressure in the generic drug market . . . remain[s] significant near-

term challenge[] for Teva, which makes the abrupt leadership change a concerning development


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at a critical time for the company.” A December 5 BTIG report noted “[w]ithout Siggi Olafsson

at the helm of Teva’s global generic segment, we think investor sentiment could worsen as the

market has remained focused on price erosion for the [company’s] base generic business” and

that “the departure of Mr. Olaffson [sic] creates more uncertainty as we head into 2017.”

       E.      January 6, 2017

       502.    On January 6, 2017, before the beginning of the trading day on the NYSE, Teva

filed a press release on Form 6-K announcing a significant reduction in the 2017 guidance

previously released on July 13, 2016. In the investor conference call that day, Vigodman claimed

the “significantly” reduced guidance resulted from “significant headwinds” faced by “[t]he entire

healthcare sector” to which Teva “ha[d] not been immune,” and “some issues specific to Teva”

resulting in “an EBITDA gap of $1.2 billion emanating from our US generics business.” In

addition to the materialization of the concealed risks described herein, this was the materialization

of the risk of the Defendants using an “assumption” for price erosion in the July 13, 2016 guidance

that was empirically false at the time; specifically, Defendants assumed a pricing environment that

was “stable”— i.e., 4%-5% erosion rate disclosed in prior years and quarters—when, in fact,

pricing pressure was causing a more rapid decline.

       503.    As a result of this new negative information, the prices of Teva Securities continued

to decline. Between the close of trading on January 5 and January 6, 2017, the ADS price fell $2.86

or 7.53% to close at $35.10.

       504.    Likewise, on the TASE, the ordinary share price fell ILS 790, or 5.49%, from a

close of ILS 14,390 on January 5, 2017 to a close of ILS 13,600 on January 8, 2017.

       505.    Analysts tied this disclosure to the fact that the prior guidance was “inflated” as a

result of understating generic drug price erosion. In a report dated January 6, 2017, Evercore ISI

conducted its own price erosion analysis for the Company and noted that, as a result of its lower


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than expected revenues and EPS, “I think it’s pretty clear that mgmt’s prior expectation for 2017

were very inflated.” Similarly, the same day, Maxim Group downgraded its rating of the Company

from “buy” to “hold” and its price target for the Company from $49 per share to $41 per share and

noted “challenges in the near term to the core generic . . . business are becoming bigger issues.” In

a January 8, 2017 report, Piper Jaffray stated that “Teva once again provided disappointing

guidance, further eroding what in our view was already limited management credibility.”

       F.      February 6-7, 2017

       506.    On February 6, 2017, after the close of trading on the NYSE, in a Form 6-K filed

with the SEC, Teva announced the termination of Vigodman as CEO, effective immediately and

without a permanent replacement, and the conclusion of his service on the Board of Directors.

       507.    On this news, the prices of Teva Securities continued to decline. Between the close

of trading on February 6 and on February 7, 2017, the ADS price fell $2.16 or 6.29% to close at

$32.19.

       508.    Analysts tied Vigodman’s abrupt departure to the Company’s poor financial

performance in its generics business since no later than Q2 2016, as well as sustained difficulties

for the generics business ahead. For example, in a February 6, 2017 report titled “CEO Transition

Adds Further Uncertainty to Story,” J.P Morgan reported “we view today’s update as a

disappointment, with arguably the two most important executives at Teva stepping down (Erez

and Siggi Olafsson, CEO of generics) within the last several months at a time of significant

fundamental challenges. With Teva facing headwinds across both its generics (incremental

competition, pricing headwinds) and branded business ... we continue to believe a near-term

recovery in the company’s business is unlikely.” Similarly, that day, Wells Fargo concluded that

“more investors will be uneasy with the uncertainty of an unexpected and abrupt CEO departure.”




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       G.      August 3-7, 2017

       509.    On August 3, 2017, before the NYSE opened, Teva filed a press release on a Form

6-K announcing lower-than-expected Q2 2017 financial results. The Company (i) attributed its

poor financial results to poor performance in its U.S. generics business (with reported profits of

only $691 million, far below analyst expectations) and “accelerated price erosion”; (ii) was

required to take a $6.1 billion accounting charge permanently writing-down the value of the

generics business; and (iii) imposed a 75% reduction in the Company’s longstanding dividend.

The Company also significantly lowered its guidance for 2017, revising downward its earlier-

reported guidance from January 2017 for the Company’s net revenues, operating income,

EBITDA, EPS, and cash flow. On the Company’s earnings conference call held that day,

McClennan, Teva’s interim CFO, explained that the poor results and reduced guidance were partly

the result of increased price erosion and price pressure. Importantly, Bhattacharjee further noted

the “impact of the shelf stock adjustments that [Teva has] done,” as a “key element” of the revised

outlook. Shelf stock adjustments are contractual provisions that require charge backs to customers

when prices decline. It was highly foreseeable that prices would decline on at least the 60 drugs

subject to the Price-Hike Strategy, drugs for which Teva had increased price by at least 50%, and

as much as 1543% over the Relevant Period. Teva’s $6.1 billion permanent impairment charge

directly reduced Teva’s bottom line dollar-for-dollar.

       510.    Analysts reacted harshly. That day, J.P. Morgan wrote, “Teva reported weaker-

than-expected results but more importantly lowered in 2017 sales and EPS guidance . . . and cut

its dividend by 75%. . . . U.S. generic weakness appears to be at the heart of these reductions.”

Jefferies wrote, “Mgt Had Effectively No Choice but to Cut the Dividend; Maintaining Debt

Covenants a Key Concern.” Oppenheimer noted, “it may be difficult for Teva’s board to attract

top talent (meaningful pharma CEO experience) given the company’s ongoing challenges,” as the


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CEO and CFO positions remained unfilled. Analysts were further concerned about Teva’s ability

to sustain its debt and debt rating. Jefferies wrote: “Can It Get Any Worse?,” noting that “[a]t

present, Teva has a debt covenant that requires a minimum leverage of 4.25 x (net debt/EBITDA)

by YE17 ... If mgt’s ever-shrinking EBITDA guidance ... erodes much further, it is possible Teva

may not meet the [debt] obligation.” The reality was that Teva’s poor results, guidance reduction,

and the risk that it could not satisfy its debt obligations were the materialization of the risks

associated with the Price-Hike Strategy and its ultimate demise. There was no realistic prospect

that the strategy could be revived, or that it could again generate the same Inflated Profits. The

result was the write down of the generics business by $6.1 billion, and Teva cutting its dividend

by 75%.

       511.    With the true financial condition of the Company more evident, credit rating

agencies immediately issued rating downgrades. On August 3, 2017, Moody’s downgraded Teva’s

debt rating to Baa3 (one step above “junk”), with a negative outlook, reflecting slower-than-

anticipated deleveraging “as Teva contends with weakness in its US generics business.” Likewise,

on August 4, Fitch Ratings also downgraded Teva to BBB- (one step above “junk”), with a

negative outlook.

       512.    As investors digested the news, the prices of Teva Securities dropped. Between the

close of trading on August 2 and the close of trading on Monday, August 7, 2017, the price of

Teva’s ADS fell $12.66 or 40.51% to close at $18.59.

       513.    The ordinary share price also declined ILS 1,980, or 17.79%, from a close of ILS

11,130 on August 2, 2017 to a close of ILS 9,150 on August 3, 2017. Teva’s market capitalization

was reduced by approximately $8 billion. The next trading day on the TASE, the ordinary share

price continued to fall by ILS 2,022, or 22.10%, from a close of ILS 9,150 on Thursday, August




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3, 2017 to a close of ILS 7,128 on Sunday, August 6, 2017. The ordinary share price continued to

fall by ILS 18, or 0.25%, from a close of ILS 7,128 on Sunday, August 6, 2017 to a close of ILS

7,110 on Monday, August 7, 2017.

       H.      November 2, 2017

       514.    On November 2, 2017, Teva filed its Q3 2017 Form 6-K, reporting the Company’s

third quarter 2017 financial results, including a 9% decline in U.S. Generic Medicine quarterly

revenues compared to the third quarter of 2016. The decrease was misleadingly attributed to

“pricing declines resulting from customer consolidation into larger buying groups and accelerated

FDA approvals for additional generic versions of competing off-patent medicines as well as

volume decline of methylphenidate extended-release tablets (Concerta® authorized generic) due

to the launch of a competing product.”

       515.    Investors and analysts reacted negatively to this news. Analysts at Cowen and

Company called the Company’s full year guidance “unfavorable” and stated that, with a “difficult

generic pricing environment and competitive pressures – which are not being properly offset by

new product launches – the Teva business model is now upside down.” Analysts at RBC Capital

Markets stated that the results were even “below our cautious expectations,” and that the

“magnitude of weakness in the US generics business in both revenue and margins was surprising.”

Wells Fargo Securities analysts found Teva’s results to be “especially disappointing.”

       516.    As a result of this new negative information, the prices for Teva securities declined.

The ADS price fell $2.79 per share, or nearly 20%, from a close of $14.02 on November 1, 2017

to a close of $11.23 on November 2, 2017, on high trading volume. Teva’s market capitalization

was reduced by approximately $3 billion.




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       517.      The next trading day on the TASE, Teva’s ordinary shares fell ILS 670, or 13.65%,

from a close of ILS 4,908 on Wednesday, November 1, 2017 to a close of ILS 4,238 on Thursday,

November 2, 2017.

       I.        February 8, 2018

       518.      On February 8, 2018, Teva issued a press release announcing its fourth quarter and

full year financial results, including a staggering $17.1 billion goodwill impairment mainly related

to its generics business for 2017. On the conference call with investors held later that day, Teva

explained that $11 billion of the impairment “related to our U.S. generics business as well as

additional impairments of other long-lived assets of $3.2 billion, mainly related to a revaluation of

generic products acquired from Actavis.”

       519.      Investors and analysts reacted negatively to this news. Analysts at Wells Fargo

Securities stated that the Company missed consensus expectations “by a significant margin,” but

noted that:

       [W]e believe it will be the lower than consensus 2018 outlook that investors will
       be focused on, especially the commentary about generic pricing worsening in 4Q
       and the overall environment worsening for the value of future launches. Teva took
       a $17.1 billion goodwill impairment, which investors should see as reflective of
       how challenging the situation is.

BTIG analysts noted “another major write-down following last year’s $6B goodwill impairment.”

Similarly, IBI Brokerage stated that the $11 billion “impairment charge [was] almost entirely for

the generics business in the US” and that guidance for fiscal year 2018 was “way below market

expectations.”

       520.      As a result of this new negative information, the prices for Teva securities declined.

Teva’s ADS price fell $2.21 per share, or over 10.5%, from a close of $20.85 on February 7, 2018

to a close of $18.64 on February 8, 2018, on high trading volume. Teva’s market capitalization

was reduced by approximately $2.3 billion.


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       521.    The next trading day on the TASE, the ordinary share price fell ILS 500, or 6.9%,

from a close of ILS 7,200 on February 7, 2018 to a close of ILS 6,700 on February 8, 2018.

       J.      December 9-10, 2018

       522.    On December 9, 2018, the Washington Post published an interview with Joseph

Nielsen, an assistant attorney general and antitrust investigator in Connecticut who has been a

leading the State AGs investigation. Mr. Nielson disclosed that the price-fixing investigation had

expended to at least 16 companies and 300 drugs.

       523.    Mr. Nielson described the State AGs investigation as “most likely the largest cartel

in the history of the United States,” citing the volume of drugs in the schemes, that they took place

on American soil and the “total number of companies involved, and individuals.”

       524.    Following the news of the expanded scope of the criminal investigation, Teva’s

ADS price fell $0.97 per share, or approximately 5%, to close at $18.44 on December 10, 2018.

Likewise, on the TASE, Teva’s ordinary shares fell ILS 390, or 5.34%, to close at ILS 6,910 per

ordinary share on December 10, 2018.

       K.      May 10, 2019

       525.    On May 10, 2019, more than 40 State AGs filed the Second State AGs Complaint,

expanding the extent of liability Teva faces, alleging that Teva illegally colluded with its

competitors to fix the price of thirty-two drugs previously unnamed in the First State AGs

Complaint. Notably, the Second State AGs Complaint stated that the State AGs’ investigation is

still ongoing and they “will likely bring additional actions” based on drugs not identified in the

current complaint.

       526.    Following this news, Teva’s ADS price fell $2.13 per share, or approximately 15%,

to close at $12.23 on May 13, 2019. Likewise, on the TASE, Teva’s ordinary shares fell ILS 714,

or 13.6%, to close at ILS 4,511 per ordinary share on May 13, 2019.


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       L.      May 28-30, 2019

       527.    On Sunday, May 26, 2019, less than 48 hours before the first major trial against

Teva for its opioid liability was set to begin, Teva announced that it agreed to pay the State of

Oklahoma $85 million in order to settle claims that it fueled the opioid crisis in the State.

       528.    As a result of this new negative information, the prices for Teva securities declined.

The ADS price fell $1.35 per share, or approximately 12.4%, from a close of $10.87 on May 24,

2019 to a close of $9.52 on May 28, 2019 (the next trading day), on high trading volume.

       529.    Following the news of Teva’s $85 million settlement with Oklahoma over its opioid

sales, the market began to understand the true and devastating extent of Teva’s legal liabilities. On

May 28, 2019, UBS analyst Navin Jacob estimated that Teva’s liability in opioid litigation and

price-fixing litigation could reach $4.1 billion, noting that the Company faced “larger potential

litigation expense (for both opioids and drug price fixing) than we had built into our previous

valuation.” Likewise, on May 30, 2019, an analyst at Bank of America Merrill Lynch, Jason

Gerberry, downgraded Teva’s securities, citing, inter alia, Teva’s current legal exposure.

       530.    As a result of this new negative information, the prices for Teva securities declined.

The ADS price fell $0.86 per share, or approximately 8.9%, from a close of $9.70 on May 29,

2019 to a close of $8.84 on May 30, 2019, on high trading volume and to a near 19-year low.

Likewise, on the TASE, over two days of trading, Teva’s ordinary shares fell ILS 784, or 19.3%,

to close at ILS 3,267 per ordinary share on May 29, 2019.

XI.    PRESUMPTION OF RELIANCE AND FRAUD-ON-THE-MARKET DOCTRINE

       531.    Plaintiffs are entitled to a presumption of reliance on Defendants’ material

misrepresentations and omissions pursuant to the fraud-on-the-market doctrine. At all relevant

times, the markets for Teva’s securities were efficient for the following reasons, among others:




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        (a)      Teva’s securities met the requirements for listing, and were listed and
                 actively traded on the NYSE and the TASE, a highly efficient and
                 automated market;

        (b)      The average weekly trading volume of Teva Securities was significant;
        (c)      As a regulated issuer, Teva filed public reports with the SEC, the NYSE and
                 the TASE;

        (d)      Teva was eligible to file simplified SEC filings;
        (e)      Teva regularly communicated with the public through established market
                 communication channels, including through the regular dissemination of
                 news releases on major newswire services, through communications with
                 the financial press, and through other wide-ranging public disclosures; and

        (f)      Numerous securities and credit analysts followed Teva and wrote reports
                 that were published, distributed, and entered the public domain.

        532.     Accordingly, the markets for Teva Securities promptly digested current information

 regarding the Company from all publicly available sources and reflected such information in the

 price of Teva Securities. Under these circumstances all purchasers of Teva Securities during the

 Relevant Period suffered similar injury through their purchases at artificially inflated prices. A

 presumption of reliance therefore applies.

        533.     In addition, or in the alternative, Plaintiffs are entitled to a presumption of reliance

 pursuant to Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), and its progeny,

 because the claims asserted herein are predicated in part upon omissions of material fact that the

 Defendants had a duty to disclose.

XII.    CLAIMS FOR RELIEF

                                               COUNT I

                   For Violation of Section 10(b) of the 34 Act and Rule 10b-5
                                    (Against the Defendants)

        534.     Plaintiffs incorporate each and every allegation above by reference as if fully set

 forth herein.




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       535.     During the Relevant Period, the Defendants made, disseminated or approved the

false and misleading statements specified above, which they knew or recklessly disregarded were

false and misleading in that the statements contained material misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

       536.     The Defendants violated § 10(b) of the 34 Act and Rule 10b-5 in that they:

       (a)      Employed devices, schemed, and artifices to defraud;

       (b)    Made untrue statements of material fact or omitted to state materials facts
       necessary in order to make the statements made, in light of the circumstances under
       which they were made, not misleading; and/or

       (c)     Engaged in acts, practices and a course of business that operated as a fraud
       or deceit upon Plaintiffs in connection with their purchases of Teva Securities
       during the Relevant Period.

       537.     Plaintiffs suffered damages in that, in reliance on the integrity of the market, they

paid artificially inflated prices for Teva Securities. Plaintiffs would not have purchased Teva

Securities at the prices they paid, or at all, if they had been aware that the market prices of those

securities had been artificially and falsely inflated by the Defendants’ misleading statements.

       538.     As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their purchases of Teva Securities during the Relevant Period.

                                            COUNT II

                           For Violation of Section 20(a) of the 34 Act
                                    (Against the Defendants)

       539.     Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.

       540.     During the Relevant Period, the Defendants acted as controlling persons of Teva

within the meaning of § 20(a) of the 34 Act. By virtue of their positions and their power to control



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public statements about Teva, the Officer Defendants had the power and ability to control the

actions of Teva and its employees. Teva controlled the Officer Defendants and its other officers

and employees. By reason of such conduct, the Defendants are liable pursuant to § 20(a) of the 34

Act.

                                           COUNT III

                        For Violation of the Israel Securities Law, 1968
                                   (Against the Defendants)

       541.     Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.

       542.     Throughout the Relevant Period, Teva’s common shares were dually listed on both

the NYSE and the TASE.

       543.     Israeli securities law provides unique treatment for securities of certain firms that

are “dual listed,” i.e., available for trading on both the TASE and the national U.S. stock markets.

For dual-listed firms incorporated in Israel, and dual-listed firms like Teva incorporated elsewhere

but approved for such treatment by the Israeli Securities Agency (“ISA”), Israeli law applies the

reporting requirements (including the anti-fraud provisions) of the country of primary listing. See

Israeli Securities Law, 1968 (“Securities Law”), §§ 1, 35T, 35DD, 35EEE.

       544.     Accordingly, to construe the propriety of Teva disclosures to investors, Israel

applies U.S. laws and regulations, including the anti-fraud provisions of the U.S. securities laws,

to enforce disclosure obligations for dual-listed stocks. See Securities Law, §§35T, 35 DD, 35EE;

Verifone Holdings, Inc. v. Stern, Class Action 3912-01-08, decision rendered Nov. 16, 2008; Stern

v. Verifone Holdings, Inc., Class Action 3912-01-08, decision rendered Aug. 25, 2011, subsequent

to and in light of Morrison v. National Australia Bank, 130 S. Ct. 2869 (2010)). According to

Israeli case law, liability for violations thereof is pursuant to Section 10(b) of the Exchange Act



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and Rule 10b-5 promulgated thereunder, and Section 20(a) of the Exchange Act applies to the

claims arising from trades made by Plaintiffs on the TASE.

       545.    Additionally, in a Motion to Dismiss the Class Action Complaint filed on December

1, 2017, in the Class Action defendants Teva, Vigodman, Desheh, Altman, Oberman, Olafsson,

Peterburg, and Bhattacharjee:

       agree[d] that Israeli law mirrors U.S. law here. The Israeli dual-listing regime was
       purposefully created in 2000 to make the TASE more attractive to Israeli companies
       (like Teva) who otherwise might list their securities only on exchanges outside of
       Israel. See generally, e.g., Marcus Best & Jean-Luc Soulier, Israel §21.1,
       International Securities Law Handbook (4th ed. 2014). Because issuers find it
       unattractive to be subject to multiple and diverging regulatory regimes, Israel simply
       adopts the securities law requirements of the foreign jurisdiction – in this case, the
       United States – instead of enforcing “requirements that apply to Israeli companies
       listed solely on the TASE.” Id. As Plaintiffs acknowledge, both Israeli case law and
       the Israel Securities Authority’s public statements support the view that, as a matter
       of Israeli law, Israel voluntarily applies U.S. liability standards to dual-listed
       companies like Teva. Compl., ¶1084; see In re VeriFone Holdings, Inc. Sec. Litig.,
       No. 07-cv-06140 EMC, 2014 WL 12646027, at *1 (N.D. Cal. Feb. 18, 2014)
       (noting, in case involving securities fraud claims under Israeli law and a dual-listed
       company, that “the Israeli district court ruled twice that U.S. law, and not Israeli law,
       applies”).

       546.    During the Relevant Period, in violation of Section 10(b) of the Exchange Act and

Rule 10b-5, Defendants carried out a plan, scheme, and course of conduct using the

instrumentalities of interstate commerce and the mails, which was intended to and, throughout the

Relevant Period did: (a) artificially inflate and maintain the market price of Teva common stock;

(b) deceive the investing public, including Plaintiffs, as alleged herein; (c) cause Plaintiffs to

purchase Teva common stock at inflated prices in reliance on Defendants’ false and misleading

statements made knowingly or with deliberate recklessness by Defendants; and (d) cause them

losses when the truth was revealed.

       547.    During the Relevant Period, in violation of Section 20(a) of the Exchange Act, the

Individual Defendants had control over Teva and made the material false and misleading



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statements and omissions on behalf of Teva within the meaning of Section 20(a) of the Exchange

Act, causing damages to Plaintiffs. By virtue of their controlling shareholder status, executive

positions, board membership, and stock ownership, and their culpable participation, as alleged

above, the Individual Defendants had the power to influence and control and did, directly or

indirectly, influence and control the decision making of the Company, including the content and

dissemination of the various statements which Plaintiffs contend were false and misleading. The

Individual Defendants were provided with or had unlimited access to the Company’s internal

reports, press releases, public filings, and other statements alleged by Plaintiffs to be misleading

prior to or shortly after these statements were issued, and had the ability to prevent the issuance of

the statements or cause them to be corrected.

       548.    Alternatively, if this Court concludes that Israeli, not U.S., law applies to the claims

arising from Plaintiffs’ purchases of common shares on the TASE, the following provisions and

causes of action apply to those claims:

       a.      Regulations 3-5 of the Securities Regulations (Periodic and Immediate
               Reports of Foreign Corporation), 2000 promulgated under the Securities
               Law – Teva breached its reporting obligations under the “foreign law” -
               namely, U.S. law -defined in § 1 of the Securities Law as “the law applying
               to a foreign corporation because its securities are listed for trade on a foreign
               stock exchange, including the rules of that foreign stock exchange.”
               Specifically, Teva failed to submit and publicize reports, notices, and other
               documents of the adverse information contained herein as required under
               U.S. law, in a timely fashion as required under U.S. law or earlier, on issues
               required under U.S. law. Teva thereby caused damage to Plaintiffs.

       b.      § 36 of the Securities Law and Regulations 30, 36 of the Securities
               Regulations (Periodic and Immediate Statements), 1970 thereunder - Teva
               failed to submit immediate reports in a timely fashion as required under
               Regulation 30. According to Regulation 36(a): “An [immediate] report shall
               provide, with respect to any event or matter that deviates from the
               corporation‘s ordinary course of business, the details of [such an event’s or
               matter’s] nature, scope or potential result which will have or could have a
               significant effect on the corporation; the same details will be provided with
               respect to any event or matter that could significantly affect the price of the
               corporation‘s securities.” Moreover, even if Teva may have delayed timely


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     reporting pursuant to Regulation 36(b), once it became aware of rumors and
     other public information, it breached its obligation under Regulation 36(d)
     to submit an immediate report and refer therein to the correctness of the
     information that has already been made public. Teva thereby caused
     damage to Plaintiffs.

c.   §§ 31-32A, 34, 38B-38C of the Securities Law - Read together, these
     sections impose liability, inter alia, on a corporation, a director of a
     corporation, its general manager, and a controlling shareholder thereof with
     regard to a misleading item that was in a report, notice or document that the
     corporation filed pursuant to this Law - to anyone who sold or purchased
     securities in the course of trading on a stock exchange or over the counter,
     for damage caused to them by the inclusion of a misleading item in those
     disclosures. A “misleading item” is defined in § 1 of the Securities Law as
     “including anything that is likely to mislead a reasonable investor, and any
     matter the omission of which is likely to mislead a reasonable investor.”
     Specifically, § 32A(c) denies the safe harbor protection for “forward
     looking information” under this Section from “a party that knew that the
     forward-looking information would not be realized.” Section 32A(d) further
     excludes from the safe harbor’s purview “facts, figures or other details in a
     prospectus, opinion, report, review or certificate, as applicable, which
     served as a basis for forward-looking information.” Defendants are liable to
     Plaintiffs under these provisions.

d.   § 52K of the Securities Law - This general civil liability provision imposes
     liability on an issuer, the directors of the issuer, its general manager, and on
     a controlling shareholder of the issuer for any damage caused to a holder of
     the issuer’s securities by virtue of the issuer’s violation of the provisions of
     this Law or of regulations hereunder. Defendants are liable to Plaintiffs
     under this provision.

e.   §§ 35-36 of the Torts Ordinance [New Version] - These sections impose
     general liability in torts for negligence towards any person where a
     reasonable person in like circumstances should have foreseen that in the
     ordinary course of things the former person may be harmed by the latter
     person’s conduct or omission. Defendants are liable for damage caused to
     Plaintiffs by the former’s misrepresentations and omissions as detailed in
     the above paragraphs.

f.   § 63 of the Torts Ordinance [New Version] - This section imposes general
     liability in torts for breach of statutory duty on any person who failed to
     comply with a duty imposed on him according to any statute, excepting this
     Ordinance, where the statute, according to its correct construction, is meant
     for the protection or benefit of another person, the breach caused damage to
     that person of the kind or nature of damage meant by the statute, unless that
     statute was meant to exclude such remedy. Defendants are liable for damage



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                caused to Plaintiffs by the former’s failures to comply with their duties
                under the Securities Law as detailed in the above paragraphs.

                                            COUNT IV

                  For Violation Of Sections 1-402(c) and 1-501(c) of the PSA
                                  (Against the Defendants)

       549.     Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.

       550.     The Defendants directly and/or indirectly, for the purpose of inducing the purchase

of Teva securities by others, participated in the circulation and/or dissemination of

misrepresentations and omissions of material facts to the effect that the price of the security would

or was likely to rise. During the Relevant Period, the Defendants sold or offered to sell Teva

securities, or received consideration, directly or indirectly, from a person who sold or offered to

sell Teva securities.

       551.     Teva has conceded that “the factual center of this case is Pennsylvania[.]” See

Galmi, ECF No. 37-1, at 6. The false statements detailed above were prepared in Pennsylvania and

Israel. Id.; Kim Declaration ¶5. Moreover, Teva’s “sales, marketing, and finance executives with

responsibility for U.S. generics pricing are based in Pennsylvania.” Id., ¶4. In addition, Teva’s

investor relations department and individuals responsible for drafting and preparing Teva’s public

filings with the SEC are based at Teva USA’s Pennsylvanian offices. Id. Lastly, “[d]ocuments

relating to the subject matter of this lawsuit—e.g., materials related to Teva USA, drug pricing,

and U.S. competitors—are located in Pennsylvania, or, if not there, in Israel.” Id., ¶7.

       552.     The Defendants willfully participated in the acts and transactions that caused the

circulation and/or dissemination of misrepresentations and omissions of material facts.

       553.     The Defendants are liable for all materially false and misleading statements made

during the Relevant Period, as alleged above.


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       554.      The Defendants acted with the requisite scienter in that they acted either with intent

to deceive, manipulate, or defraud, or with recklessness. The misrepresentations and omissions of

material facts set forth herein were either known to the Defendants or were so obvious that the

Defendants should have been aware of them.

       555.      Plaintiffs suffered damages as a result of the Defendants’ wrongful conduct in that

they purchased or otherwise acquired Teva securities at artificially inflated prices in reliance on

the Defendants’ untrue or misleading statements or omissions of material fact and/or the integrity

of the market.

       556.      As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their purchases of Teva Securities during the Relevant Period.

                                              COUNT V

                   For Violation of Sections 1-401 and 1-501(a)(ii) of the PSA
                                    (Against the Defendants)

       557.      Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.

       558.      Teva has conceded that “the factual center of this case is Pennsylvania[.]” See

Galmi, ECF No. 37-1, at 6. The false statements detailed above were prepared in Pennsylvania and

Israel. Id.; Kim Declaration ¶5. Moreover, Teva’s “sales, marketing, and finance executives with

responsibility for U.S. generics pricing are based in Pennsylvania.” Id., ¶4. In addition, Teva’s

investor relations department and individuals responsible for drafting and preparing Teva’s public

filings with the SEC are based at Teva USA’s Pennsylvanian offices. Id. Lastly, “[d]ocuments

relating to the subject matter of this lawsuit—e.g., materials related to Teva USA, drug pricing,

and U.S. competitors—are located in Pennsylvania, or, if not there, in Israel.” Id., ¶7.

       559.      The Defendants violated § 1-401 of the PSA in that they:



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       (a)       Employed devices, schemed, and artifices to defraud;

       (b)    Made untrue statements of material fact or omitted to state materials facts
       necessary in order to make the statements made, in light of the circumstances under
       which they were made, not misleading; and/or

       (c)     Engaged in acts, practices and a course of business that operated as a fraud
       or deceit upon Plaintiffs in connection with their purchases of Teva Securities
       during the Relevant Period.

       560.      The Defendants acted with the requisite scienter in that they acted either with intent

to deceive, manipulate, or defraud, or with recklessness. The misrepresentations and omissions of

material facts set forth herein were either known to the Defendants or were so obvious that the

Defendants should have been aware of them.

       561.      Plaintiffs suffered damages as a result of the Defendants’ wrongful conduct in that

they purchased or otherwise acquired Teva Securities at artificially inflated prices in reliance on

the Defendants’ untrue or misleading statements or omissions of material fact and/or the integrity

of the market.

       562.      As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their purchases of Teva Securities during the Relevant Period.

                                             COUNT VI

                                            For Fraud
                                      (Against the Defendants)

       563.      Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.

       564.      Plaintiffs bring this count under Pennsylvanian law, as Pennsylvania is the “factual

center” of this Action. See Galmi, ECF No. 37-1, at 6. The false statements detailed above were

prepared in Pennsylvania and Israel. Id.; Kim Declaration ¶5. Moreover, Teva’s “sales, marketing,

and finance executives with responsibility for U.S. generics pricing are based in Pennsylvania.”



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Id., ¶4. In addition, Teva’s investor relations department and individuals responsible for drafting

and preparing Teva’s public filings with the SEC are based at Teva USA’s Pennsylvanian offices.

Id. Lastly, “[d]ocuments relating to the subject matter of this lawsuit—e.g., materials related to

Teva USA, drug pricing, and U.S. competitors—are located in Pennsylvania, or, if not there, in

Israel.” Id., ¶7.

        565.        During the Relevant Period, the Defendants made, disseminated or approved the

false and misleading statements specified above, which they knew or recklessly disregarded were

false and misleading in that the statements contained material misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

        566.        Defendants made these misrepresentations with the intent that Plaintiffs would rely

upon them in deciding to purchase Teva Securities.

        567.        Plaintiffs reasonably and justifiably relied upon the false and misleading statements

specified above when purchasing Teva Securities at artificially inflated prices.

        568.        Plaintiffs would not have purchased Teva Securities at the prices they paid, or at

all, if they had been aware that the market prices of those securities had been artificially and falsely

inflated by the Defendants’ misleading statements.

        569.        As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their purchases of Teva Securities during the Relevant Period.

                                               COUNT VII

                                    For Negligent Misrepresentation
                                       (Against the Defendants)

        570.        Plaintiffs incorporate each and every allegation above by reference as if fully set

forth herein.



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        571.        Plaintiffs bring this count under Pennsylvanian law, as Pennsylvania is the “factual

center” of this Action. See Galmi, ECF No. 37-1, at 6. The false statements detailed above were

prepared in Pennsylvania and Israel. Id.; Kim Declaration ¶5. Moreover, Teva’s “sales, marketing,

and finance executives with responsibility for U.S. generics pricing are based in Pennsylvania.”

Id., ¶4. In addition, Teva’s investor relations department and individuals responsible for drafting

and preparing Teva’s public filings with the SEC are based at Teva USA’s Pennsylvanian offices.

Id. Lastly, “[d]ocuments relating to the subject matter of this lawsuit—e.g., materials related to

Teva USA, drug pricing, and U.S. competitors—are located in Pennsylvania, or, if not there, in

Israel.” Id., ¶7.

        572.        During the Relevant Period, the Defendants made, disseminated or approved the

misleading statements specified above, which they knew or should have known were misleading

in that the statements contained material misrepresentations and failed to disclose material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

        573.        Defendants made these misrepresentations with the intent that Plaintiffs would rely

upon them in deciding to purchase Teva Securities.

        574.        Plaintiffs reasonably and justifiably relied upon the false and misleading statements

specified above when purchasing Teva Securities at artificially inflated prices.

        575.        Plaintiffs would not have purchased Teva Securities at the prices they paid, or at

all, if they had been aware that the market prices of those securities had been artificially and, at

minimum, negligently inflated by the Defendants’ misleading statements.

        576.        As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their purchases of Teva Securities during the Relevant Period.




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XIII.    INFLATED PROFIT ANALYSIS

         577.       Teva did not disclose profits, revenues, or pricing for individual generic drugs, nor

  was that information otherwise public. As alleged in the amended complaint filed in the Class

  Action, an independent investigation was undertaken in order to calculate and isolate the profit

  that Teva earned from its Price-Hike Strategy. This investigation comprised multiple distinct

  econometric analyses, including regression analyses, that ultimately took into account thousands

  of data points.

         578.       The analysis screened Teva’s entire generic drug portfolio during the relevant

  period to identify Wholesale Acquisition Cost (“WAC”) increases of at least 50%. The data was

  accessed via private, subscription-only databases costing tens of thousands of dollars annually.

  Next, any price increases plausibly connected to supply shortages or other economic anomalies

  were removed from the set.

         579.       To isolate Inflated Profit for each drug, the analysis first determined the drug’s price

  per unit had Teva not made the increase. To do so, the drug’s specific pricing history was analyzed

  using a regression analysis that determined the price through the relevant period had prevailing

  drug-specific pricing trends continued. The analysis further took into account CPI inflation for

  prescription drugs and empirical measures of the trend in average pricing for prescription drugs

  over the past five years.

         580.       Calculating Inflated Profit, i.e., the difference between Teva’s actual revenues (with

  the price increase) and the revenues that would have been earned at each drug’s price without the

  increase, involved accounting on a month-by-month basis for (i) Teva’s sales quantities; and (ii)

  the discounts and rebates, unique to each drug, that Teva would provide to customers, which varied

  over time.




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         581.   Sales volumes were derived by reference to figures reported in a subscription

 database. Through another regression analysis, it was confirmed that the price and volume for each

 drug exhibited no statistically meaningful relationship, meaning that as pricing changed, volume

 of sales did not change.

         582.   Teva’s discounts and rebates are unavailable by any means of which Plaintiffs is

 aware. Thus, the level of discounts and rebates was determined by analyzing, on a month-by-month

 basis over the relevant period, multiple data points from a number of subscription and other

 industry datasets that reflected average pricing and sales volume data. This analysis was unique

 for each drug and captured fluctuations over time.

XIV.     INAPPLICABILITY OF THE STATUTORY SAFE HARBOR OR BESPEAKS
         CAUTION DOCTRINE

         583.   The statutory safe harbor and bespeaks caution doctrine applicable to forward-

 looking statements under certain circumstances do not apply to any of the untrue or misleading

 statements alleged herein. The statements complained of herein concerned then-present or

 historical facts or conditions that existed or were purported to exist at the time the statements were

 made.

         584.   To the extent any of the untrue or misleading statements alleged herein can be

 construed as forward-looking, they were not accompanied by meaningful cautionary language

 identifying important facts that could cause actual results to differ materially from those in the

 statements; the generalized risk disclosures Teva or other Defendants made were not sufficient to

 shield Defendants from liability.

         585.   To the extent the statutory safe harbor otherwise would apply, the Defendants are

 liable under the 34 Act for any untrue or misleading forward-looking statement complained of

 herein because the person who made each such statement knew that the statement was untrue or



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 misleading when made, or because each such statement was approved by an executive officer who

 knew that the statement was untrue or misleading when made.

        586.    Specifically as to the alleged false and misleading guidance issued on July 13, 2016,

 and January 6, 2017, that guidance incorporated an assumption grounded on historically-inaccurate

 data. Namely, the assumption was that pricing was declining at the same rate as it had during 2015

 and the first half of 2016 because, as Olafsson puts it on Teva’s July 13, 2016 Preliminary Outlook

 call, Teva was “assuming . . . [the] same pricing assumption as we have had for the first half of the

 year,” because Teva “saw no change in the pricing. We saw a stable environment . . . from first

 quarter into second quarter.” Teva’s pricing erosion was not, however, “stable.” Teva’s Inflated

 Profits had declined by $10 million from Q1 2016 to Q2 2016, and had declined over $100 on

 YOY basis from Q1 2015 due to an increasingly adverse pricing environment. Moreover, because

 Teva had received the DOJ and State AG subpoenas, it would be unable to mitigate these declines,

 as it had in the past, by taking additional price increases.

XV.     JURY DEMAND

        587.    Plaintiffs hereby demand a trial by jury.

XVI.    PRAYER FOR RELIEF

        588.    WHEREFORE, Plaintiffs pray for relief and judgment as follows:

        (a)     Awarding Plaintiffs damages, including interest;

        (b)     Awarding Plaintiffs their reasonable costs and expenses incurred in this action,
                including attorneys’ fees and experts’ fees; and

        (c)     Granting such other and further relief as the Court may deem just and proper.




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                                                                                                                 APPENDIX A
                                                          Wtd. Avg.                                        Teva WAC Increases
                                  Drug Name / Form        Increase

                                          April 4, 2014
                                  Ketoconazole             250%
                                  Tablets

                                                           249%                          Parallel Price Increases Indicated In     Orange
                                  Bumetanide Tablets
                                  Cephalexin               111%
                                  Oral Suspension

                                  Nystatin Tablets         110%
                                  Ketoconazole             108%
                                  Cream
                                  Hydroxyzine
                                  Pamoate Capsules          94%
                                  Cyproheptadine
                                  HCL Tablets               93%
                                  Dicloxacillin Tablets
                                  (1st of 2)                91%
                                  Theophylline
                                  Anhydrous SR Tabs         75%
                                  Anagrelide HCL
                                  Capsules (1st of 2)       58%
                                  Estazolam Tablets
                                  (1st of 2)                37%
                                                                                               Wtd. Avg.
                                         April 15, 2014                 Drug Name / Form       Increase

                                  Baclofen Tablets         381%              January 28, 2015
                      Wtd. Avg.                                         Fluoxetine HCL
Drug Name / Form      Increase             July 1, 2014                 Tablets                 608%
                                  Fluocinonide             435%
    July 3, 2013                  .05% Cream                            Propranolol Tablets     447%
Oxybutynin Chloride               Fluocinonide             415%
Tablets                  812%     .05% Ointment                         Glimepiride Tablets     312%
                                                                                                                                   Wtd. Avg.
                                  Fluocinonide             255%         Ciprofloxacin HCL       194%        Drug Name / Form       Increase
Nadolol Tablets          786%     .05% Gel                              Tablets
                                                                        Penicillin v Potass.                       April 6, 2016
Fluconazole Tablets      218%          August 28, 2014                  Oral Sol. (1st of 2)     91%
                                                                                                            Anagrelide HCL
Methotrexate             163%     Carbamazepine            1543%        Nortryptyline HCL        91%        Capsules (2nd of 2)      27%
Sodium Tablets                    Tablets                               Capsules
                                                                                                            Penicillin v Potass.
Cimetidine Tablets       151%     Carbamazepine            270%                                             Oral Sol. (2nd of 2)     26%
(1st of 3)                        Chewable Tablets                      Estradiol Tablets        90%
                                                                                                            Nefazodone Tablets
                                  Enalapril Maleate                     Ketoprofen Capsules
                                                                                                            (2nd of 2)               25%
Prazosin Capsules        118%     Tablets (2nd of 2)       230%         (2nd of 3)               90%
                                                                                                            Tolmetin Sodium
Ranitidine HCL           115%     Clotrimazole Topical                                                                               25%
                                                                                                 90%        Capsules (3rd of 3)
Tablets                           Solution (1st of 2)      164%         Danazol Capsules
                                                                                                            Cromolyn Sodium
                                                                        Ketorolac Trometh.
                                                                                                            Inhalant (2nd of 2)      24%
       July 19, 2013              Flutamide Capsules       140%         Tablets (2nd of 2)       90%
Enalapril Maleate                 Meperidine HCL           110%
Tablets (1st of 2)       316%     Tablets                               Methyldopa Tablets       90%
                                  Penicillin V Potass.     100%         Diltiazem HCL            90%
      August 9, 2013              Tablets                               Tablets
Doxazosin Mesylate       305%     Nefazodone Tablets                    Carbidopa/
Tablets                           (1 of 2)                  90%         Levodopa Tablets         50%
                                                                        Griseofulvin
Etodolac Tablets         282%     Mexiletine Capsules       90%         Oral Suspension          50%
Pravastatin Sodium       175%     Cromolyn Sodium
Tablets                           Inhalant (1st of 2)       90%                  July 29, 2015
Ketoprofen Capsules      168%     Desmopressin              75%         Fluoxetine HCL
(1st of 3)                        Acetate Tablets                       Oral Solution           275%
                                                                        Dipyridamole             98%
Etodolac SR Tablets      96%      Fosinopril Tablets        70%         Tablets
Tolmetin Sodium          91%      Megestrol Acetate         55%
Capsules (1st of 3)               Tablets                               Trazodone Tablets        77%
Clemastine                        Diclofenac Potass.                    Loperamide HCL
Fumarate                 90%      Tablets (2nd of 2)        50%         Capsules (2nd of 2)      68%
Diltiazem HCL            71%      Cimetidine Tablets                    Clotrimazole Topical
Tablets                           (2nd of 3)                29%         Solution (2nd of 2)      65%
Ketorolac Trometh.                Tolmetin Sodium           25%         Cimetidine Tablets       54%
Tablets (1st of 2)       34%      Capsules (2nd of 3)                   (3rd of 3)
Diclofenac Potass.       22%      Loperamide HCL            22%         Estazolam Tablets
Tablets (1st of 2)                Capsules (1st of 2)                   (2nd of 2)               50%




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Collusive Drug Price Increases

       2013 Collusive Drug Price Increases
                             Manufacturers     Dates          New WAC per Pkg.
         Drug / Form         Raising Price     of Increases   (% increase)8
          Enalapril          Mylan             July 2             $25.15 (92%)
          Maleate            Teva              July 19            $25.15 (341%)
         (1st Increase)      Wockhardt         August 1           $21.38 (275%)

         Pravastatin        Glenmark          May 16              $75.51
         (202%)
         Sodium             Apotex            May 31              $75.51
         (119%)
         Zydus                                June 14             $64.73
         Teva
         (201%)                               August 9            $64.73
         (201%)
         Lupin                                August 28           $64.80
         (201%)

       2014 Collusive Drug Price Increases
                             Manufacturers Dates               New WAC per Pkg.
          Drug / Form        Raising Price of Increases          (% increase)
          Cephalexin         Lupin            Nov. 1, 2013$41.00 (128%)
                             Teva             April 4     $41.00 (128%)

          Ketoconazole       Teva              April 4        $63.30 (110%)
          Cream              Taro              April 18       $63.30 (110%)

          Ketoconazole       Teva              April 4        $221.55 (250%)
          Tablets            Taro              April 18       $221.55 (250%)

          Nystatin           Teva              April 4        $100.30 (110%)
                             Heritage          July 1         $100.30 (110%)

          Theophylline       Teva              April 4        $54.53 (80%)
          SR                 Heritage          July 1         $54.53 (80%)

          Baclofen           Upsher-Smith      February 21    $29.93 (350%)
                             Teva              April 15       $29.93 (350%)




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        Because drugs are often available in multiple strengths and package sizes, “New WAC
per Pkg.” refers to the pricing for the most-common package size of the most-widely-used
strength


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2014 Collusive Drug Price Increases (continued)
                    Manufacturers Dates                New WAC per Pkg.
  Drug / Form       Raising Price of Increases           (% increase)1
  Fluocinonide      Taro              June           3 $226.40 (483%)
  5% Ointment       Teva              July 1           $226.40 (483%)

  Fluocinonide      Taro              June 3          $145.75 (524%)
  5% Cream          Teva              July 1          $145.75 (524%)

  Fluocinonide      Taro              June 3          $190.57 (255%)
  5% Gel            Teva              July 1          $190.57 (255%)

  Enalapril         Mylan             April 17        $82.98 (230%)
  Maleate           Teva              August 28       $83.00 (230%)
  (2nd Increase)    Taro              October 15      $83.00 (230%)
                    Wockhardt         December 15     $70.53 (230%)

  Carbamazepine     Taro              June 3          $127.93 (2517%)
  Tablets           Apotex            July 11         $127.93 (1030%)
                    Teva              August 28       $127.93 (1538%)
                    Torrent           September 12    $127.93 (2517%)

  Carbamazepine     Taro              June 3       $52.68 (290%)
  Chewable          Teva              August 28    $52.68 (270%)
  Tablets           Torrent           September 12 $52.68 (778%)

  Diclofenac        Teva              August 28       $104.58 (50%)
  Potassium         Sandoz            October 10      $104.58 (82%)
                    Mylan             Mar. 4, 2015    $104.58 (50%)



2015 Collusive Drug Price Increases
                     Manufacturers    Dates        New WAC per Pkg.
 Drug / Form         Raising Price    of Increases (% increase)1
 Propranolol         Teva             January 28          $34.40 (632%)
                     Actavis          February 17         $34.39 (632%)
                     Mylan            July 10             $35.67 (659%)
                     Heritage         August 17           $34.39 (632%)

 Estradiol           Teva             January 28          $30.74 (90%)
 Actavis                              May 21              $30.74 (109%)


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Trade Shows and Conferences

      2013 Trade Shows and Conferences
         Date                Organization3 / Event           Teva Attendees
         February 20-22      GPhA Annual Meeting              Oberman
                                                              Olafsson (with Actavis)
         April 20-23         NACDS Annual Meeting            Oberman
                                                             Cavanaugh
         August 10-13        NACDS Total Store Expo          Cavanaugh
                                                             Galownia
                                                             Oberman
         December 3          NACDS Annual Dinner             Cavanaugh


      2014 Trade Shows and Conferences
         Date                Organization9 / Event           Teva Attendees
         February 19-21      GPhA Annual Meeting             Oberman

         February 26         GPhA BOD Quarterly Meeting      Oberman

         April 1             HDMA Roundtable Fundraiser      Cavanaugh

         April 26-29         NACDS Annual Meeting            Cavanaugh
                                                             Oberman
         June 1-4            HDMA Leadership Conference      Patel

         August 23-26        NACDS Total Store Expo          Cavanaugh
                                                             Galownia
                                                             Patel
         Sept. 27 - Oct. 1   HDMA       Annual          Board Cavanaugh
                             Membership Meeting               Baeder

         November 19-21      IGPA Annual Conference          Oberman

         December 3          NACDS Annual Dinner             Cavanaugh



9
      GPhA = Generic Pharmaceutical Association;
HDMA = Healthcare Distribution Management Alliance;
IGPA = International Generic Pharmaceutical Alliance;
NACDS = National Association of Chain Drug Stores.


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 2015 Trade Shows and Conferences
Date            Organization1 / Event         Teva Attendees
February 9-11    GPhA Annual Meeting          Olafsson

June 7-10        HDMA Leadership Conference Patel




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